Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 1 of 57 PageID# 21951




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                          Plaintiffs,

          vs.
                                                              No. 1:23-cv-00108-LMB-JFA
    GOOGLE LLC,

                          Defendant.


    DEFENDANT GOOGLE LLC’S OBJECTIONS TO PLAINTIFFS’ TRIAL EXHBITS

         Pursuant to the Court’s Order Modifying the Pretrial Schedule entered on June 24, 2024,

  ECF No. 871, Defendant Google LLC (“Google”) hereby submits its objections to Plaintiffs’

  trial exhibits, ECF No. 892.

                                         General Objections

     1. By not objecting to an exhibit, Google does not agree to "pre-admit" such exhibit. Google

  objects to the admission of any exhibit into evidence without the laying of a proper foundation

  from a sponsoring witness with personal knowledge.

     2. Google reserves the right to amend or supplement its objections to any of Plaintiffs’

  exhibits, including based on the Court’s rulings on motions in limine or other pre-trial rulings, or

  depending upon how Plaintiffs use the exhibit at trial.

     3. Google reserves the right to introduce or use any of Plaintiffs’ exhibits at trial.

     4. Google reserves the right to object to any exhibit not identified in Plaintiffs’ exhibit list

  or not provided to Google prior to the filing of these objections.




                                                   1
Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 2 of 57 PageID# 21952




         Google’s additional objections are contained in the attached exhibit. The objection codes

  are as follows:

      Code          Objection
      106           Incomplete excerpt
      402           Irrelevant
                    Unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting
      403           time, or needlessly presenting cumulative evidence
      501           Privileged
      701           Improper opinion by lay witness
      802           Hearsay
      805           Hearsay within hearsay
      901           Authenticity




                                                    2
Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 3 of 57 PageID# 21953




   Dated: July 19, 2024                     Respectfully submitted,

   Eric Mahr (pro hac vice)                 /s/ Craig C. Reilly
   Andrew Ewalt (pro hac vice)              Craig C. Reilly (VSB # 20942)
   Tyler Garrett (VSB # 94759)              THE LAW OFFICE OF
   FRESHFIELDS BRUCKHAUS                     CRAIG C. REILLY, ESQ.
   DERINGER US LLP                          209 Madison Street, Suite 501
   700 13th Street, NW, 10th Floor          Alexandria, VA 22314
   Washington, DC 20005                     Telephone: (703) 549-5354
   Telephone: (202) 777-4500                Facsimile: (703) 549-5355
   Facsimile: (202) 777-4555                craig.reilly@ccreillylaw.com
   eric.mahr@freshfields.com
                                            Karen L. Dunn (pro hac vice)
   Justina K. Sessions (pro hac vice)       Jeannie S. Rhee (pro hac vice)
   FRESHFIELDS BRUCKHAUS                    William A. Isaacson (pro hac vice)
   DERINGER US LLP                          Amy J. Mauser (pro hac vice)
   855 Main Street                          Martha L. Goodman (pro hac vice)
   Redwood City, CA 94063                   Bryon P. Becker (VSB #93384)
   Telephone: (650) 618-9250                Erica Spevack (pro hac vice)
   Fax: (650) 461-8276                      PAUL, WEISS, RIFKIND, WHARTON &
   justina.sessions@freshfields.com         GARRISON LLP
                                            2001 K Street, NW
   Daniel Bitton (pro hac vice)             Washington, DC 20006-1047
   AXINN, VELTROP & HARKRIDER LLP           Telephone: (202) 223-7300
   55 2nd Street                            Facsimile (202) 223-7420
   San Francisco, CA 94105                  kdunn@paulweiss.com
   Telephone: (415) 490-2000
   Facsimile: (415) 490-2001                Erin J. Morgan (pro hac vice)
   dbitton@axinn.com                        PAUL, WEISS, RIFKIND, WHARTON &
                                            GARRISON LLP
   Bradley Justus (VSB # 80533)             1285 Avenue of the Americas
   AXINN, VELTROP & HARKRIDER LLP           New York, NY 10019-6064
   1901 L Street, NW                        Telephone: (212) 373-3387
   Washington, DC 20036                     Facsimile: (212) 492-0387
   Telephone: (202) 912-4700                ejmorgan@paulweiss.com
   Facsimile: (202) 912-4701
   bjustus@axinn.com                        Counsel for Defendant Google LLC




                                        3
                                                       United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                     Google's Objections to Plaintiffs’ Trial Exhibit List
                              Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 4 of 57 PageID# 21954
Trial Exhibit
                     Date                Beg Bates                 End Bates                                Description                             Confidentiality         Google Objection
  Number
PTX0001       11/18/2004 4:11    GOOG-DOJ-02122988        GOOG-DOJ-02122990           Email from Jonathan Rosenberg to Google employee           Highly Confidential   402, 403, 805
PTX0002       5/9/2005 18:06     GOOG-DOJ-01861190        GOOG-DOJ-01861195           Email from Gokul Rajaram to Salar Kamangar et al.          Highly Confidential   402, 403, 805
PTX0003       6/4/2005 1:59      GOOG-DOJ-02124439        GOOG-DOJ-02124441           Email from David Thacker to Salar Kamangar et al.          Highly Confidential   402, 403, 805
PTX0004       12/15/2005 19:28   GOOG-DOJ-01865681        GOOG-DOJ-01865684           Email from Rohit Dhawan to David Thacker et al.            Highly Confidential   402, 403, 805
PTX0005       3/7/2006 1:14      GOOG-DOJ-02106751        GOOG-DOJ-02106752           Email from Gokul Rajaram to Susan Wojcicki et al.          Highly Confidential   402, 403
PTX0006       3/14/2006 6:36     GOOG-DOJ-02126668        GOOG-DOJ-02126672           Email from Susan Wojcicki to Gokul Rajaram                 Highly Confidential   402, 403
PTX0007       7/4/2006 7:11      GOOG-DOJ-02127977        GOOG-DOJ-02127983           Email from Gokul Rajaram to Francoise Brougher et al.      Highly Confidential   402, 403, 805
PTX0008       7/11/2006 6:19     GOOG-DOJ-02107183        GOOG-DOJ-02107187           Email from Gokul Rajaram to Susan Wojcicki et al.          Highly Confidential   402, 403, 805
PTX0009       9/22/2006 6:56     GOOG-DOJ-02107527        GOOG-DOJ-02107529           Email from Gokul Rajaram to Susan Wojcicki                 Highly Confidential   402, 403, 805
PTX0010       11/16/2006 6:31    GOOG-DOJ-02129384        GOOG-DOJ-02129385           Email from Susan Wojcicki to Gokul Rajaram et al.          Highly Confidential   402, 403, 805
PTX0011       11/30/2006 2:53    GOOG-DOJ-01269184        GOOG-DOJ-01269185           Email from Bhavesh Mehta to Alan Eustace et al.            Highly Confidential   402, 403
PTX0012       3/15/2007 0:00     GOOG-DOJ-01657645        GOOG-DOJ-01657686           DoubleClick presentation                                   Highly Confidential   402, 403, 805
PTX0013       3/15/2007 0:00     GOOG-DOJ-01657697        GOOG-DOJ-01657903           DoubleClick presentation                                   Highly Confidential   402, 403, 805
                                                                                      Email from Jason Harinstein to Alex Kinnier et al., with
PTX0014       3/16/2007 18:48    GOOG-DOJ-13010240        GOOG-DOJ-13010284           attachment                                                 Highly Confidential   402, 403, 802, 805
                                                                                      Email from David Drummond to google_bod@google.com
PTX0015       3/23/2007 21:55    GOOG-DOJ-01823990        GOOG-DOJ-01823992           et al., with attachment                                    Highly Confidential   402, 403
PTX0016       4/9/2007 18:47     GOOG-DOJ-00003227        GOOG-DOJ-00003227           Email from Salman Ullah to emg@google.com et al.           Confidential          402, 403
PTX0017       4/10/2007 1:18     GOOG-DOJ-02130647        GOOG-DOJ-02130648           Email from Rohit Dhawan to Gokul Rajaram et al.            Highly Confidential   402, 403
PTX0018       7/30/2007 21:54    GOOG-DOJ-06615448        GOOG-DOJ-06615502           Google document                                            Highly Confidential   402, 403
PTX0019       10/25/2007 0:00    GOOG-DOJ-01657206        GOOG-DOJ-01657246           Google/DoubleClick submission                              Highly Confidential   402, 403, 805
PTX0020       1/25/2008 6:12     GOOG-DOJ-01827663        GOOG-DOJ-01827680           Email from Nick Fox to Joerg Heilig et al.                 Highly Confidential   402, 403, 805
                                                                                      Email from Andrew Poon to Scott Spencer et al., with
PTX0021       5/16/2008 21:26    GOOG-DOJ-01709787        GOOG-DOJ-01709792           attachments                                                Highly Confidential   402, 403
                                                                                      Email from Eileen Naughton to Google employees, with
PTX0022       5/19/2008 21:32    GOOG-DOJ-01718725        GOOG-DOJ-01718726           attachment                                                 Highly Confidential   402, 403, 805
PTX0023       5/23/2008 21:39    GOOG-DOJ-03517095        GOOG-DOJ-03517096           Email from Mark Evans to Brian Axe et al.                  Highly Confidential   402, 403, 805
PTX0024       5/29/2008 14:01    GOOG-DOJ-02731591        GOOG-DOJ-02731593           Email from Mary Lambert to Jim Kolotouros                  Highly Confidential   402, 403, 805
                                                                                      Email from Mark Evans to Mark Evans et al., with
PTX0025       5/29/2008 19:23    GOOG-DOJ-01313044        GOOG-DOJ-01313048           attachment                                                 Highly Confidential   402, 403, 805
PTX0026       5/30/2008 10:43    GOOG-DOJ-01313065        GOOG-DOJ-01313069           Email from Brad Bender to Mark Evans et al.                Highly Confidential   402, 403, 805
PTX0027       7/10/2008 15:50    GOOG-DOJ-02110669        GOOG-DOJ-02110671           Email from Scott Spencer to Neal Mohan et al.              Highly Confidential   402, 403, 805
PTX0028       7/11/2008 19:43    GOOG-DOJ-03482813        GOOG-DOJ-03482840           Google presentation                                        Highly Confidential   402, 403
PTX0029       7/17/2008 2:15     GOOG-DOJ-02110784        GOOG-DOJ-02110786           Email from Scott Spencer to Susan Wojcicki et al.          Highly Confidential   402, 403
PTX0030       7/18/2008 13:48    GOOG-DOJ-02133677        GOOG-DOJ-02133681           Email from Scott Spencer to Susan Wojcicki et al.          Highly Confidential   402, 403
PTX0031       7/25/2008 13:47    GOOG-DOJ-02133757        GOOG-DOJ-02133759           Email from Brian Axe to Susan Wojcicki et al.              Highly Confidential   402, 403
PTX0032       9/3/2008 17:45     GOOG-DOJ-02133916        GOOG-DOJ-02133917           Email from Joan Braddi to Neal Mohan et al.                Highly Confidential   402, 403
PTX0033       9/3/2008 19:17     GOOG-DOJ-02133918        GOOG-DOJ-02133919           Email from Neal Mohan to Joan Braddi et al.                Highly Confidential   402, 403
                                                                                      Email from Shilpa Anand to Neal Mohan et al., with
PTX0034       9/6/2008 6:19      GOOG-DOJ-01748391        GOOG-DOJ-01748394           attachments                                                Highly Confidential   402, 403, 805

PTX0035       1/8/2009 8:34      GOOG-AT-MDL-009596409 GOOG-AT-MDL-009596409 Email from Neal Mohan to David Rosenblatt                           Confidential          402, 403

PTX0036       1/31/2009 20:37    GOOG-AT-MDL-009597305 GOOG-AT-MDL-009597305 Email from Neal Mohan to Jens Skakkebaek et al.                     Confidential          402, 403, 805
PTX0037       2/2/2009 20:38     GOOG-DOJ-02160742     GOOG-DOJ-02160750     Email from Prashant C. Fuloria to Monica Gnanadev et al.            Highly Confidential   402, 403, 805

PTX0038       2/11/2009 14:23    GOOG-DOJ-01439665        GOOG-DOJ-01439675           Email from Rob Jonas to partnerships-mg, with attachment Highly Confidential     402, 403, 805

PTX0039       2/13/2009 20:47    GOOG-AT-MDL-009597716 GOOG-AT-MDL-009597720 Email from Neal Mohan to David Rosenblatt                           Confidential          402, 403, 805




                                                                                       Page 1 of 54
                                                         United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                       Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 5 of 57 PageID# 21955
Trial Exhibit
                       Date                Beg Bates                 End Bates                                Description                            Confidentiality         Google Objection
  Number

PTX0040         2/26/2009 5:38     GOOG-AT-MDL-009598319 GOOG-AT-MDL-009598320 Email from Neal Mohan to David Rosenblatt                          Confidential          402, 403, 805
PTX0041         3/23/2009 18:17    GOOG-DOJ-02148005     GOOG-DOJ-02148007     Email from Neal Mohan to Nikesh Arora et al.                       Highly Confidential   402, 403, 805
PTX0042         4/2/2009 0:09      GOOG-DOJ-02111607     GOOG-DOJ-02111608     Email from Scott Spencer to Neal Mohan et al.                      Highly Confidential   402, 403

PTX0043         4/16/2009 3:12     GOOG-AT-MDL-012386226 GOOG-AT-MDL-012386236 Email from Chris LaSala to Chris LaSala                            Confidential          402, 403, 802, 805

PTX0044         4/21/2009 5:15     GOOG-AT-MDL-009398913 GOOG-AT-MDL-009398915 Email from Neal Mohan to Scott Spencer et al.                      Confidential          402, 403, 805

PTX0045         6/23/2009 18:04    GOOG-AT-MDL-009603915 GOOG-AT-MDL-009603915 Email from Neal Mohan to Henrique DE Castro                        Confidential

PTX0046         6/25/2009 21:25    GOOG-AT-MDL-012522095 GOOG-AT-MDL-012522099 Email from Neal Mohan to Jonathan Bellack et al.                   Confidential          402, 403, 805

PTX0047         9/9/2009 0:00      GOOG-AT-MDL-014602532 GOOG-AT-MDL-014602543 Email from Rahul Bafna to Scott Spencer, with attachment           Confidential          402, 403
                                                                               Email from Scott Spencer to Sarin Suvarna et al., with
PTX0048         9/15/2009 0:00     GOOG-AT-MDL-014602928 GOOG-AT-MDL-014602949 attachment                                                         Confidential          402, 403, 805
PTX0049         10/7/2009 17:35    GOOG-DOJ-12119445     GOOG-DOJ-12119447     Google document                                                    Highly Confidential   402, 403
PTX0050         2/22/2010 23:18    GOOG-DOJ-02113222     GOOG-DOJ-02113224     Email from Rajas Moonka to Jason Miller et al.                     Highly Confidential   805
PTX0051         4/6/2010 23:06     GOOG-DOJ-02162723     GOOG-DOJ-02162727     Email from Jag Duggal to Google employee                           Highly Confidential   402, 403, 805
PTX0052         5/12/2010 21:15    GOOG-TEX-00099950     GOOG-TEX-00099954     Email from Jason Miller to Rajas Moonka et al.                     Highly Confidential   402, 403, 805
PTX0053         5/13/2010 17:53    GOOG-TEX-00099984     GOOG-TEX-00100000     Email from Cynthia Benin to Bruce Falck et al.                     Highly Confidential   402, 403, 805
                                                                               Email from Stephen Dove to Stephen Dove et al., with
PTX0054         6/30/2010 20:47    GOOG-TEX-00113007     GOOG-TEX-00113022     attachment                                                         Highly Confidential   402, 403

PTX0055         8/20/2010 3:51     GOOG-AT-MDL-009618311 GOOG-AT-MDL-009618312 Email from Neal Mohan to Eric Rosenblum et al.                     Confidential          402, 403

PTX0056         8/23/2010 20:37    GOOG-TEX-00101776        GOOG-TEX-00101821           Email from Kento Sugiura to Chris LaSala, with attachment Highly Confidential   402, 403
PTX0057         9/22/2010 19:28    GOOG-TEX-00269169        GOOG-TEX-00269170           Email from Jonathan Bellack to Scott Spencer et al.       Highly Confidential   402, 805
PTX0058         10/11/2010 21:28   GOOG-TEX-00812799        GOOG-TEX-00812804           Email from Neal Mohan to Jason Harinstein                 Highly Confidential   402, 805

PTX0059         10/18/2010 19:53   GOOG-AT-MDL-009620077 GOOG-AT-MDL-009620077          Email from Neal Mohan to Barry Salzman                    Confidential          402, 403
PTX0060         10/19/2010 3:17    GOOG-TEX-00041486     GOOG-TEX-00041492              Email from Neal Mohan to Jonathan Bellack et al.          Highly Confidential   402, 403, 805
PTX0061         11/29/2010 15:53   GOOG-TEX-00070498     GOOG-TEX-00070501              Email from Brad Bender to Adrian Corduneanu et al.        Highly Confidential
PTX0062         1/7/2011 18:15     GOOG-DOJ-01322621     GOOG-DOJ-01322629              Email from Neal Mohan to Joerg Heilig                     Highly Confidential
PTX0063         2/2/2011 18:10     GOOG-DOJ-13245481     GOOG-DOJ-13245488              Email from Scott Spencer to Jonathan Bellack et al.       Highly Confidential
PTX0064         2/7/2011 17:16     GOOG-DOJ-14826375     GOOG-DOJ-14826378              Email from Scott Spencer to Nemo Semret et al.            Highly Confidential   402, 403, 805
                                                                                        Email from Scott Spencer to Eyal Manor et al., with
PTX0065         2/17/2011 18:31    GOOG-DOJ-14826584        GOOG-DOJ-14826604           attachment                                                Highly Confidential   402, 805
                                                                                        Email from monetization-pm@google.com on behalf of
PTX0066         2/18/2011 0:07     GOOG-DOJ-06573528        GOOG-DOJ-06573530           Zachary Goldbert to Google employees                      Highly Confidential   402, 403
PTX0067         2/18/2011 2:19     GOOG-DOJ-05244824        GOOG-DOJ-05244828           Email from Zachary Goldberg to Jonathan Bellack et al.    Highly Confidential   402, 403
PTX0068         2/18/2011 18:24    GOOG-DOJ-03863678        GOOG-DOJ-03863678           Message containing comments to Google document            Highly Confidential   106, 402, 403
PTX0069         2/19/2011 16:13    GOOG-DOJ-05244839        GOOG-DOJ-05244842           Email from Sean Downey to Brad Bender et al.              Highly Confidential   402, 403, 805
                                                                                        Email from Jonathan Bellack to Jag Duggal et al., with
PTX0070         2/22/2011 15:32    GOOG-TEX-00042179        GOOG-TEX-00042194           attachment                                                Highly Confidential   402, 403
PTX0071         2/23/2011 1:40     GOOG-DOJ-05244847        GOOG-DOJ-05244851           Email from Brad Bender to Jason Miller et al.             Highly Confidential   402, 403
                                                                                        Email from Pooja Kapoor to multiple recipients, with
PTX0072         2/25/2011 20:01    GOOG-DOJ-03599580        GOOG-DOJ-03599645           attachments                                               Highly Confidential   802, 805
                                                                                        Email from xfp-ym@google.com on behalf of Casey Saran
PTX0073         2/28/2011 0:00     GOOG-DOJ-13247747        GOOG-DOJ-13247807           to Arun Mathew et al.                                     Highly Confidential   402, 403



                                                                                         Page 2 of 54
                                                        United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                      Google's Objections to Plaintiffs’ Trial Exhibit List
                               Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 6 of 57 PageID# 21956
Trial Exhibit
                     Date                Beg Bates                  End Bates                                 Description                          Confidentiality         Google Objection
  Number
PTX0074       3/2/2011 23:17     GOOG-DOJ-03863784         GOOG-DOJ-03863785           Google document                                          Highly Confidential   402, 403, 805
PTX0075       3/10/2011 3:47     GOOG-DOJ-03863839         GOOG-DOJ-03863840           Email from Scott Spencer to Chip Hall et al.             Highly Confidential   402, 403, 805

PTX0076       3/14/2011 2:21     GOOG-AT-MDL-019036783 GOOG-AT-MDL-019036785 Google document                                                    Confidential          402, 403
                                                                             Email from Zachary Goldberg to Luis Vilela et al., with
PTX0077       4/1/2011 16:33     GOOG-AT-MDL-004228528 GOOG-AT-MDL-004228590 attachment                                                         Confidential          402, 403

PTX0078       4/12/2011 19:21    GOOG-AT-MDL-009593285 GOOG-AT-MDL-009593287 Email from Neal Mohan to Lourdes Canicosa et al.                   Confidential          402, 403
                                                                             Email from Jonathan Bellack to Yang Zhang et al., with
PTX0079       4/15/2011 0:00     GOOG-DOJ-13252092     GOOG-DOJ-13252114     attachment                                                         Highly Confidential   402, 403

PTX0080       4/27/2011 23:13    GOOG-AT-MDL-004534545 GOOG-AT-MDL-004534547           Google document                                          Confidential
PTX0081       4/29/2011 21:05    GOOG-DOJ-03864136     GOOG-DOJ-03864140               Email from Brad Bender to Jason Miller et al.            Highly Confidential   402, 403, 805
PTX0082       5/9/2011 14:21     GOOG-DOJ-04294986     GOOG-DOJ-04294995               Email from Neal Mohan to Scott Spencer                   Highly Confidential   402, 403, 805
PTX0083       5/27/2011 22:46    GOOG-DOJ-03864499     GOOG-DOJ-03864545               Email from Jag Duggal to Brad Bender, with attachments   Highly Confidential   402, 403
PTX0084       6/15/2011 16:34    GOOG-DOJ-04295842     GOOG-DOJ-04295842               Email from Scott Spencer to Neal Mohan                   Highly Confidential   402, 805
                                                                                       Email from Jonathan Bellack to Laurent Cordier, with
PTX0085       6/16/2011 16:07    GOOG-DOJ-13257712         GOOG-DOJ-13257734           attachment                                               Highly Confidential   402, 403
PTX0086       6/27/2011 15:21    GOOG-DOJ-32035110         GOOG-DOJ-32035113           Email from Ariel Bardin to Neal Mohan et al.             Confidential          402, 403, 805

PTX0087       6/28/2011 16:35    GOOG-AT-MDL-018616605 GOOG-AT-MDL-018616605 Google document                                                    Confidential          805
PTX0088       7/18/2011 17:12    GOOG-DOJ-02139596     GOOG-DOJ-02139615     Google document                                                    Highly Confidential   402, 403, 805
                                                                             Email from Scott Spencer to Jeff Huber et al., with
PTX0089       8/6/2011 6:30      GOOG-DOJ-02138228     GOOG-DOJ-02138231     attachments                                                        Highly Confidential   402, 403
                                                                             Email from Jocelyn Lin to Nitin Khandelwal et al., with
PTX0090       9/2/2011 20:52     GOOG-DOJ-01019408     GOOG-DOJ-01019411     attachment                                                         Highly Confidential   402, 403, 805
                                                                             Email from as-tips@google.com on behalf of Gili Vaturi to
PTX0091       12/2/2011 0:00     GOOG-DOJ-04145792     GOOG-DOJ-04145813     Benjamin Le Roux et al., with attachment                           Highly Confidential   402, 403
PTX0092       12/14/2011 21:04   GOOG-DOJ-29632965     GOOG-DOJ-29632966     Email from Aitan Weinberg to Neal Mohan et al.                     Highly Confidential   402, 403
                                                                             Email from Alanna Clark to Pooja Kapoor et al., with
PTX0093       12/15/2011 0:00    GOOG-DOJ-03601148     GOOG-DOJ-03601190     attachment                                                         Highly Confidential
PTX0094       2/10/2012 2:51     GOOG-DOJ-15583409     GOOG-DOJ-15583413     Email from Drew Bradstock to Scott Spencer                         Highly Confidential   402, 403, 805

PTX0095       2/24/2012 3:59     GOOG-AT-MDL-014621288 GOOG-AT-MDL-014621289 Email from Scott Spencer to Jason Sigalos et al.                   Confidential          402, 805
                                                                             Email from Bruck Falck to Joerg Heilig et al., with
PTX0096       2/27/2012 15:45    GOOG-TEX-00815605     GOOG-TEX-00815614     attachment                                                         Highly Confidential
                                                                             Email from Ritu Kathpalia to Scott Spencer et al., with
PTX0097       3/21/2012 1:59     GOOG-DOJ-14237839     GOOG-DOJ-14237856     attachment                                                         Highly Confidential   402, 403
                                                                             Email from Adam Zika to partnerships-all@google.com et
PTX0098       4/26/2012 0:34     GOOG-TEX-00043401     GOOG-TEX-00043476     al., with attachment                                               Highly Confidential   402, 403

PTX0099       5/17/2012 14:10    GOOG-AT-MDL-017591289 GOOG-AT-MDL-017591293 Email from Drew Bradstock to Scott Spencer et al.                  Highly Confidential   402, 403

PTX0100       5/19/2012 2:43     GOOG-AT-MDL-009762423 GOOG-AT-MDL-009762429 Email from Scott Spencer to Tom Jenen et al.                       Confidential          402, 403, 805
PTX0101       6/8/2012 15:05     GOOG-DOJ-14842648     GOOG-DOJ-14842653     Email from Jason Washing to Scott Spencer et al.                   Highly Confidential   402, 403, 805
                                                                             Email from mdev@google.com on behalf of Jason Kelly to
                                                                             Marketplace Development [mdev@google.com], with
PTX0102       7/12/2012 23:26    GOOG-DOJ-03603126     GOOG-DOJ-03603154     attachment                                                         Highly Confidential   402, 403
PTX0103       7/26/2012 21:39    GOOG-DOJ-03870086     GOOG-DOJ-03870087     Email from Woojin Kim to Brad Bender                               Highly Confidential   402, 403, 805
PTX0104       8/3/2012 11:50     GOOG-DOJ-03603298     GOOG-DOJ-03603300     Google document                                                    Highly Confidential   403



                                                                                        Page 3 of 54
                                                       United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                     Google's Objections to Plaintiffs’ Trial Exhibit List
                            Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 7 of 57 PageID# 21957
Trial Exhibit
                     Date                Beg Bates                 End Bates                                 Description                           Confidentiality         Google Objection
  Number
PTX0105       8/14/2012 22:53    GOOG-DOJ-04401026        GOOG-DOJ-04401030           Google document                                           Highly Confidential   402, 403
PTX0106       8/15/2012 7:47     GOOG-TEX-00044353        GOOG-TEX-00044356           Google document                                           Highly Confidential   402, 403, 805
                                                                                      Email from Jennifer Schindler to Adam Klee et al., with
PTX0107       8/15/2012 16:15    GOOG-TEX-00279425        GOOG-TEX-00279432           attachment                                                Highly Confidential   402, 403
PTX0108       8/15/2012 16:24    GOOG-DOJ-03603452        GOOG-DOJ-03603459           Google document                                           Highly Confidential   402, 403
PTX0109       8/15/2012 16:24    GOOG-TEX-00714995        GOOG-TEX-00715002           Google document                                           Highly Confidential   402, 403

PTX0110       8/20/2012 0:00     GOOG-DOJ-05247075-0001 GOOG-DOJ-05247153-0079        Google document                                           Highly Confidential   402, 403, 805
PTX0111       8/22/2012 13:40    GOOG-DOJ-15592420      GOOG-DOJ-15592421             Email from Sean Harvey to Scott Spencer, et al.           Highly Confidential   402, 403
PTX0112       8/26/2012 0:59     GOOG-DOJ-10590974      GOOG-DOJ-10590998             Google document                                           Highly Confidential
PTX0113       8/27/2012 1:23     GOOG-DOJ-13283803      GOOG-DOJ-13283805             Google document                                           Highly Confidential   402, 403
PTX0114       9/10/2012 16:52    GOOG-TEX-00076049      GOOG-TEX-00076050             Email from Marc Theermann to Scott Spencer et al.         Highly Confidential   402, 403
PTX0115       9/12/2012 7:13     GOOG-TEX-00054421      GOOG-TEX-00054424             Google document                                           Highly Confidential   402, 403, 805
PTX0116       9/12/2012 19:53    GOOG-TEX-00034461      GOOG-TEX-00034463             Email from Chris LaSala to Marc Theermann                 Highly Confidential   402, 403
PTX0117       10/18/2012 17:41   GOOG-DOJ-06581350      GOOG-DOJ-06581352             Google document                                           Highly Confidential   402, 403

PTX0118       10/31/2012 20:31   GOOG-AT-MDL-012478322 GOOG-AT-MDL-012478324 Email from Chris LaSala to Marc Theermann et al.                   Confidential          402, 403
PTX0119       11/27/2012 16:11   GOOG-DOJ-15598151     GOOG-DOJ-15598153     Email from Stephanie Fournis to Scott Spencer et al.               Highly Confidential   402
                                                                             Email from Tobias Maurer to Charlie Vestner et al., with
PTX0120       11/27/2012 19:47   GOOG-DOJ-03870862     GOOG-DOJ-03870877     attachment                                                         Highly Confidential   402, 403, 805
PTX0121       12/10/2012 19:08   GOOG-DOJ-11036977     GOOG-DOJ-11036979     Email from Sanjay Datta to Danielle Romain et al.                  Highly Confidential   402, 403
                                                                             Email from pmg@google.com on behalf of Scott Sheffer to
PTX0122       1/17/2013 17:04    GOOG-DOJ-04528816     GOOG-DOJ-04528817     PBS Management Team (PMG) [pmg@google.com]                         Highly Confidential   402, 403

PTX0123       1/18/2013 0:00     GOOG-AT-MDL-001274267 GOOG-AT-MDL-001274290          Email from Sergio Abreu to Luis Vilela, with attachment   Confidential          402, 403
PTX0124       1/30/2013 2:30     GOOG-DOJ-15600216     GOOG-DOJ-15600218              Email from Scott Spencer to Kick Zandbergen et al.        Highly Confidential   402, 403, 805
PTX0125       2/21/2013 18:45    GOOG-DOJ-10940285     GOOG-DOJ-10940286              Email from Jennifer Schindler to Chris LaSala             Highly Confidential   402, 403
PTX0126       3/4/2013 20:55     GOOG-DOJ-14247892     GOOG-DOJ-14247894              Email from Scott Spencer to Adam Klee                     Highly Confidential   402, 403, 805
PTX0127       3/14/2013 23:57    GOOG-DOJ-03605185     GOOG-DOJ-03605187              Email from Scott Spencer to Laureline Serieys et al.      Highly Confidential   402, 403, 805
PTX0128       3/23/2013 1:16     GOOG-TEX-00149044     GOOG-TEX-00149048              Email from Scott Spencer to Martin Pal et al.             Highly Confidential   402, 403, 805
PTX0129       3/26/2013 19:51    GOOG-TEX-00149056     GOOG-TEX-00149062              Email from Scott Spencer to Reena Vokoun et al.           Highly Confidential   402, 403, 805
                                 GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0130       4/4/2013 23:06     004428140             004428140                      Message from Michael Schulman to Deepti Bhatnagar         Confidential          106, 402, 403
PTX0131       4/17/2013 18:07    GOOG-DOJ-03872448     GOOG-DOJ-03872450              Google document                                           Highly Confidential   402, 403, 805
PTX0132       4/17/2013 18:07    GOOG-DOJ-13295787     GOOG-DOJ-13295789              Google document                                           Highly Confidential   402, 403, 805
PTX0133       4/22/2013 21:19    GOOG-DOJ-15603896     GOOG-DOJ-15603896              Message from Tobias Maurer to Scott Spencer               Highly Confidential   106, 402, 403
                                                                                      Email from Jonathan Dale to Chris LaSala, with
PTX0134       4/25/2013 0:19     GOOG-DOJ-11753371        GOOG-DOJ-11753378           attachments                                               Highly Confidential
PTX0135       5/1/2013 16:34     GOOG-DOJ-09447911        GOOG-DOJ-09447916           Google document                                           Highly Confidential   402, 403, 805
PTX0136       5/21/2013 17:19    GOOG-DOJ-06583584        GOOG-DOJ-06583586           Email from Jonathan Bellack to Aparna Pappu et al.        Highly Confidential   402, 805

PTX0137       5/30/2013 18:43    GOOG-AT-MDL-014628114 GOOG-AT-MDL-014628116 Email from Sunni Yuen to Woojin Kim et al.                         Confidential          402, 403

PTX0138       5/31/2013 0:48     GOOG-AT-MDL-014515747 GOOG-AT-MDL-014515748          Email from Scott Spencer to Woojin Kim et al.             Confidential          402, 403
PTX0139       6/11/2013 21:11    GOOG-DOJ-06584045     GOOG-DOJ-06584047              Email from launch@google.com to Google employees          Highly Confidential   402, 403
PTX0140       6/12/2013 13:29    GOOG-DOJ-09448411     GOOG-DOJ-09448419              Email from Jan Sehrt to Daniel Silveira et al.            Highly Confidential   402, 403, 805
PTX0141       6/17/2013 7:04     GOOG-DOJ-03606441     GOOG-DOJ-03606451              Google document                                           Highly Confidential

PTX0142       6/28/2013 16:19    GOOG-AT-MDL-014628553 GOOG-AT-MDL-014628554 Email from Adam Klee to Scott Spencer                              Confidential          403, 805
PTX0143       7/10/2013 16:57    GOOG-DOJ-04407352     GOOG-DOJ-04407354     Email from Pooja Kapoor to Megan Kiefer et al.                     Highly Confidential   402, 403



                                                                                       Page 4 of 54
                                                       United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                     Google's Objections to Plaintiffs’ Trial Exhibit List
                               Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 8 of 57 PageID# 21958
Trial Exhibit
                     Date                Beg Bates                 End Bates                                 Description                            Confidentiality         Google Objection
  Number
PTX0144       7/11/2013 21:43    GOOG-DOJ-04407434        GOOG-DOJ-04407444           Google document                                            Highly Confidential   402, 403, 805
PTX0145       7/24/2013 12:57    GOOG-DOJ-03541292        GOOG-DOJ-03541298           Google presentation                                        Highly Confidential   402, 403
PTX0146       8/15/2013 20:48    GOOG-DOJ-03607096        GOOG-DOJ-03607102           Google presentation                                        Highly Confidential
PTX0147       8/28/2013 17:24    GOOG-DOJ-11810183        GOOG-DOJ-11810266           Google document                                            Highly Confidential   402, 403, 805

PTX0148       9/11/2013 16:52    GOOG-AT-MDL-014564678 GOOG-AT-MDL-014564681 Email from Mathew Monroe to Victor Starenky et al.                  Confidential          402, 403

PTX0149       9/12/2013 5:06     GOOG-AT-MDL-014564694 GOOG-AT-MDL-014564697          Email from Matthew Monroe to Jaclyn Madden et al.          Confidential          402, 403
                                 GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0150       9/18/2013 16:25    004428141             004428142                      Message from Michael Rosett to Deepti Bhatnagar            Confidential          402, 403
PTX0151       10/8/2013 16:33    GOOG-DOJ-03873799     GOOG-DOJ-03873801              Email from David Bledin to Atlan Weinberg et al.           Highly Confidential   402, 403
PTX0152       10/25/2013 14:51   GOOG-DOJ-03874061     GOOG-DOJ-03874069              Google document                                            Highly Confidential   402, 403, 805
PTX0153       10/26/2013 8:00    GOOG-DOJ-15718679     GOOG-DOJ-15718681              Email from launch@google.com to Google employees           Highly Confidential   402, 403

PTX0154       10/29/2013 15:28   GOOG-AT-MDL-009412816 GOOG-AT-MDL-009412818 Email from Joan Braddi to James McSweeney, et al.                   Confidential          402, 403
PTX0155       10/30/2013 0:10    GOOG-TEX-00055079     GOOG-TEX-00055086     Google presentation                                                 Highly Confidential   402, 403

PTX0156       10/30/2013 14:15   GOOG-AT-MDL-009412827 GOOG-AT-MDL-009412830 Email from Tobias Maurer to Joan Braddi, et al.                     Confidential          402, 403
PTX0157       10/30/2013 17:00   GOOG-DOJ-03608886     GOOG-DOJ-03608890     Google presentation                                                 Highly Confidential   402, 403

PTX0158       11/21/2013 0:58    GOOG-AT-MDL-012324145 GOOG-AT-MDL-012324145 Google document                                                     Confidential
PTX0159       2/5/2014 15:09     GOOG-DOJ-03610002     GOOG-DOJ-03610004     Google document                                                     Highly Confidential

PTX0160       2/7/2014 18:24     GOOG-DOJ-12684590        GOOG-DOJ-12684619           Email from Ashley Hu to Bethanie Baynes, with attachment Highly Confidential     402, 403
PTX0161       3/3/2014 19:53     GOOG-DOJ-14867672        GOOG-DOJ-14867672           Email from Aparna Pappu to Scott Spencer                 Highly Confidential     402, 403
PTX0162       3/4/2014 18:29     GOOG-DOJ-14257029        GOOG-DOJ-14257041           Google presentation                                      Highly Confidential     402, 403
PTX0163       3/7/2014 17:51     GOOG-DOJ-03610256        GOOG-DOJ-03610274           Google presentation                                      Highly Confidential     402, 403
PTX0164       3/14/2014 0:58     GOOG-DOJ-29736075        GOOG-DOJ-29736076           Email from Scott Spencer to Johan Land et al.            Confidential            402, 403, 501
PTX0165       3/23/2014 23:49    GOOG-DOJ-03707195        GOOG-DOJ-03707208           Google presentation                                      Highly Confidential     402, 403
PTX0166       3/24/2014 0:11     GOOG-DOJ-03525434        GOOG-DOJ-03525434           Google document                                          Highly Confidential     402, 403
PTX0167       3/28/2014 14:43    GOOG-DOJ-15618265        GOOG-DOJ-15618268           Email from Tobias Maurer to Bruce Falck et al.           Highly Confidential     402, 403
PTX0168       3/28/2014 15:38    GOOG-DOJ-14258291        GOOG-DOJ-14258294           Email from Christian Veer to Tobias Maurer et al.        Highly Confidential     402, 403
PTX0169       3/28/2014 16:20    GOOG-DOJ-14258295        GOOG-DOJ-14258298           Email from Christian Veer to Tobias Maurer et al.        Highly Confidential     402, 403
                                                                                      Email from Chikako Nakashima to James McSweeney et
PTX0170       4/3/2014 2:10      GOOG-DOJ-11796239        GOOG-DOJ-11796246           al.,                                                     Highly Confidential     402, 403
                                                                                      Email from ads-quality-team@google.com on behalf of
PTX0171       4/4/2014 14:35     GOOG-DOJ-04857852        GOOG-DOJ-04857857           Vinod Marur to Reed Taylor et al.                        Highly Confidential     402, 403
PTX0172       4/8/2014 14:12     GOOG-DOJ-15133095        GOOG-DOJ-15133096           Email from David Goodman to Jan Sehrt                    Highly Confidential     402, 403, 805

PTX0173       4/8/2014 22:26     GOOG-AT-MDL-004235486 GOOG-AT-MDL-004235488          Email from Chris LaSala to Aidan Booth et al.              Confidential          402, 403
PTX0174       4/29/2014 20:00    GOOG-DOJ-06831630     GOOG-DOJ-06831679              Google presentation                                        Highly Confidential   402, 403
PTX0175       5/13/2014 3:24     GOOG-DOJ-06588780     GOOG-DOJ-06588783              Email from Bhavesh Mehta to Eisar Lipkovitz et al.         Highly Confidential   402, 403
PTX0176       5/22/2014 15:00    GOOG-DOJ-08976385     GOOG-DOJ-08976469              Google document                                            Highly Confidential   402, 403
PTX0177       5/28/2014 16:38    GOOG-DOJ-03876213     GOOG-DOJ-03876216              Email from Jonathan Bellack to Jonathan Alferness et al.   Highly Confidential   402, 403
PTX0178       5/30/2014 16:06    GOOG-DOJ-14140347     GOOG-DOJ-14140353              Google document                                            Highly Confidential   402, 403
PTX0179       5/30/2014 19:28    GOOG-DOJ-09451567     GOOG-DOJ-09451590              Google presentation                                        Highly Confidential   402, 403
PTX0180       6/4/2014 0:00      GOOG-DOJ-14010311     GOOG-DOJ-14010313              Email from Eisar Lipkovitz to Scott Silver                 Highly Confidential   402, 403, 701
PTX0181       6/6/2014 17:08     GOOG-DOJ-14303532     GOOG-DOJ-14303589              Google presentation                                        Highly Confidential   402, 403
                                 GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0182       6/7/2014 23:19     002182842             002182845                      Email from Jesse Savage to Paul Pellman et al.             Confidential          402, 403, 805



                                                                                       Page 5 of 54
                                                        United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                      Google's Objections to Plaintiffs’ Trial Exhibit List
                               Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 9 of 57 PageID# 21959
Trial Exhibit
                     Date                Beg Bates                  End Bates                                  Description                        Confidentiality         Google Objection
  Number
PTX0183       6/12/2014 13:20    GOOG-DOJ-04992716         GOOG-DOJ-04992719           Email from Scott Silver to Eisar Lipkovitz et al.       Highly Confidential   402, 403
                                 GOOG-AT-MDL-B-            GOOG-AT-MDL-B-
PTX0184       6/16/2014 9:56     003716262                 003716263                   Email from Ali Nasiri Amini to Chris Harris et al.      Confidential          402, 403, 805
PTX0185       6/24/2014 14:11    GOOG-DOJ-07809152         GOOG-DOJ-07809153           Email from Charles Huang to Woojin Kim et al.           Highly Confidential   402, 403, 805
PTX0186       6/25/2014 5:05     GOOG-DOJ-07809181         GOOG-DOJ-07809183           Email from Brad Bender to Bhavesh Mehta et al.          Highly Confidential   402, 403, 805
PTX0187       6/27/2014 3:26     GOOG-DOJ-15199083         GOOG-DOJ-15199085           Email from Eyal Manor to Eisar Lipkovitz                Highly Confidential   402, 403, 805

PTX0188       7/8/2014 5:31      GOOG-AT-MDL-003839960 GOOG-AT-MDL-003840032           Google presentation                                     Confidential          402, 403
PTX0189       7/9/2014 16:09     GOOG-DOJ-27757879     GOOG-DOJ-27757893               Google presentation                                     Confidential          402, 403, 805
PTX0190       7/10/2014 13:15    GOOG-DOJ-04315024     GOOG-DOJ-04315040               Google presentation                                     Highly Confidential   402, 403
PTX0191       7/10/2014 22:57    GOOG-DOJ-29478169     GOOG-DOJ-29478199               Google presentation                                     Confidential          402, 403
PTX0192       7/14/2014 0:00     GOOG-DOJ-14954887     GOOG-DOJ-14954891               Email from James Buerger to Woojin Kim et al.           Highly Confidential   402, 403
PTX0193       7/22/2014 5:10     GOOG-DOJ-11239763     GOOG-DOJ-11239848               Google document                                         Highly Confidential   402, 403, 805
PTX0194       7/29/2014 16:13    GOOG-DOJ-06832553     GOOG-DOJ-06832603               Google presentation                                     Highly Confidential   402, 403, 805
PTX0195       7/31/2014 1:14     GOOG-DOJ-15199343     GOOG-DOJ-15199345               Email from Chris Harris to Eisar Lipkovitz              Highly Confidential   402, 403, 805
PTX0196       9/2/2014 17:39     GOOG-DOJ-05250986     GOOG-DOJ-05250988               Email from Taylor Tobin to Brad Bender                  Highly Confidential   402, 403

PTX0197       9/2/2014 19:07     GOOG-AT-MDL-014460499 GOOG-AT-MDL-014460500           Email from Aparna Pappu to Nirmal Jayaram et al.        Confidential          402, 403
PTX0198       9/8/2014 17:02     GOOG-DOJ-15627703     GOOG-DOJ-15627705               Email from Johan Land to Scott Spencer et al.           Highly Confidential   402, 403
PTX0199       9/9/2014 16:20     GOOG-DOJ-07227229     GOOG-DOJ-07227249               Google presentation                                     Highly Confidential
PTX0200       9/19/2014 19:22    GOOG-DOJ-03543422     GOOG-DOJ-03543424               Email from Neal Mohan to Jason Spero                    Highly Confidential   402, 403, 805
PTX0201       9/19/2014 21:26    GOOG-DOJ-03877823     GOOG-DOJ-03877823               Email from Tobias Maurer to Brad Bender                 Highly Confidential   402, 403
                                 GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0202       9/30/2014 8:21     002093394             002093395                       Email from Ali Nasiri Amini to Varun Ramanujam et al.   Confidential          402, 403
                                 GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0203       10/8/2014 0:00     002122273             002122287                       Google presentation                                     Highly Confidential   402, 403
PTX0204       10/16/2014 18:43   GOOG-DOJ-14022335     GOOG-DOJ-14022380               Google presentation                                     Highly Confidential   402, 403
PTX0205       11/4/2014 1:40     GOOG-DOJ-03878075     GOOG-DOJ-03878076               Email from Johan Land to Rohit Dhawan et al.            Highly Confidential   402, 403
PTX0206       11/4/2014 15:36    GOOG-DOJ-03878083     GOOG-DOJ-03878085               Email from Johan Land to Aparna Pappu et al.            Highly Confidential   402, 403
PTX0207       11/6/2014 6:32     GOOG-DOJ-03231699     GOOG-DOJ-03231703               Email from Aitan Weinberg to Brad Bender et al.         Highly Confidential   402, 403
PTX0208       12/3/2014 21:28    GOOG-DOJ-12768541     GOOG-DOJ-12768569               Google presentation                                     Highly Confidential   402, 403
PTX0209       12/4/2014 18:04    GOOG-DOJ-06592338     GOOG-DOJ-06592340               Email from Max Loubser to Scott Silver et al.           Highly Confidential   402, 403

PTX0210       12/9/2014 4:09     GOOG-AT-MDL-009417880 GOOG-AT-MDL-009417881 Email from Jennifer Flannery O'Connor to Neal Mohan               Confidential          402, 403

PTX0211       12/9/2014 16:36    GOOG-AT-MDL-016955780 GOOG-AT-MDL-016955782 Email from Jennifer Flannery O'Connor to Jim Giles et al.         Confidential          402, 403

PTX0212       12/9/2014 16:56    GOOG-AT-MDL-013362112 GOOG-AT-MDL-013362116 Email from Aparna Pappu to Scott Silver                           Confidential          402, 403
                                                                             Message generated by docs.google.com containing
PTX0213       8/12/2015 2:29     GOOG-DOJ-15188149     GOOG-DOJ-15188149     comments to document                                              Highly Confidential   402, 403
PTX0214       1/6/2015 17:59     GOOG-DOJ-14712011     GOOG-DOJ-14712015     Email from Max Loubser to Aparna Pappu et al.                     Highly Confidential   402, 403
PTX0215       1/8/2015 9:35      GOOG-DOJ-11948796     GOOG-DOJ-11948798     Google document                                                   Highly Confidential   402, 403, 805
PTX0216       1/22/2015 20:06    GOOG-DOJ-09875130     GOOG-DOJ-09875148     Google presentation                                               Highly Confidential   402, 403, 805

PTX0217       1/30/2015 0:00     GOOG-AT-MDL-010758565 GOOG-AT-MDL-010758581 Google document                                                   Highly Confidential   402, 403
PTX0218       2/9/2015 0:00      GOOG-DOJ-09251152     GOOG-DOJ-09251157     Email from Neal Mohan to Sridhar Ramaswamy                        Highly Confidential   402, 403, 805
                                                                             Email from Russ Freyman to Sean Harrison, with
PTX0219       3/3/2015 0:00      GOOG-AT-MDL-008734667 GOOG-AT-MDL-008734706 attachments                                                       Highly Confidential   402, 403
PTX0220       3/4/2015 14:21     GOOG-DOJ-27803533     GOOG-DOJ-27803552     Google presentation                                               Confidential          402, 403
PTX0221       3/6/2015 22:35     GOOG-DOJ-06594044     GOOG-DOJ-06594045     Email from Woojin Kim to Shannon Bayley et al.                    Highly Confidential   402, 403



                                                                                        Page 6 of 54
                                                      United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                    Google's Objections to Plaintiffs’ Trial Exhibit List
                               Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 10 of 57 PageID# 21960
Trial Exhibit
                     Date                Beg Bates                End Bates                                  Description                             Confidentiality         Google Objection
  Number
PTX0222       3/25/2015 12:00     GOOG-DOJ-06836438      GOOG-DOJ-06836465           Google presentation                                          Highly Confidential   402, 403
PTX0223       3/26/2015 18:36     GOOG-DOJ-10517669      GOOG-DOJ-10517675           Google presentation                                          Highly Confidential   402, 403
PTX0224       4/21/2015 18:02     GOOG-DOJ-13340483      GOOG-DOJ-13340483           Email from Scott Spencer to Jonathan Bellack                 Highly Confidential   402, 403

PTX0225       4/23/2015 20:52     GOOG-TEX-00079559      GOOG-TEX-00079570           Email from Sampada Telang to Archana Raghavendra et al. Highly Confidential        402, 403, 805
                                  GOOG-AT-MDL-B-         GOOG-AT-MDL-B-
PTX0226       4/28/2015 6:45      002097533              002097534                   Email from Ali Nasiri Amini to Bahman Rabii                  Confidential          402, 403, 805
                                                                                     Email from drx-notes@google.com on behalf of Drew
PTX0227       4/30/2015 21:29     GOOG-DOJ-03880564      GOOG-DOJ-03880567           Bradstock to Jonathan Bellack et al.                         Highly Confidential   402, 403, 805

PTX0228       5/14/2015 15:38     GOOG-AT-MDL-014462384 GOOG-AT-MDL-014462385        Email from Vahab Mirrokni to Aparna Pappu et al.             Confidential          402, 403
PTX0229       6/3/2015 1:19       GOOG-DOJ-07811169     GOOG-DOJ-07811239            Google presentation                                          Highly Confidential   402, 403, 805
PTX0230       6/23/2015 14:53     GOOG-DOJ-12710505     GOOG-DOJ-12710510            Email from Jonathan Bellack to Gang Wang et al.              Highly Confidential   402, 403, 805
PTX0231       7/7/2015 13:05      GOOG-DOJ-10547033     GOOG-DOJ-10547155            Google presentation                                          Highly Confidential   402, 403
PTX0232       7/16/2015 11:46     GOOG-TEX-00103507     GOOG-TEX-00103544            Google presentation                                          Highly Confidential   402, 403, 805

PTX0233       7/16/2015 18:37     GOOG-AT-MDL-007495110 GOOG-AT-MDL-007495188        Google presentation                                          Confidential          402, 403
PTX0234       7/22/2015 2:26      GOOG-TEX-00116236     GOOG-TEX-00116241            Email from Drew Bradstock to Jonathan Bellack et al.         Highly Confidential   402, 403, 805
PTX0235       7/27/2015 23:49     GOOG-DOJ-15187593     GOOG-DOJ-15187594            Email from Alex Barza to Drew Bradstock                      Highly Confidential   402, 403
PTX0236       7/28/2015 0:40      GOOG-DOJ-06563186     GOOG-DOJ-06563204            Google presentation                                          Highly Confidential   402, 403
PTX0237       7/31/2015 14:59     GOOG-TEX-00046730     GOOG-TEX-00046737            Email from Eisar Lipkovitz to Bahman Rabii et al.            Highly Confidential   402, 403, 805
PTX0238       8/4/2015 16:01      GOOG-DOJ-12710607     GOOG-DOJ-12710615            Email from Jonathan Bellack to Assaf Grabinsky et al.        Highly Confidential   402, 403, 805
PTX0239       8/5/2015 18:23      GOOG-TEX-00102812     GOOG-TEX-00102823            Email from Assaf Grabinsky to Thomas Schreiber et al.        Highly Confidential   402, 403, 805
PTX0240       8/5/2015 18:23      GOOG-DOJ-12710616     GOOG-DOJ-12710624            Email from Assaf Grabinsky to Thomas Schreiber et al.        Highly Confidential   402, 403, 805
PTX0241       8/12/2015 12:45     GOOG-DOJ-14002753     GOOG-DOJ-14002756            Google presentation                                          Highly Confidential   402, 403, 805
PTX0242       8/21/2015 17:25     GOOG-TEX-00119553     GOOG-TEX-00119568            Google document                                              Highly Confidential   402, 403, 805
PTX0243       8/24/2015 1:01      GOOG-TEX-00116618     GOOG-TEX-00116625            Email from Jonathan Bellack to Max Loubser et al.            Highly Confidential   402, 403, 805
PTX0244       8/26/2015 17:30     GOOG-DOJ-13352197     GOOG-DOJ-13352202            Email from Woojin Kim to Aparna Pappu et al.                 Highly Confidential   402, 403
PTX0245       9/2/2015 18:45      GOOG-TEX-00777528     GOOG-TEX-00777535            Email from Lixing Dong to Bo Zheng et al.                    Highly Confidential   402, 403
PTX0246       9/18/2015 14:35     GOOG-DOJ-14004308     GOOG-DOJ-14004308            Email from Gargi Sur to Drew Bradstock                       Highly Confidential   402, 403
PTX0247       9/24/2015 20:14     GOOG-TEX-00123404     GOOG-TEX-00123417            Google presentation                                          Highly Confidential   402, 403, 805
PTX0248       9/25/2015 18:29     GOOG-TEX-00118526     GOOG-TEX-00118537            Google document                                              Highly Confidential   402, 403, 805
PTX0249       9/29/2015 13:56     GOOG-DOJ-13354593     GOOG-DOJ-13354598            Email from Julie Sterling to David Goodman et al.            Highly Confidential   402, 403, 805
PTX0250       9/29/2015 19:27     GOOG-TEX-00089326     GOOG-TEX-00089340            Google presentation                                          Highly Confidential   402, 403
                                                                                     Email from Jonathan Bellack to Chris LaSala et al., with
PTX0251       10/9/2015 19:16     GOOG-DOJ-05310251      GOOG-DOJ-05310270           attachment                                                   Highly Confidential   402, 403, 805
PTX0252       10/9/2015 20:54     GOOG-TEX-00001388      GOOG-TEX-00001390           Email from Jonathan Bellack to Chris LaSala et al.           Highly Confidential   402, 403, 805
PTX0253       10/12/2015 14:36    GOOG-TEX-00107198      GOOG-TEX-00107233           Google presentation                                          Highly Confidential   402, 403, 805
PTX0254       10/13/2015 12:13    GOOG-TEX-00089237      GOOG-TEX-00089240           Email from Chris LaSala to Craig DiNatali et al.             Highly Confidential   402, 403, 805
PTX0255       10/13/2015 15:22    GOOG-TEX-00117103      GOOG-TEX-00117115           Email from Sunni Yuen to Sara Walsh et al.                   Highly Confidential   402, 403, 701, 805
PTX0256       10/13/2015 15:28    GOOG-DOJ-15643121      GOOG-DOJ-15643126           Email from Scott Spencer to Michael Smith et al.             Highly Confidential   402, 403, 701, 805
PTX0257       10/15/2015 21:09    GOOG-TEX-00125604      GOOG-TEX-00125631           Google presentation                                          Highly Confidential   402, 403, 805
PTX0258       10/16/2015 15:36    GOOG-DOJ-13356604      GOOG-DOJ-13356610           Google document                                              Highly Confidential   402, 403, 805
PTX0259       10/22/2015 2:51     GOOG-DOJ-13202326      GOOG-DOJ-13202329           Google document                                              Highly Confidential   402, 403, 805
                                                                                     Email from web-tym-working-group@google.com on
                                                                                     behalf of Assaf Grabinsky to Jonathan Bellack et al., with
PTX0260       10/23/2015 18:01    GOOG-DOJ-14507818      GOOG-DOJ-14507822           attachment                                                   Highly Confidential   402, 403, 805
PTX0261       11/3/2015 21:03     GOOG-DOJ-13964907      GOOG-DOJ-13964907           Email from George Levitte to David Goodman                   Highly Confidential   402, 403
PTX0262       11/4/2015 16:14     GOOG-DOJ-15728914      GOOG-DOJ-15728924           Email from Woojin Kim to Alok Aggarwal et al.                Highly Confidential   402, 403




                                                                                      Page 7 of 54
                                                           United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                         Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 11 of 57 PageID# 21961
Trial Exhibit
                       Date                 Beg Bates                  End Bates                                 Description                        Confidentiality         Google Objection
  Number

PTX0263         11/5/2015 15:34     GOOG-AT-MDL-012499189 GOOG-AT-MDL-012499190 Email from Chris LaSala to Chris LaSala                     Confidential               402, 403
PTX0264         11/10/2015 1:03     GOOG-DOJ-04329872     GOOG-DOJ-04329873     Email from Eisar Lipkovitz to Woojin Kim et al.             Highly Confidential        402, 403
                                                                                Email from Eu-Jin Goh to Eisar Lipkovitz et al., with
PTX0265         11/10/2015 6:48     GOOG-DOJ-05256264     GOOG-DOJ-05256273     attachment                                                  Highly Confidential        402, 403, 805
                                                                                Email from Jonathan Bellack to Eisar Lipkovitz et al., with
PTX0266         11/10/2015 17:05    GOOG-DOJ-05256328     GOOG-DOJ-05256339     attachment                                                  Highly Confidential        402, 403, 805
PTX0267         11/10/2015 20:28    GOOG-DOJ-04329901     GOOG-DOJ-04329904     Email from Jonathan Bellack to Eisar Lipkovitz et al.       Highly Confidential        402, 403
PTX0268         11/10/2015 21:38    GOOG-DOJ-10947533     GOOG-DOJ-10947533     Email from Chris LaSala to Jerome Grateau                   Highly Confidential        402, 403
PTX0269         11/11/2015 15:20    GOOG-TEX-00117219     GOOG-TEX-00117229     Email from Julie Sterling to Jonathan Bellack et al.        Highly Confidential        402, 403, 805
PTX0270         11/18/2015 16:36    GOOG-TEX-00057487     GOOG-TEX-00057705     Google presentation                                         Highly Confidential        402, 403, 805
                                                                                Email from Eu-Jin Goh to Aparna Pappu et al., with
PTX0271         11/18/2015 18:58    GOOG-DOJ-05256692     GOOG-DOJ-05256704     attachment                                                  Highly Confidential        402, 403, 805
PTX0272         11/20/2015 4:57     GOOG-DOJ-15214479     GOOG-DOJ-15214535     Google presentation                                         Highly Confidential        402, 403, 805
PTX0273         12/2/2015 13:37     GOOG-DOJ-03845733     GOOG-DOJ-03845746     Google presentation                                         Highly Confidential        402, 403
PTX0274         12/2/2015 21:04     GOOG-DOJ-03913175     GOOG-DOJ-03913191     Google presentation                                         Highly Confidential        402, 403
PTX0275         12/3/2015 18:52     GOOG-TEX-00089490     GOOG-TEX-00089496     Google document                                             Highly Confidential        402, 403, 805
                                                                                Email from Bryan Rowley (via Google Slides) [drive-shares-
PTX0276         12/4/2015 22:35     GOOG-AT-MDL-012499575 GOOG-AT-MDL-012499575 noreply@google.com] to Chris LaSala                         Confidential               402, 403
PTX0277         12/11/2015 14:48    GOOG-DOJ-03617407     GOOG-DOJ-03617418     Google presentation                                         Highly Confidential        402, 403
PTX0278         12/12/2015 1:00     GOOG-DOJ-11765613     GOOG-DOJ-11765619     Google document                                             Highly Confidential        402, 403
PTX0279         12/21/2015 19:08    GOOG-TEX-00117392     GOOG-TEX-00117394     Email from Craig DiNatali to Jonathan Bellack               Highly Confidential        402, 403, 805
PTX0280         1/6/2016 17:07      GOOG-TEX-00089371     GOOG-TEX-00089402     Google presentation                                         Highly Confidential        402, 403
PTX0281         1/6/2016 19:46      GOOG-TEX-00117939     GOOG-TEX-00117942     Email from launch@google.com to Jonathan Bellack et al. Highly Confidential            402, 403
PTX0282         1/8/2016 0:32       GOOG-DOJ-15192614     GOOG-DOJ-15192614     Email from George Levitte to Drew Bradstock et al.          Highly Confidential        402, 403, 805
PTX0283         1/8/2016 19:03      GOOG-TEX-00089404     GOOG-TEX-00089404     Email from Jennifer Schindler to Geraldine Chachoua et al. Highly Confidential         402, 403
PTX0284         1/8/2016 21:39      GOOG-DOJ-13364290     GOOG-DOJ-13364292     Email from Woojin Kim to Scott Spencer et al.               Highly Confidential        402, 403, 805
PTX0285         1/8/2016 22:07      GOOG-TEX-00085406     GOOG-TEX-00085409     Email from Drew Bradstock to Woojin Kim et al.              Highly Confidential        402, 403, 805
PTX0286         1/11/2016 17:56     GOOG-TEX-00117995     GOOG-TEX-00118000     Email from Jonathan Bellack to Aparna Pappu                 Highly Confidential        402, 403, 805
PTX0287         1/11/2016 17:56     GOOG-DOJ-13364449     GOOG-DOJ-13364453     Email from Jonathan Bellack to Aparna Pappu                 Highly Confidential        402, 403, 805
PTX0288         1/11/2016 19:53     GOOG-DOJ-06842351     GOOG-DOJ-06842362     Google presentation                                         Highly Confidential        402, 403
                                                                                Email from mad-pm@google.com on behalf of Chris
PTX0289         1/12/2016 6:12      GOOG-DOJ-07237766     GOOG-DOJ-07237770     Gkarlos-Stavropoulos to Eisar Lipkovitz et al.              Highly Confidential        402, 403, 805
PTX0290         1/12/2016 7:03      GOOG-DOJ-14516983     GOOG-DOJ-14516984     Email from Jerome Grateau to Eisar Lipkovitz                Highly Confidential        402, 403
                                                                                Message generated by Barney Pierce (Google Docs)
PTX0291         1/12/2016 18:34     GOOG-DOJ-10948339     GOOG-DOJ-10948339     containing comments to document                             Highly Confidential        402, 403
PTX0292         1/13/2016 16:13     GOOG-DOJ-12711806     GOOG-DOJ-12711835     Google presentation                                         Highly Confidential        402, 403
                                                                                Message generated by Tobias Maurer (Google Docs)
PTX0293         1/13/2016 21:12     GOOG-DOJ-15425488     GOOG-DOJ-15425488     containing comments to document                             Highly Confidential        402, 403
PTX0294         1/13/2016 21:22     GOOG-DOJ-32262609     GOOG-DOJ-32262661     Google presentation                                         Confidential               402, 403
PTX0295         1/17/2016 22:43     GOOG-DOJ-03068470     GOOG-DOJ-03068473     Google document                                             Highly Confidential        402, 403
PTX0296         1/25/2016 18:38     GOOG-DOJ-02850814     GOOG-DOJ-02850815     Email from Jonathan Bellack to Brad Bender                  Highly Confidential        402, 403
PTX0297         1/28/2016 0:29      GOOG-DOJ-09458688     GOOG-DOJ-09458709     Google presentation                                         Highly Confidential        402, 403, 805

PTX0298         1/28/2016 0:42      GOOG-AT-MDL-003367653 GOOG-AT-MDL-003367656           Email from Nelson Hsu to Colin Goulding et al.         Confidential          402, 403, 805
PTX0299         1/28/2016 17:01     GOOG-TEX-00118064     GOOG-TEX-00118068               Email from Jonathan Bellack to Rohit Dhawan et al.     Highly Confidential   402, 403, 805
PTX0300         1/29/2016 20:30     GOOG-TEX-00118107     GOOG-TEX-00118110               Email from Michael Kleber to Jonathan Bellack et al.   Highly Confidential   402, 403, 805
PTX0301         1/29/2016 20:57     GOOG-TEX-00103022     GOOG-TEX-00103024               Email from Aparna Pappu to Josh Cohen et al.           Highly Confidential   402, 403, 805
PTX0302         2/2/2016 18:15      GOOG-DOJ-11765922     GOOG-DOJ-11765922               Email from Bryan Rowley to Chris LaSala                Highly Confidential   402, 403
PTX0303         2/5/2016 15:50      GOOG-DOJ-12484600     GOOG-DOJ-12484601               Email from Payam Shodjai to Paul Muret                 Highly Confidential   402, 403



                                                                                           Page 8 of 54
                                                        United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                      Google's Objections to Plaintiffs’ Trial Exhibit List
                               Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 12 of 57 PageID# 21962
Trial Exhibit
                     Date                 Beg Bates                 End Bates                                 Description                              Confidentiality         Google Objection
  Number
PTX0304       2/9/2016 21:52      GOOG-DOJ-07791790        GOOG-DOJ-07791792           Email from Bryan Rowley to Bonita Stewart et al.             Highly Confidential   402, 403
PTX0305       2/19/2016 18:37     GOOG-DOJ-12502010        GOOG-DOJ-12502014           Google document                                              Highly Confidential   402, 403
PTX0306       2/22/2016 19:58     GOOG-DOJ-09141406        GOOG-DOJ-09141596           Google presentation                                          Highly Confidential   402, 403
PTX0307       2/23/2016 20:40     GOOG-DOJ-03618477        GOOG-DOJ-03618533           Google presentation                                          Highly Confidential   402, 403
PTX0308       2/25/2016 3:47      GOOG-DOJ-05221243        GOOG-DOJ-05221246           Email from Michelle Sarlo Dauwalter to Bonita Stewart        Highly Confidential   402, 403, 805

PTX0309       2/25/2016 11:38     GOOG-DOJ-05311142        GOOG-DOJ-05311145           Email from Chris LaSala to Michelle Sarlo Dauwalter et al.   Highly Confidential   402, 403, 805
                                                                                       Email from drx-notes@google.com on behalf of Abby
PTX0310       2/25/2016 19:58     GOOG-DOJ-07813621        GOOG-DOJ-07813622           Toomey to drx-jedi et al.                                    Highly Confidential   402, 403, 805
PTX0311       2/26/2016 3:11      GOOG-DOJ-06843565        GOOG-DOJ-06843571           Email from Sam Temes to Jasper Seldin et al.                 Highly Confidential   402, 403, 805
PTX0312       2/27/2016 1:12      GOOG-DOJ-05258347        GOOG-DOJ-05258399           Google presentation                                          Highly Confidential   402, 403, 805
PTX0313       2/27/2016 22:04     GOOG-DOJ-07323297        GOOG-DOJ-07323298           Email from Eisar Lipkovitz to Jerry Dischler et al.          Highly Confidential   402, 403, 805
                                  GOOG-AT-MDL-B-           GOOG-AT-MDL-B-
PTX0314       3/1/2016 0:00       001601271                001601278                   Google document                                              Confidential          402, 403
PTX0315       3/1/2016 23:03      GOOG-TEX-00089497        GOOG-TEX-00089506           Email from Bryan Rowley to Chris LaSala                      Highly Confidential   805, 402, 403
                                  GOOG-AT-MDL-B-           GOOG-AT-MDL-B-
PTX0316       3/11/2016 23:01     002102733                002102736                   Email from Alok Aggarwal to Tobias Maurer et al.             Confidential          402, 403

PTX0317       3/14/2016 8:48      GOOG-AT-MDL-012500548 GOOG-AT-MDL-012500551 Email from Jasper Seldin to Pooja Kapoor et al.                       Confidential          402, 403
PTX0318       3/18/2016 0:36      GOOG-DOJ-15204429     GOOG-DOJ-15204430     Email from Eisar Lipkovitz to Ali Nasiri Amini et al.                 Highly Confidential   402, 403
PTX0319       3/18/2016 20:37     GOOG-TEX-00082760     GOOG-TEX-00082771     Email from Aparna Pappu to Jim Giles                                  Highly Confidential   402, 403, 805
PTX0320       9/3/16 4:16         GOOG-TEX-00119677     GOOG-TEX-00119685     Email from Eisar Lipkovitz to Ali Nasiri Amini et al.                 Highly Confidential   402, 403, 805
PTX0321       3/22/2016 2:50      GOOG-DOJ-14717520     GOOG-DOJ-14717528     Email from Vahab Mirrokni to Renato Paes Leme et al.                  Highly Confidential   402, 403
PTX0322       3/28/2016 17:39     GOOG-DOJ-28386151     GOOG-DOJ-28386179     Google presentation                                                   Confidential          402, 403
PTX0323       3/28/2016 20:35     GOOG-DOJ-04334161     GOOG-DOJ-04334164     Google presentation                                                   Highly Confidential   402, 403
PTX0324       3/28/2016 20:37     GOOG-DOJ-15140608     GOOG-DOJ-15140609     Google document                                                       Highly Confidential   402, 403
                                                                              Message generated by Jonathan Bellack (Google Docs)
PTX0325       3/29/2016 2:47      GOOG-DOJ-13370838     GOOG-DOJ-13370838     containing comments to document                                       Highly Confidential   402, 403
PTX0326       3/31/2016 16:45     GOOG-DOJ-09238836     GOOG-DOJ-09238915     Google document                                                       Confidential          402, 403
PTX0327       4/4/2016 21:25      GOOG-DOJ-09459336     GOOG-DOJ-09459356     Google presentation                                                   Highly Confidential   402, 403
PTX0328       4/7/2016 18:42      GOOG-DOJ-12395460     GOOG-DOJ-12395464     Google presentation                                                   Highly Confidential   402, 403
PTX0329       4/7/2016 20:29      GOOG-DOJ-32055191     GOOG-DOJ-32055193     Email from Aparna Pappu to Alok Aggarwal et al.                       Confidential          402, 403, 805
PTX0330       4/7/2016 23:30      GOOG-DOJ-32016770     GOOG-DOJ-32016771     Email from Brad Bender to Woojin Kim et al.                           Confidential          403
PTX0331       4/10/2016 6:06      GOOG-DOJ-12485597     GOOG-DOJ-12485598     Email from Eisar Lipkovitz to Paul Muret et al.                       Highly Confidential   402, 403
PTX0332       4/12/2016 19:50     GOOG-TEX-00103256     GOOG-TEX-00103314     Google presentation                                                   Highly Confidential   402, 403, 805
PTX0333       4/15/2016 11:23     GOOG-DOJ-27766486     GOOG-DOJ-27766492     Email from Dan Taylor to Jason Spero et al.                           Confidential          403
PTX0334       4/21/2016 18:44     GOOG-DOJ-15427522     GOOG-DOJ-15427522     Email from Fabrizio Angelini to George Levitte et al.                 Highly Confidential   402, 403
PTX0335       4/27/2016 11:41     GOOG-TEX-00002258     GOOG-TEX-00002261     Email from launch@google.com to Google employees                      Highly Confidential   402, 403
PTX0336       4/29/2016 14:59     GOOG-DOJ-15427640     GOOG-DOJ-15427641     Email from Max Loubser to Martin Pál et al.                           Highly Confidential   402, 403
PTX0337       5/5/2016 15:30      GOOG-DOJ-15125492     GOOG-DOJ-15125492     Google document                                                       Highly Confidential   402, 403
PTX0338       5/11/2016 20:13     GOOG-DOJ-03234677     GOOG-DOJ-03234684     Email from Jonathan Bellack to Rohit Dhawan et al.                    Highly Confidential   402, 403
PTX0339       5/16/2016 15:29     GOOG-DOJ-03234715     GOOG-DOJ-03234722     Email from Rohit Dhawan to Jonathan Bellack et al.                    Highly Confidential   402, 403
                                                                              Email from Jonathan Bellack to Rohit Dhawan, with
PTX0340       5/25/2016 18:19     GOOG-DOJ-13374594     GOOG-DOJ-13374599     attachment                                                            Highly Confidential   402, 403, 805
PTX0341       6/2/2016 0:00       GOOG-DOJ-14447630     GOOG-DOJ-14447634     Email from David Goodman to Guillaume-Henri Huon                      Highly Confidential   402, 403, 805
                                                                              Email from Jonathan Bellack to Woojin Kim et al., with
PTX0342       6/2/2016 11:52      GOOG-TEX-00092616     GOOG-TEX-00092641     attachment                                                            Highly Confidential   402, 403, 802, 805
PTX0343       6/3/2016 20:14      GOOG-DOJ-13375428     GOOG-DOJ-13375428     Email from Jonathan Bellack to Woojin Kim                             Highly Confidential   402, 403
                                                                              Email from launch@google.com to display-adsquality-
PTX0344       6/13/2016 17:44     GOOG-AT-MDL-012334734 GOOG-AT-MDL-012334735 launch-notify@google.com et al.                                       Confidential          402, 403



                                                                                        Page 9 of 54
                                                         United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                       Google's Objections to Plaintiffs’ Trial Exhibit List
                              Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 13 of 57 PageID# 21963
Trial Exhibit
                       Date                Beg Bates                 End Bates                                 Description                          Confidentiality         Google Objection
  Number

PTX0345         6/13/2016 22:24    GOOG-AT-MDL-012501782 GOOG-AT-MDL-012501783          Email from Jonathan Bellack to Max Loubser et al.        Highly Confidential   402, 403
PTX0346         6/16/2016 23:52    GOOG-DOJ-05312534     GOOG-DOJ-05312555              Google presentation                                      Highly Confidential   402, 403, 805
PTX0347         6/23/2016 1:53     GOOG-DOJ-15006599     GOOG-DOJ-15006601              Email from launch@google.com to Google employees         Highly Confidential   402, 403
PTX0348         6/27/2016 22:22    GOOG-DOJ-02851792     GOOG-DOJ-02851792              Google spreadsheet                                       Highly Confidential   402, 403

PTX0349         6/29/2016 19:07    GOOG-AT-MDL-013378392 GOOG-AT-MDL-013378396          Email from launch@google.com to Google employees         Confidential          402, 403
                                   GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0350         7/1/2016 17:08     002105690             002105692                      Email from Ali Nasiri Amini to Bahman Rabii              Confidential          402, 403, 805
PTX0351         7/8/2016 20:20     GOOG-TEX-00037590     GOOG-TEX-00037598              Google presentation                                      Highly Confidential   402, 403
PTX0352         7/12/2016 18:38    GOOG-TEX-00103579     GOOG-TEX-00103581              Email from Jonathan Bellack to Alex Shellhammer et al.   Highly Confidential   403, 805
                                                                                        Email from Max Loubser to Jim Giles et al., with
PTX0353         7/15/2016 23:09    GOOG-DOJ-14152675        GOOG-DOJ-14152677           attachment                                               Highly Confidential   402, 403
PTX0354         7/19/2016 21:29    GOOG-DOJ-15797463        GOOG-DOJ-15797466           Google presentation                                      Highly Confidential   403
PTX0355         7/19/2016 22:02    GOOG-DOJ-15076623        GOOG-DOJ-15076623           Email from launch@google.com to Google employees         Highly Confidential   402, 403
                                                                                        Message generated by “George Levitte (Google Docs)”
PTX0356         7/7/2016 20:18     GOOG-DOJ-14152425        GOOG-DOJ-14152429           containing comments to document                          Highly Confidential   106, 402, 403
PTX0357         7/26/2016 21:20    GOOG-DOJ-15769040        GOOG-DOJ-15769044           Google document                                          Highly Confidential   402, 403, 805
PTX0358         7/27/2016 4:11     GOOG-DOJ-02851963        GOOG-DOJ-02852001           Google presentation                                      Highly Confidential
PTX0359         8/22/2016 15:54    GOOG-TEX-00124296        GOOG-TEX-00124619           Google document                                          Highly Confidential   402, 403, 805

PTX0360         8/23/2016 20:56    GOOG-AT-MDL-014524503 GOOG-AT-MDL-014524503 Email from Jonathan Bellack to George Levitte et al.              Highly Confidential   402, 403
PTX0361         9/19/2016 13:52    GOOG-DOJ-13381330     GOOG-DOJ-13381331     Email from Laurent Cordier to Jerry Miller et al.                 Highly Confidential   402, 403

PTX0362         8/24/2016 21:35    GOOG-AT-MDL-007368023 GOOG-AT-MDL-007368346 Google document                                                   Confidential          402, 403, 805
PTX0363         8/29/2016 18:12    GOOG-TEX-00109627     GOOG-TEX-00109644     Google presentation                                               Highly Confidential   402, 403, 805
                                                                               Message generated by “Chris LaSala (Google Slides)”
PTX0364         9/1/2016 20:30     GOOG-DOJ-14155663     GOOG-DOJ-14155663     containing comments to document                                   Highly Confidential   402, 403
PTX0365         9/2/2016 19:09     GOOG-DOJ-13380647     GOOG-DOJ-13380647     Email from Jonathan Bellack to Aparna Pappu et al.                Highly Confidential   402, 403
PTX0366         9/6/2016 1:10      GOOG-TEX-00119815     GOOG-TEX-00119829     Email from Jonathan Bellack to Eisar Lipkovitz et al.             Highly Confidential   402, 403, 805
PTX0367         9/6/2016 2:01      GOOG-DOJ-10634461     GOOG-DOJ-10634472     Email from Jonathan Bellack to Paul Muret                         Highly Confidential   402, 403, 805
PTX0368         9/16/2016 5:54     GOOG-TEX-00104315     GOOG-TEX-00104317     Email from Jerome Grateau to Chris LaSala                         Highly Confidential   402, 403
PTX0369         9/20/2016 2:12     GOOG-DOJ-15432462     GOOG-DOJ-15432465     Email from Nitish Korula to Jim Giles et al.                      Highly Confidential   402, 403, 805
PTX0370         9/23/2016 19:13    GOOG-DOJ-11810726     GOOG-DOJ-11810729     Google document                                                   Highly Confidential   402, 403, 805
PTX0371         9/26/2016 16:49    GOOG-TEX-00097138     GOOG-TEX-00097142     Google document                                                   Highly Confidential   402, 403, 805
PTX0372         9/27/2016 15:23    GOOG-DOJ-03887762     GOOG-DOJ-03887765     Email from Sridhar Ramaswamy to Eisar Lipkovitz et al.            Highly Confidential   402, 403
                                                                               Message generated by “Jim Giles (Google Docs)”
PTX0373         9/28/2016 13:29    GOOG-TEX-00083092     GOOG-TEX-00083092     containing comments to document                                   Highly Confidential   106, 402, 403
PTX0374         10/3/2016 14:36    GOOG-TEX-00093279     GOOG-TEX-00093288     Email from Sam Cox to Jonathan Bellack et al.                     Highly Confidential   402, 403, 805
PTX0375         10/5/2016 17:17    GOOG-DOJ-13463836     GOOG-DOJ-13463844     Google presentation                                               Highly Confidential   402, 403, 805
                                                                               Message generated by “Gargi Sur (Google Docs)”
PTX0376         10/5/2016 17:46    GOOG-AT-MDL-012338679 GOOG-AT-MDL-012338679 containing comments to document                                   Confidential          106, 402, 403
                                   GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0377         10/3/2016 12:10    001120543             001120543             Email from Jim Giles to Martin Pál et al.                         Confidential          402, 403

PTX0378         10/11/2016 20:27   GOOG-AT-MDL-014524758 GOOG-AT-MDL-014524760          Email from Jonathan Bellack to Scott Spencer             Confidential          402, 403
PTX0379         10/14/2016 12:52   GOOG-DOJ-27774051     GOOG-DOJ-27774065              Google document                                          Confidential          402, 403
PTX0380         10/18/2016 22:36   GOOG-TEX-00093667     GOOG-TEX-00093669              Email from Jim Giles to Sam Cox                          Highly Confidential   402, 403
PTX0381         10/20/2016 3:15    GOOG-TEX-00120775     GOOG-TEX-00120821              Google presentation                                      Highly Confidential   402, 403




                                                                                        Page 10 of 54
                                                         United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                       Google's Objections to Plaintiffs’ Trial Exhibit List
                              Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 14 of 57 PageID# 21964
Trial Exhibit
                       Date                Beg Bates                 End Bates                                Description                          Confidentiality         Google Objection
  Number
                                                                               Message generated by “Sam Temes (Google Docs)”
PTX0382         10/20/2016 15:15   GOOG-AT-MDL-012339152 GOOG-AT-MDL-012339152 containing comments to document                                  Confidential          106, 402, 403
PTX0383         10/21/2016 12:01   GOOG-DOJ-13927223     GOOG-DOJ-13927225     Email from Jonathan Bellack to Max Loubser et al.                Highly Confidential   402, 403

PTX0384         10/21/2016 18:02   GOOG-AT-MDL-012339195 GOOG-AT-MDL-012339195 Email from Jonathan Bellack to Alok Verma et al.                 Confidential          402, 403, 805

PTX0385         10/22/2016 2:53    GOOG-AT-MDL-012339202 GOOG-AT-MDL-012339202 Email from Jim Giles to Jonathan Bellack et al.                  Confidential          402, 403, 805

PTX0386         10/24/2016 15:36   GOOG-AT-MDL-012339208 GOOG-AT-MDL-012339209 Email from Aparna Pappu to Jim Giles et al.                      Confidential          402, 403, 805
PTX0387         10/24/2016 15:43   GOOG-DOJ-12069332     GOOG-DOJ-12069347     Google presentation                                              Highly Confidential   402, 403

PTX0388         10/24/2016 16:03   GOOG-AT-MDL-012339212 GOOG-AT-MDL-012339213 Email from Jonathan Bellack to Sam Cox et al.                    Confidential          402, 403, 805
PTX0389         10/25/2016 0:57    GOOG-DOJ-07817283     GOOG-DOJ-07817284     Email from Jonathan Bellack to Brad Bender                       Highly Confidential   402, 403
                                                                               Message generated by “Max Loubser (Google Slides)”
PTX0390         10/26/2016 13:34   GOOG-DOJ-14382030     GOOG-DOJ-14382032     containing comments to document                                  Highly Confidential   106, 402, 403
PTX0391         10/26/2016 14:44   GOOG-DOJ-13384169     GOOG-DOJ-13384174     Email from Sam Cox to Jonathan Bellack et al.                    Highly Confidential   402, 403
PTX0392         10/26/2016 14:46   GOOG-DOJ-13384186     GOOG-DOJ-13384190     Email from Sam Cox to Jim Giles et al.                           Highly Confidential   402, 403
PTX0393         10/26/2016 15:38   GOOG-DOJ-15081872     GOOG-DOJ-15081872     Email from Jonathan Bellack to Max Loubser et al.                Highly Confidential   402, 403, 805
                                   GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0394         10/27/2016 0:00    002531351             002531396             Google presentation                                              Confidential          402, 403
PTX0395         10/27/2016 1:58    GOOG-DOJ-32303873     GOOG-DOJ-32303915     Google presentation                                              Confidential          402, 403
PTX0396         10/27/2016 15:29   GOOG-DOJ-04573839     GOOG-DOJ-04573840     Email from Eisar Lipkovitz to Aparna Pappu et al.                Highly Confidential   402, 403
PTX0397         10/27/2016 16:27   GOOG-DOJ-07817329     GOOG-DOJ-07817332     Email from Brad Bender to Roshan Khan                            Highly Confidential   402, 403
PTX0398         10/27/2016 16:28   GOOG-TEX-00120929     GOOG-TEX-00120933     Google document                                                  Highly Confidential   402, 403, 805
PTX0399         10/27/2016 19:23   GOOG-DOJ-13463955     GOOG-DOJ-13463960     Google document                                                  Highly Confidential   402, 403, 805
PTX0400         10/28/2016 0:00    GOOG-DOJ-11770421     GOOG-DOJ-11770423     Email from Chris LaSala to Jerome Grateau et al.                 Highly Confidential   402, 403

PTX0401         10/28/2016 11:55   GOOG-AT-MDL-007387750 GOOG-AT-MDL-007387798          Google presentation                                     Confidential          402, 403
PTX0402         10/28/2016 16:57   GOOG-TEX-00104467     GOOG-TEX-00104474              Email from Michael Hopkins to Chris LaSala et al.       Highly Confidential   402, 403, 805
PTX0403         10/29/2016 4:16    GOOG-TEX-00104511     GOOG-TEX-00104520              Email from Jonathan Bellack to Eisar Lipkovitz et al.   Highly Confidential   402, 403
PTX0404         10/31/2016 1:06    GOOG-TEX-00104531     GOOG-TEX-00104540              Email from Jonathan Bellack to Eisar Lipkovitz et al.   Highly Confidential   402, 403
PTX0405         11/1/2016 11:41    GOOG-TEX-00090148     GOOG-TEX-00090149              Google document                                         Highly Confidential   402, 403
PTX0406         11/2/2016 17:25    GOOG-DOJ-12713374     GOOG-DOJ-12713374              Email from Bryan Rowley to Chris LaSala et al.          Highly Confidential   402, 403
PTX0407         11/2/2016 22:01    GOOG-TEX-00104622     GOOG-TEX-00104633              Email from Eisar Lipkovitz to Jonathan Bellack et al.   Highly Confidential   402, 403, 805
PTX0408         11/7/2016 14:13    GOOG-DOJ-12576275     GOOG-DOJ-12576335              Google presentation                                     Highly Confidential   805, 403
PTX0409         11/8/2016 13:02    GOOG-TEX-00104666     GOOG-TEX-00104672              Email from Roberto Ruju to David Goodman et al.         Highly Confidential   402, 403
PTX0410         11/8/2016 16:24    GOOG-TEX-00094191     GOOG-TEX-00094192              Email from Nitish Korula to Jonathan Bellack et al.     Highly Confidential   402, 403
PTX0411         11/9/2016 1:20     GOOG-TEX-00085443     GOOG-TEX-00085445              Email from Payam Shodjai to Tobias Maurer et al.        Highly Confidential   402, 403
                                                                                        Message generated by “Nirmal Jayaram (Google Slides)”
PTX0412         11/8/2016 23:11    GOOG-DOJ-13546198        GOOG-DOJ-13546198           containing comments to document                         Highly Confidential   106, 402, 403
                                                                                        Message generated by “Max Loubser (Google Slides)”
PTX0413         11/9/2016 18:57    GOOG-DOJ-13546281        GOOG-DOJ-13546281           containing comments to document                         Highly Confidential   106, 402, 403
                                                                                        Message generated by “Jerome Grateau (Google Slides)”
PTX0414         11/10/2016 3:29    GOOG-DOJ-13546328        GOOG-DOJ-13546329           containing comments to document                         Highly Confidential   106, 402, 403
                                                                                        Message generated by “Nitish Korula (Google Slides)”
PTX0415         11/8/2016 20:56    GOOG-DOJ-13546192        GOOG-DOJ-13546192           containing comments to document                         Highly Confidential   106, 402, 403
                                                                                        Message generated by “Nirmal Jayaram (Google Slides)”
PTX0416         11/10/2016 4:46    GOOG-DOJ-14158006        GOOG-DOJ-14158007           containing comments to document                         Highly Confidential   106, 402, 403
PTX0417         11/10/2016 16:59   GOOG-DOJ-02852757        GOOG-DOJ-02852759           Email from Jonathan Bellack to Eisar Lipkovitz et al.   Highly Confidential   402, 403
PTX0418         11/11/2016 0:00    GOOG-DOJ-11770874        GOOG-DOJ-11770874           Email from Chris LaSala to Jonathan Bellack et al.      Highly Confidential   402, 403



                                                                                        Page 11 of 54
                                                       United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                     Google's Objections to Plaintiffs’ Trial Exhibit List
                            Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 15 of 57 PageID# 21965
Trial Exhibit
                     Date                Beg Bates                 End Bates                                Description                       Confidentiality         Google Objection
  Number
PTX0419       11/11/2016 5:15    GOOG-DOJ-28500657        GOOG-DOJ-28500657-001       Email from Sissie Hsaio to Jonathan Bellack          Confidential          402, 403
PTX0420       11/11/2016 5:45    GOOG-DOJ-03757786        GOOG-DOJ-03757789           Email from Nitish Korula to Eisar Lipkovitz et al.   Highly Confidential   403
PTX0421       11/11/2016 22:04   GOOG-TEX-00094226        GOOG-TEX-00094228           Email from Michael Hopkins to Aparna Pappu et al.    Highly Confidential   402, 403
PTX0422       11/11/2016 22:04   GOOG-DOJ-05265855        GOOG-DOJ-05265857           Email from Michael Hopkins to Aparna Pappu et al.    Highly Confidential   402, 403
PTX0423       11/14/2016 18:41   GOOG-DOJ-04615040        GOOG-DOJ-04615046           Email from Nitish Korula to Nirmal Jayaram et al.    Highly Confidential   402, 403

PTX0424       11/16/2016 0:00    GOOG-AT-MDL-019567254 GOOG-AT-MDL-019567283 Google document                                               Highly Confidential   402, 403
PTX0425       11/18/2016 22:49   GOOG-DOJ-12713546     GOOG-DOJ-12713546     Email from Chris LaSala to Bryan Rowley et al.                Highly Confidential   402, 403, 805
PTX0426       11/22/2016 18:04   GOOG-DOJ-05314741     GOOG-DOJ-05314747     Email from Jerome Grateau to Aparna Pappu et al.              Highly Confidential   403, 805

PTX0427       11/28/2016 18:04   GOOG-AT-MDL-012340434 GOOG-AT-MDL-012340434          Email from launch@google.com to Google employees     Confidential          402, 403
PTX0428       12/2/2016 17:49    GOOG-DOJ-27577911     GOOG-DOJ-27577914              Google document                                      Confidential          402, 403
PTX0429       12/5/2016 18:46    GOOG-TEX-00083757     GOOG-TEX-00083758              Google document                                      Highly Confidential   402, 403, 805
PTX0430       12/6/2016 3:50     GOOG-DOJ-14100706     GOOG-DOJ-14100711              Email from Josh Cohen to George Levitte              Highly Confidential   403, 403
PTX0431       12/7/2016 17:12    GOOG-DOJ-11771372     GOOG-DOJ-11771378              Email from Jerome Grateau to Jim Giles et al.        Highly Confidential   402, 403, 805
PTX0432       12/8/2016 20:54    GOOG-DOJ-15207227     GOOG-DOJ-15207229              Email from launch@google.com to Google employees     Highly Confidential   402, 403
PTX0433       12/9/2016 14:57    GOOG-TEX-00035601     GOOG-TEX-00035602              Email from Chris LaSala to Jason Spero et al.        Highly Confidential   403
PTX0434       12/12/2016 16:06   GOOG-DOJ-12713623     GOOG-DOJ-12713628              Google document                                      Highly Confidential   402, 403, 805
PTX0435       12/14/2016 2:01    GOOG-DOJ-13387310     GOOG-DOJ-13387312              Email from Aparna Pappu to Gang Wang et al.          Highly Confidential   402, 403, 805

PTX0436       12/14/2016 2:05    GOOG-AT-MDL-012341268 GOOG-AT-MDL-012341268 Email to Aparna Pappu to Jonathan Bellack et al.              Confidential          402, 403, 805
PTX0437       12/14/2016 2:10    GOOG-TEX-00169845     GOOG-TEX-00169846     Email from Eisar Lipkovitz to Aparna Pappu                    Highly Confidential   402, 403
PTX0438       12/15/2016 22:32   GOOG-TEX-00000478     GOOG-TEX-00000482     Email from Jerome Grateau to Jim Giles et al.                 Highly Confidential   402, 403, 805
                                                                             Email from Laura Goldstein to Scott Spencer et al., with
PTX0439       12/21/2016 21:24   GOOG-DOJ-15363218     GOOG-DOJ-15363227     attachments                                                   Highly Confidential   402, 403, 805
                                                                             Message generated by docs.google.com containing
PTX0440       10/5/2015 15:17    GOOG-DOJ-14145686     GOOG-DOJ-14145687     comments to document                                          Highly Confidential   106, 402, 403
PTX0441       1/3/2017 14:00     GOOG-TEX-00058737     GOOG-TEX-00058738     Email from Pooja Kapoor to Amy Murray et al.                  Highly Confidential   402, 403, 805
PTX0442       1/3/2017 22:41     GOOG-TEX-00121203     GOOG-TEX-00121215     Email from Jonathan Bellack to Danielle Romain et al.         Highly Confidential   402, 403, 805
PTX0443       1/4/2017 16:42     GOOG-DOJ-03236008     GOOG-DOJ-03236009     Email from Eisar Lipkovitz to Jonathan Bellack et al.         Highly Confidential   402, 403, 805
PTX0444       1/4/2017 22:59     GOOG-TEX-00000646     GOOG-TEX-00000654     Email from Chris LaSala to Gargi Sur, et al.                  Highly Confidential   402, 403, 805
PTX0445       1/5/2017 12:49     GOOG-DOJ-11771801     GOOG-DOJ-11771821     Google presentation                                           Highly Confidential   402, 403, 805
PTX0446       1/6/2017 17:02     GOOG-DOJ-04575238     GOOG-DOJ-04575240     Email from Sissie Hsiao to John Dukellis et al.               Highly Confidential   402, 403, 805
PTX0447       1/10/2017 1:08     GOOG-TEX-00048384     GOOG-TEX-00048391     Email from Vamsee Jasti to Jonathan Bellack et al.            Highly Confidential   402, 403, 805
                                                                             Email from Katharina Familia Almonte to Chris LaSala et
PTX0448       1/11/2017 3:49     GOOG-DOJ-09469633     GOOG-DOJ-09469636     al.                                                           Highly Confidential   402, 403, 805
PTX0449       1/11/2017 16:22    GOOG-TEX-00033596     GOOG-TEX-00033602     Email from Michael Kleber to Aparna Pappu et al.              Highly Confidential   402, 403, 805
PTX0450       1/11/2017 18:42    GOOG-DOJ-27759161     GOOG-DOJ-27759164     Google document                                               Confidential          402, 403, 805
                                                                             Email from Aparna Pappu to Jonathan Bellack et al., with
PTX0451       1/13/2017 14:35    GOOG-DOJ-10635818     GOOG-DOJ-10635826     attachment                                                    Highly Confidential   402, 403, 805
PTX0452       1/19/2017 23:15    GOOG-TEX-00104789     GOOG-TEX-00104809     Google presentation                                           Highly Confidential   402, 403, 805
                                                                             Email from Jonathan Bellack to Philip Wiser et al., with
PTX0453       1/20/2017 0:00     GOOG-DOJ-05226188     GOOG-DOJ-05226193     attachment                                                    Highly Confidential   402, 403, 805
PTX0454       1/25/2017 14:55    GOOG-DOJ-11357550     GOOG-DOJ-11357558     Google presentation                                           Highly Confidential   402, 403
PTX0455       1/25/2017 16:44    GOOG-DOJ-14735657     GOOG-DOJ-14735658     Email from Nitish Korula to Bryan Rowley et al.               Highly Confidential   402, 403
PTX0456       1/27/2017 22:02    GOOG-DOJ-14396628     GOOG-DOJ-14396630     Email from Aparna Pappu to Becky Saag et al.                  Highly Confidential   402, 403
PTX0457       1/30/2017 0:00     GOOG-DOJ-06852416     GOOG-DOJ-06852417     Email from Jonathan Bellack to Chris LaSala et al.            Highly Confidential   402, 403, 805
PTX0458       1/30/2017 15:54    GOOG-DOJ-15364209     GOOG-DOJ-15364210     Email from Jonathan Bellack to Aparna Pappu et al.            Highly Confidential   402, 403
PTX0459       1/30/2017 17:09    GOOG-DOJ-06852418     GOOG-DOJ-06852419     Email from Jerome Grateau to Jonathan Bellack et al.          Highly Confidential   402, 403, 805
PTX0460       1/31/2017 22:23    GOOG-DOJ-14158930     GOOG-DOJ-14158933     Email from Nitish Korula to Max Loubser et al.                Highly Confidential   402, 403



                                                                                      Page 12 of 54
                                                        United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                      Google's Objections to Plaintiffs’ Trial Exhibit List
                               Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 16 of 57 PageID# 21966
Trial Exhibit
                     Date                 Beg Bates                 End Bates                                Description                          Confidentiality         Google Objection
  Number
PTX0461       2/1/2017 2:39       GOOG-DOJ-09470144        GOOG-DOJ-09470148           Email from Jonathan Bellack to Aparna Pappu et al.      Highly Confidential   402, 403, 805
PTX0462       2/1/2017 13:05      GOOG-DOJ-04425135        GOOG-DOJ-04425139           Email from Chris LaSala to Jonathan Bellack et al.      Highly Confidential   402, 403, 805
PTX0463       2/2/2017 13:41      GOOG-TEX-00452857        GOOG-TEX-00452865           Email from Jonathan Bellack to Eisar Lipkovitz et al.   Highly Confidential   402, 403, 805
PTX0464       2/6/2017 6:39       GOOG-DOJ-15364548        GOOG-DOJ-15364550           Email from Chetna Bindra to Michael Hopkins et al.      Highly Confidential   402, 403
PTX0465       2/9/2017 20:58      GOOG-TEX-00138857        GOOG-TEX-00138872           Google document                                         Highly Confidential   403
PTX0466       2/9/2017 23:10      GOOG-DOJ-05226700        GOOG-DOJ-05226723           Google presentation                                     Highly Confidential   402, 403, 805
PTX0467       2/13/2017 22:05     GOOG-DOJ-14102135        GOOG-DOJ-14102136           Email from Donny Greenberg to Jonathan Bellack et al.   Highly Confidential   402, 403, 805
PTX0468       2/14/2017 7:42      GOOG-DOJ-15020550        GOOG-DOJ-15020554           Email from Naoto Akiyama to Shoho Kozawa et al.         Highly Confidential   402, 403, 805
PTX0469       2/14/2017 17:32     GOOG-DOJ-04425512        GOOG-DOJ-04425514           Email from Jerome Grateau to Chris LaSala, et al.       Highly Confidential   402, 403, 805
                                                                                       Email from Liz Toth to CR-NetworksWest <cr-
PTX0470       2/14/2017 23:31     GOOG-TEX-00080291        GOOG-TEX-00080294           networkswest@google.com> et al.                         Highly Confidential   402, 403, 805
PTX0471       2/17/2017 15:20     GOOG-DOJ-13550066        GOOG-DOJ-13550068           Email from Eisar Lipkovitz to Ali Nasiri Amini et al.   Highly Confidential   402, 403, 805
                                  GOOG-AT-MDL-B-           GOOG-AT-MDL-B-
PTX0472       2/17/2017 19:09     002534759                002534761                   Email from Ali Nasiri Amini to Chris Harris             Confidential          402, 403, 805
PTX0473       2/22/2017 18:41     GOOG-DOJ-15085583        GOOG-DOJ-15085585           Email from Nitish Korula to Abby Toomey, et al.         Highly Confidential   402, 403
PTX0474       2/23/2017 20:21     GOOG-DOJ-06853424        GOOG-DOJ-06853427           Google presentation                                     Highly Confidential   402, 403
PTX0475       2/27/2017 3:12      GOOG-DOJ-07249067        GOOG-DOJ-07249071           Email from Paul Muret to Jonathan Bellack et al.        Highly Confidential   402, 403, 805
PTX0476       2/28/2017 19:13     GOOG-TEX-00101316        GOOG-TEX-00101316           Email from Tobias Maurer to Brad Bender et al.          Highly Confidential   402, 403, 805
PTX0477       3/7/2017 14:32      GOOG-TEX-00002734        GOOG-TEX-00002969           Google presentation                                     Highly Confidential   402, 403, 805
PTX0478       3/13/2017 17:25     GOOG-DOJ-11736427        GOOG-DOJ-11736494           Google presentation                                     Highly Confidential   402, 403, 805
PTX0479       3/15/2017 9:20      GOOG-TEX-00094574        GOOG-TEX-00094580           Email from Josh Cohen to Jonathan Bellack et al.        Highly Confidential   402, 403, 805
PTX0480       3/17/2017 0:00      GOOG-DOJ-05268036        GOOG-DOJ-05268038           Email from Payam Shodjai to Tobias Maurer et al.        Highly Confidential   402, 403, 805
PTX0481       3/17/2017 3:16      GOOG-TEX-00121384        GOOG-TEX-00121460           Google presentation                                     Highly Confidential   402, 403, 805
PTX0482       3/17/2017 20:52     GOOG-DOJ-12772094        GOOG-DOJ-12772112           Google presentation                                     Highly Confidential   402, 403
PTX0483       3/20/2017 14:24     GOOG-DOJ-06523306        GOOG-DOJ-06523348           Google presentation                                     Highly Confidential   403, 805
PTX0484       3/21/2017 19:36     GOOG-DOJ-04002256        GOOG-DOJ-04002290           Google presentation                                     Highly Confidential   403
PTX0485       3/23/2017 14:22     GOOG-DOJ-28420330        GOOG-DOJ-28420340           Google document                                         Confidential          402, 403, 805

PTX0486       3/23/2017 22:13     GOOG-AT-MDL-004039971 GOOG-AT-MDL-004039971 Google spreadsheet                                               Highly Confidential

PTX0487       3/24/2017 18:59     GOOG-AT-MDL-009560183 GOOG-AT-MDL-009560185 Email from Chris LaSala to Suzanna Blackburn et al.              Confidential          402, 403, 805

PTX0488       3/24/2017 19:01     GOOG-AT-MDL-009560186 GOOG-AT-MDL-009560189 Email from Jonathan Bellack to Chris LaSala et al.               Confidential          402, 403, 805

PTX0489       3/24/2017 19:34     GOOG-AT-MDL-009560190 GOOG-AT-MDL-009560193 Email from Max Loubser to Jonathan Bellack et al.                Confidential          402, 403, 805

PTX0490       3/24/2017 20:31     GOOG-AT-MDL-009560194 GOOG-AT-MDL-009560197 Email from Gargi Sur to Max Loubser et al.                       Confidential          402, 403, 805

PTX0491       3/24/2017 20:40     GOOG-AT-MDL-009560198 GOOG-AT-MDL-009560201 Email from Jonathan Bellack to Gargi Sur et al.                  Confidential          402, 403, 805

PTX0492       3/24/2017 20:51     GOOG-AT-MDL-009560202 GOOG-AT-MDL-009560205 Email from Gargi Sur to Jonathan Bellack et al.                  Confidential          402, 403, 805

PTX0493       3/24/2017 20:54     GOOG-AT-MDL-009560206 GOOG-AT-MDL-009560209 Email from Jonathan Bellack to Gargi Sur et al.                  Confidential          402, 403, 805

PTX0494       3/24/2017 20:56     GOOG-AT-MDL-009560210 GOOG-AT-MDL-009560214 Email from Suzanne Blackburn to Gargi Sur et al.                 Confidential          402, 403, 805

PTX0495       3/24/2017 20:57     GOOG-AT-MDL-009560215 GOOG-AT-MDL-009560219 Email from Jonathan Bellack to Suzanne Blackburn et al.          Confidential          402, 403, 805

PTX0496       3/25/2017 2:21      GOOG-AT-MDL-015058804 GOOG-AT-MDL-015058808 Email from Gargi Sur to Jonathan Bellack et al.                  Confidential          402, 403, 805




                                                                                       Page 13 of 54
                                                           United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                         Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 17 of 57 PageID# 21967
Trial Exhibit
                       Date                 Beg Bates                  End Bates                                Description                            Confidentiality         Google Objection
  Number

PTX0497         3/25/2017 3:06      GOOG-AT-MDL-015058809 GOOG-AT-MDL-015058813           Email from Nitish Korula to Gargi Sur et al.              Confidential          402, 403, 805
PTX0498         3/27/2017 18:50     GOOG-TEX-00105603     GOOG-TEX-00105630               Google presentation                                       Highly Confidential   402, 403
PTX0499         3/30/2017 0:03      GOOG-DOJ-11772703     GOOG-DOJ-11772703               Google spreadsheet                                        Highly Confidential   402, 403
PTX0500         3/30/2017 14:03     GOOG-TEX-00094936     GOOG-TEX-00094937               Google document                                           Highly Confidential   402, 403
PTX0501         3/30/2017 18:03     GOOG-DOJ-31847985     GOOG-DOJ-31847985               Email from Serge Grossman to Donald Harrison              Confidential          402, 403
PTX0502         3/31/2017 17:34     GOOG-TEX-00094890     GOOG-TEX-00094892               Email from Alex Shellhammer to Suzanne Blackburn et al.   Highly Confidential   402, 403, 805
PTX0503         4/2/2017 19:26      GOOG-TEX-00830729     GOOG-TEX-00830732               Email from Nitish Korula to George Levitte et al.         Highly Confidential   402, 403, 805
PTX0504         4/6/2017 23:04      GOOG-DOJ-14024199     GOOG-DOJ-14024203               Google presentation                                       Highly Confidential
PTX0505         4/8/2017 18:21      GOOG-TEX-00830787     GOOG-TEX-00830789               Google document                                           Highly Confidential   402, 403, 805

PTX0506         4/11/2017 3:10      GOOG-AT-MDL-019500241 GOOG-AT-MDL-019500289           Google presentation                                       Confidential          402, 403
PTX0507         4/12/2017 21:58     GOOG-DOJ-15277215     GOOG-DOJ-15277233               Google presentation                                       Highly Confidential   402, 403
PTX0508         4/19/2017 13:21     GOOG-DOJ-09475820     GOOG-DOJ-09475915               Google presentation                                       Highly Confidential
PTX0509         4/26/2017 23:06     GOOG-DOJ-15443001     GOOG-DOJ-15443004               Email from Max Loubser to Nirmal Jayaram et al.           Highly Confidential   402, 403
PTX0510         4/27/2017 18:56     GOOG-TEX-00105361     GOOG-TEX-00105430               Google presentation                                       Highly Confidential   402, 403, 805
PTX0511         4/28/2017 4:45      GOOG-DOJ-06744027     GOOG-DOJ-06744028               Email from Chris LaSala to Jason Spero et al.             Highly Confidential   402, 403, 805
PTX0512         5/1/2017 17:48      GOOG-DOJ-11773067     GOOG-DOJ-11773067               Email from Jasper Seldin to Chris LaSala et al.           Highly Confidential   402, 403
PTX0513         5/2/2017 18:06      GOOG-DOJ-11839043     GOOG-DOJ-11839095               Google presentation                                       Highly Confidential   402, 403

PTX0514         5/3/2017 5:44       GOOG-DOJ-03891330         GOOG-DOJ-03891335           Email from Tobias Maurer to Brad Bender, with attachment Highly Confidential    402, 403, 805
PTX0515         5/4/2017 16:07      GOOG-DOJ-02840391         GOOG-DOJ-02840397           Google presentation                                      Highly Confidential    402, 403, 805
PTX0516         5/8/2017 21:48      GOOG-DOJ-13899814         GOOG-DOJ-13899817           Google document                                          Highly Confidential    402, 403
PTX0517         5/15/2017 5:13      GOOG-DOJ-10208926         GOOG-DOJ-10208934           Google presentation                                      Highly Confidential    402, 403
PTX0518         5/17/2017 23:18     GOOG-DOJ-13557023         GOOG-DOJ-13557023           Google spreadsheet                                       Highly Confidential    402, 403
PTX0519         5/18/2017 13:16     GOOG-TEX-00600559         GOOG-TEX-00600564           Email from Aparna Pappu to Jonathan Bellack et al.       Highly Confidential    402, 403, 805
PTX0520         5/22/2017 18:25     GOOG-DOJ-06727388         GOOG-DOJ-06727394           Google document                                          Highly Confidential    402, 403
PTX0521         5/30/2017 1:49      GOOG-TEX-00037997         GOOG-TEX-00038048           Google presentation                                      Highly Confidential    402, 403, 805

PTX0522         5/30/2017 6:24      GOOG-AT-MDL-019399191 GOOG-AT-MDL-019399214 Google document                                                     Confidential          402, 403, 805

PTX0523         6/1/2017 16:31      GOOG-AT-MDL-001777207 GOOG-AT-MDL-001777226 Google presentation                                                 Confidential          403, 805
                                                                                Email from Wenchao Wang to Marco Borla, et al., with
PTX0524         6/2/2017 2:35       GOOG-AT-MDL-001934587 GOOG-AT-MDL-001934649 attachments                                                         Confidential          402, 403
                                                                                Email from Marco Borla to Wenchao Wang et al., with
PTX0525         6/3/2017 0:00       GOOG-AT-MDL-000959036 GOOG-AT-MDL-000959056 attachment                                                          Confidential          402, 403, 805
PTX0526         6/9/2017 2:48       GOOG-DOJ-10211735     GOOG-DOJ-10211738     Email from launch@google.com to Google employees                    Highly Confidential   402, 403
PTX0527         6/14/2017 15:33     GOOG-DOJ-13466171     GOOG-DOJ-13466172     Google document                                                     Highly Confidential   403, 805
PTX0528         6/14/2017 15:33     GOOG-TEX-00966448     GOOG-TEX-00966449     Google document                                                     Highly Confidential   403, 805
PTX0529         6/15/2017 23:47     GOOG-DOJ-08129106     GOOG-DOJ-08129107     Email from Sam Temes to Dan Taylor, et al.                          Highly Confidential   402, 403
PTX0530         6/19/2017 14:10     GOOG-DOJ-04427670     GOOG-DOJ-04427673     Google document                                                     Highly Confidential
                                                                                Email from Marco Borla to Dominic Tang et al., with
PTX0531         7/7/2017 0:00       GOOG-AT-MDL-001935192 GOOG-AT-MDL-001935213 attachment                                                          Confidential          402, 403
                                                                                Email from Marco Borla to Phillip Schindler, et al., with
PTX0532         7/7/2017 16:08      GOOG-DOJ-AT-02645038 GOOG-DOJ-AT-02645058   attachment                                                          Highly Confidential   402, 403
                                                                                Email from Marco Borla to Dominic Tang, et al., with
PTX0533         7/7/2017 16:20      GOOG-AT-MDL-001935214 GOOG-AT-MDL-001935235 attachment                                                          Confidential          402, 403, 805
PTX0534         7/21/2017 1:05      GOOG-TEX-00453305     GOOG-TEX-00453310     Email from Jim Giles to Eisar Lipkovitz et al.                      Highly Confidential   402, 403
PTX0535         7/21/2017 22:29     GOOG-TEX-00122334     GOOG-TEX-00122334     Email from Jonathan Bellack to Sagnik Nandy et al.                  Highly Confidential   402, 403, 805
PTX0536         7/22/2017 15:03     GOOG-DOJ-05270358     GOOG-DOJ-05270400     Google presentation                                                 Confidential          402, 403, 805



                                                                                          Page 14 of 54
                                                         United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                       Google's Objections to Plaintiffs’ Trial Exhibit List
                               Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 18 of 57 PageID# 21968
Trial Exhibit
                     Date                 Beg Bates                  End Bates                                 Description                           Confidentiality         Google Objection
  Number
PTX0537       7/24/2017 8:20      GOOG-DOJ-13561674         GOOG-DOJ-13561674           Email from Ali Nasiri Amini to Nirmal Jayaram et al.      Highly Confidential   402, 403, 805
PTX0538       7/24/2017 11:41     GOOG-DOJ-02854344         GOOG-DOJ-02854351           Google presentation                                       Highly Confidential   402, 403
                                                                                        Email from Nitish Korula to Philippe Fauconnier-Bank et
PTX0539       8/9/2017 14:41      GOOG-DOJ-29625549         GOOG-DOJ-29625553           al.                                                       Confidential          402, 403
PTX0540       8/10/2017 20:44     GOOG-DOJ-15370015         GOOG-DOJ-15370018           Email from Rahul Srinivasan to Josh Cohen et al.          Highly Confidential   402, 403, 805
PTX0541       8/11/2017 15:12     GOOG-DOJ-14162326         GOOG-DOJ-14162328           Email from Rita Ren to Martin Pál et al.                  Highly Confidential   402, 403, 805
PTX0542       8/11/2017 16:52     GOOG-DOJ-14162335         GOOG-DOJ-14162338           Email from Jim Giles to Nitish Korula et al.              Highly Confidential   402, 403, 805
                                  GOOG-AT-MDL-B-            GOOG-AT-MDL-B-
PTX0543       8/16/2017 13:52     004673058                 004673062                   Email from Martin Pál to Vivek Rao et al.                 Confidential          402, 403
PTX0544       8/18/2017 19:24     GOOG-TEX-00151409         GOOG-TEX-00151419           Google document                                           Highly Confidential   402, 403
PTX0545       8/20/2017 21:13     GOOG-DOJ-07825115         GOOG-DOJ-07825117           Email from Nirmal Jayaram to Eisar Lipkovitz et al.       Highly Confidential   402, 403
PTX0546       8/28/2017 14:26     GOOG-DOJ-05316504         GOOG-DOJ-05316508           Email from Jonathan Bellack to Jason Pellegrino et al.    Highly Confidential   402, 403
PTX0547       8/28/2017 23:10     GOOG-DOJ-04429792         GOOG-DOJ-04429816           Google presentation                                       Highly Confidential   403

PTX0548       8/31/2017 23:32     GOOG-AT-MDL-008612718 GOOG-AT-MDL-008612735           Google document                                           Confidential          402, 403, 805
PTX0549       9/1/2017 0:00       GOOG-DOJ-06877073     GOOG-DOJ-06877151               Google presentation                                       Confidential          402, 403
                                  GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0550       9/2/2017 5:47       002114380             002114380                       Email from Ali Nasiri Amini to Bahman Rabii               Confidential          402, 403, 805
PTX0551       9/5/2017 5:08       GOOG-DOJ-04830048     GOOG-DOJ-04830049               Email from Donald Harrison to Michelle Sarlo Dauwalter    Highly Confidential   402, 403, 805
PTX0552       9/5/2017 18:04      GOOG-DOJ-02854561     GOOG-DOJ-02854562               Email from Jonathan Bellack to Ali Nasiri Amini et al.    Highly Confidential   402, 403, 805
PTX0553       9/13/2017 16:35     GOOG-DOJ-05272070     GOOG-DOJ-05272076               Email from Eisar Lipkovitz to Aparna Pappu et al.         Highly Confidential   402, 403, 805
PTX0554       9/20/2017 18:21     GOOG-DOJ-28365982     GOOG-DOJ-28365986               Google document                                           Confidential          402, 403, 805

PTX0555       9/29/2017 23:10     GOOG-AT-MDL-001937115 GOOG-AT-MDL-001937120 Email from Ezra Brettler to Sierra Feitshans et al.       Confidential                    402, 403, 805
                                  GOOG-AT-MDL-B-        GOOG-AT-MDL-B-        Email from Marco Borla to Sridhar Ramaswamy, et al., with
PTX0556       10/5/2017 6:17      001273193             001273214             attachment                                                Confidential                    402, 403
                                                                              Email from Marco Borla to Sridhar Ramaswamy, et al., with
PTX0557       10/5/2017 15:14     GOOG-DOJ-AT-02645486 GOOG-DOJ-AT-02645507   attachment                                                Highly Confidential             402, 403
                                                                              Email from Marco Borla to Danielle Romain, with
PTX0558       10/5/2017 15:20     GOOG-DOJ-AT-02642501 GOOG-DOJ-AT-02642522   attachment                                                Highly Confidential             402, 403, 805
PTX0559       10/10/2017 6:04     MSFT-LIT-0000046646   MSFT-LIT-0000046686   Microsoft document                                        Highly Confidential             402, 403, 802, 805
                                  GOOG-AT-MDL-B-        GOOG-AT-MDL-B-        Email from Marco Borla to Sridhar Ramaswamy, et al., with
PTX0560       10/10/2017 16:58    001273236             001273261             attachment                                                Confidential                    402, 403, 805
                                  GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0561       10/11/2017 5:29     002541353             002541354             Email from Ali Nasiri Amini to Eu-Jin Goh                 Confidential                    402, 403, 805
PTX0562       11/4/2017 19:59     GOOG-TEX-00106259     GOOG-TEX-00106262     Email from Jim Giles to Eisar Lipkovitz et al.            Highly Confidential             402, 403
                                  GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0563       11/9/2017 12:44     002115457             002115458             Email from Nitish Korula to Nirmal Jayaram et al.         Confidential                    402, 403
PTX0564       11/10/2017 13:54    GOOG-DOJ-12760173     GOOG-DOJ-12760181     Email from David Goodman to Chris LaSala et al.           Highly Confidential             402, 403

PTX0565       11/14/2017 16:46    GOOG-AT-MDL-014569995 GOOG-AT-MDL-014569996 Email from Max Loubser to Rahul Srinivasan                          Confidential          402, 403
PTX0566       11/29/2017 15:39    GOOG-DOJ-09729045     GOOG-DOJ-09729048     Email from Danielle Romain to Sridhar Ramasamy                      Highly Confidential   402, 403
PTX0567       12/6/2017 5:46      GOOG-DOJ-10640239     GOOG-DOJ-10640243     Email from Eisar Lipkovitz to Aparna Pappu et al.                   Highly Confidential   402, 403, 805
                                                                              Email from Allison Martucci to Cameron Clayton et al.,
PTX0568       12/7/2017 0:00      GOOG-AT-MDL-012011646 GOOG-AT-MDL-012011649 with attachment                                                     Highly Confidential   402, 403
                                  GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0569       12/12/2017 23:01    002544075             002544077             Google document                                                     Confidential          402, 403
PTX0570       12/14/2017 16:48    GOOG-TEX-00084860     GOOG-TEX-00084862     Email from Nitish Korula to Glenn Berntson et al.                   Highly Confidential   402, 403
                                  GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0571       12/15/2017 22:32    002116057             002116057             Message from Ajay Bangla to Ali Amini                               Confidential          106, 402, 403



                                                                                        Page 15 of 54
                                                           United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                         Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 19 of 57 PageID# 21969
Trial Exhibit
                       Date                 Beg Bates                  End Bates                                  Description                      Confidentiality         Google Objection
  Number

PTX0572         12/20/2017 15:42    GOOG-AT-MDL-012509436 GOOG-AT-MDL-012509438 Email from Chris LaSala to Jim Giles et al.                     Confidential          402, 403

PTX0573         12/21/2017 0:00     GOOG-AT-MDL-019566874 GOOG-AT-MDL-019566882 Google document                                                 Highly Confidential   402, 403
PTX0574         1/1/2018 0:00       GOOG-DOJ-03595730     GOOG-DOJ-03595753     Google document                                                 Highly Confidential   402, 403, 106
PTX0575         1/1/2018 0:00       GOOG-DOJ-03596195     GOOG-DOJ-03596218     Google presentation                                             Highly Confidential   402, 403, 106
PTX0576         1/1/2018 0:00       GOOG-DOJ-04451152     GOOG-DOJ-04451175     Google presentation                                             Highly Confidential   402, 403
                                                                                Email from Marco Borla to Seema Pandya, et al., with
PTX0577         1/4/2018 17:26      GOOG-AT-MDL-000963979 GOOG-AT-MDL-000964003 attachment                                                      Highly Confidential   402, 403,
PTX0578         1/9/2018 19:33      GOOG-DOJ-12760399     GOOG-DOJ-12760408     Google document                                                 Confidential          402, 403
PTX0579         1/16/2018 10:27     GOOG-DOJ-03238507     GOOG-DOJ-03238525     Google presentation                                             Highly Confidential   403, 805
                                                                                Email from Brian Boland to Dan Rose et al., with
PTX0580         2/5/2018 20:20      FBDOJ003260795        FBDOJ003260822        attachments                                                     Confidential          402, 403, 802
                                                                                Email from Priti Youssef Choksi to Brian Boland et al.,
PTX0581         2/28/2018 18:07     FBDOJGOOG_00028977    FBDOJGOOG_00028993    with attachment                                                 Confidential          402, 403, 802

PTX0582         3/2/2018 1:34       GOOG-AT-MDL-019427179 GOOG-AT-MDL-019427215 Google presentation                                             Confidential          402, 403, 805

PTX0583         3/5/2018 20:40      GOOG-AT-MDL-007375652 GOOG-AT-MDL-007375652           Email from Martin Pal to Oliver Zee et al.            Confidential          402, 403
                                    GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0584         3/7/2018 14:22      002838050             002838052             Email from Martin Pal to Li Grabenstein et al.                  Confidential          402, 403
PTX0585         3/14/2018 22:13     GOOG-DOJ-09876316     GOOG-DOJ-09876329     Google presentation                                             Highly Confidential   402, 403
PTX0586         3/16/2018 16:59     GOOG-DOJ-03896573     GOOG-DOJ-03896575     Email from Jonathan Bellack to Brad Bender                      Highly Confidential   403
PTX0587         3/16/2018 18:05     GOOG-DOJ-05276794     GOOG-DOJ-05276796     Email from Payam Shodjai to Brad Bender                         Highly Confidential   402, 403, 805
PTX0588         3/16/2018 18:20     GOOG-DOJ-09429821     GOOG-DOJ-09429824     Email from Nirmal Jayaram to Tobias Maurer et al.               Highly Confidential   402, 403, 805
PTX0589         3/16/2018 18:43     GOOG-DOJ-09429825     GOOG-DOJ-09429828     Email from Tobias Maurer to Nirmal Jayaram et al.               Highly Confidential   402, 403, 805
PTX0590         3/23/2018 17:48     GOOG-TEX-00090751     GOOG-TEX-00090752     Email from Chris LaSala to Jonathan Bellack et al.              Highly Confidential   402, 403
PTX0591         3/26/2018 13:59     GOOG-DOJ-03913653     GOOG-DOJ-03913752     Google presentation                                             Highly Confidential   402, 403
                                    GOOG-AT-MDL-B-        GOOG-AT-MDL-B-        Email from Marco Borla to Phillip Schindler, et al., with
PTX0592         4/6/2018 20:52      001276241             001276268             attachment                                                      Confidential          402, 403
                                                                                Email from Marco Borla to Dominic Tang, et al., with
PTX0593         4/6/2018 22:02      GOOG-AT-MDL-000965391 GOOG-AT-MDL-000965418 attachment                                                      Confidential          402, 403
PTX0594         4/12/2018 2:10      GOOG-DOJ-05548306     GOOG-DOJ-05548307     Email from Eisar Lipkovitz to Carlos Kirjner et al.             Highly Confidential   402, 403
PTX0595         4/12/2018 15:52     GOOG-DOJ-04725043     GOOG-DOJ-04725046     Email from Eisar Lipkovitz to Johnathan Bellack et al.          Highly Confidential   106, 402, 403

PTX0596         4/13/2018 0:35      GOOG-AT-MDL-014262058 GOOG-AT-MDL-014262058           Email from Johnathan Bellack to Payan Shodjai         Confidential          402, 403
PTX0597         4/16/2018 16:01     GOOG-DOJ-13587578     GOOG-DOJ-13587590               Google document                                       Highly Confidential   402, 403
PTX0598         4/23/2019 14:24     GOOG-DOJ-04720129     GOOG-DOJ-04720132               Google document                                       Highly Confidential   402, 403, 805
PTX0599         4/19/2018 20:49     GOOG-DOJ-10267305     GOOG-DOJ-10267307               Email from Nirmal Jayaram to Tobias Maurer et al.     Highly Confidential   402, 403
PTX0600         5/1/2018 0:30       GOOG-DOJ-07275375     GOOG-DOJ-07275518               Google document                                       Confidential          402, 403, 805
PTX0601         5/2/2018 23:42      GOOG-TEX-00109946     GOOG-TEX-00110008               Google presentation                                   Highly Confidential   402, 403
PTX0602         5/7/2018 14:07      GOOG-DOJ-06871934     GOOG-DOJ-06871943               Google document                                       Highly Confidential   403, 805
PTX0603         5/9/2018 22:09      GOOG-DOJ-12581761     GOOG-DOJ-12581762               Email from Eisar Lipkovitz to Aparna Pappu et al.     Highly Confidential   402, 403
PTX0604         5/10/2018 20:25     GOOG-DOJ-03070314     GOOG-DOJ-03070320               Google presentation                                   Highly Confidential   402, 403
PTX0605         5/10/2018 21:28     GOOG-DOJ-05277697     GOOG-DOJ-05277703               Email from Jonathan Bellack to Aparna Pappu et al.    Highly Confidential   402, 403
PTX0606         5/22/2018 14:53     GOOG-DOJ-13472672     GOOG-DOJ-13472673               Email from Sam Cox to Rob Hazan                       Highly Confidential   402, 403
PTX0607         5/22/2018 21:22     GOOG-DOJ-12761045     GOOG-DOJ-12761058               Google presentation                                   Highly Confidential   403
PTX0608         5/29/2018 14:49     GOOG-DOJ-03239780     GOOG-DOJ-03239798               Google presentation                                   Highly Confidential   402, 403
PTX0609         5/31/2018 13:58     GOOG-DOJ-13473146     GOOG-DOJ-13473147               Email from Martin Pal to Nitish Korula et al.         Highly Confidential   402, 403
PTX0610         6/1/2018 17:55      GOOG-DOJ-32566958     GOOG-DOJ-32566958               Email from Rahul Srinivasan to Nitish Korula et al.   Confidential          402, 403



                                                                                          Page 16 of 54
                                                        United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                      Google's Objections to Plaintiffs’ Trial Exhibit List
                               Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 20 of 57 PageID# 21970
Trial Exhibit
                     Date                 Beg Bates                 End Bates                                 Description                          Confidentiality         Google Objection
  Number
PTX0611       6/11/2018 21:06     GOOG-TEX-00124787        GOOG-TEX-00124807           Google presentation                                      Highly Confidential   402, 403
PTX0612       6/14/2018 15:09     GOOG-DOJ-11781035        GOOG-DOJ-11781035           Message from Aparna Pappu to Chris LaSala et al.         Highly Confidential   106, 402, 403
                                                                                       Email from Gabe Kronstadt to Chris LaSala et al., with
PTX0613       6/19/2018 18:17     GOOG-DOJ-11781099        GOOG-DOJ-11781103           attachment                                               Highly Confidential   402, 403
PTX0614       6/19/2018 15:18     GOOG-DOJ-11347848        GOOG-DOJ-11347848           Email from David Goodman to Payam Shodjai et al.         Highly Confidential   402, 403
PTX0615       6/20/2018 12:50     GOOG-DOJ-32327167        GOOG-DOJ-32327167           Message from Chris LaSala to Sissie Hsiao et al.         Confidential          106, 402, 403
PTX0616       6/20/2018 15:24     GOOG-DOJ-13975976        GOOG-DOJ-13975978           Email from Nirmal Jayaram to Jim Giles et al.            Highly Confidential   402, 403
PTX0617       6/20/2018 16:30     GOOG-DOJ-07829351        GOOG-DOJ-07829351           Message from Kenny Kaiser to Brad Bender et al.          Highly Confidential   106, 402, 403
PTX0618       6/20/2018 17:59     GOOG-DOJ-32034896        GOOG-DOJ-32034898           Email from Apartna Pappu to Noam Wolf et al.             Confidential          403
PTX0619       6/21/2018 17:50     GOOG-DOJ-12947505        GOOG-DOJ-12947508           Email from Max Lin to Tim Lipus et al.                   Highly Confidential   402, 403
PTX0620       6/21/2018 17:50     GOOG-TEX-00096393        GOOG-TEX-00096397           Email from Max Lin to Tim Lipus et al.                   Highly Confidential   402, 403
PTX0621       6/21/2018 22:17     GOOG-DOJ-09704427        GOOG-DOJ-09704428           Message from Rahul Srinivasan to Sissie Hsiao et al.     Highly Confidential   106, 402, 403
PTX0622       6/21/2018 22:12     GOOG-DOJ-07829362        GOOG-DOJ-07829363           Message from Rahul Srinivasan to Brad Bender et al.      Highly Confidential   106, 402, 403

PTX0623       6/25/2018 12:08     GOOG-AT-MDL-008952713 GOOG-AT-MDL-008952715          Message from Jim Giles to Rahul Srinivasan et al.        Confidential          106, 402, 403
PTX0624       6/27/2018 4:42      GOOG-DOJ-27767168     GOOG-DOJ-27767171              Email from Chris LaSala to Carlos Kirjner                Confidential          402, 403
PTX0625       7/6/2018 1:45       GOOG-DOJ-07829410     GOOG-DOJ-07829411              Message from Jonathan Bellack to Brad Bender et al.      Highly Confidential   106, 402, 403
PTX0626       7/9/2018 19:28      GOOG-DOJ-14426577     GOOG-DOJ-14426581              Google document                                          Highly Confidential   402, 403, 805
PTX0627       7/9/2018 20:12      GOOG-TEX-00905784     GOOG-TEX-00905796              Email from Martin Pal to Roshan Khan et al.              Highly Confidential   402, 403
PTX0628       7/10/2018 15:58     GOOG-DOJ-13414967     GOOG-DOJ-13414969              Email from David Goodman to Jonathan Bellack             Highly Confidential   402, 403
PTX0629       7/11/2018 19:25     GOOG-DOJ-13415080     GOOG-DOJ-13415080              Email from Max Lin to Jonathan Bellack et al.            Highly Confidential   403
PTX0630       7/11/2018 19:39     GOOG-DOJ-13415081     GOOG-DOJ-13415081              Email from Jonathan Bellack to Max Lin et al.            Highly Confidential   403
PTX0631       7/12/2018 19:15     GOOG-DOJ-07829417     GOOG-DOJ-07829423              Email from Michael Hopkins to Leah Caldarone et al.      Highly Confidential   402, 403
PTX0632       7/13/2018 1:13      GOOG-DOJ-15115878     GOOG-DOJ-15115881              Email from Eisar Lipkovitz to Carlos Kirjner et al.      Highly Confidential   402, 403
PTX0633       7/13/2018 19:51     GOOG-DOJ-10733927     GOOG-DOJ-10733963              Google presentation                                      Highly Confidential   402, 403
PTX0634       7/16/2018 13:44     GOOG-DOJ-09159964     GOOG-DOJ-09159987              Google presentation                                      Highly Confidential   402, 403
PTX0635       7/19/2018 22:34     GOOG-DOJ-07276976     GOOG-DOJ-07276980              Google document                                          Highly Confidential   403, 805
PTX0636       7/23/2018 15:53     GOOG-DOJ-10658880     GOOG-DOJ-10658881              Message from Dan Taylor to Deepti Bhatnagar et al.       Highly Confidential   106, 402, 403
PTX0637       7/31/2018 3:40      GOOG-DOJ-10957237     GOOG-DOJ-10957239              Message from Sagnik Nandy to Chris LaSala et al.         Highly Confidential   106, 402, 403
PTX0638       8/3/2018 19:03      GOOG-DOJ-03998505     GOOG-DOJ-03998508-008          Google document                                          Confidential          403
PTX0639       8/6/2018 11:37      GOOG-DOJ-11781965     GOOG-DOJ-11781965              Message from Jim Giles to Chris LaSala et al.            Highly Confidential   106, 402, 403
PTX0640       8/7/2018 16:19      GOOG-DOJ-07799709     GOOG-DOJ-07799711              Email from Bonita Stewart to Chris LaSala et al.         Highly Confidential   403
PTX0641       8/7/2018 18:09      GOOG-DOJ-10414858     GOOG-DOJ-10414864              Email from Duke Dukellis to Nitish Korula et al.         Highly Confidential   402, 403
                                  GOOG-AT-MDL-C-        GOOG-AT-MDL-C-
PTX0642       8/8/2018 0:00       000008293             000008352                      Google document                                          Confidential          402, 403
PTX0643       8/9/2018 20:19      GOOG-DOJ-03634544     GOOG-DOJ-03634559              Google presentation                                      Highly Confidential   403
PTX0644       8/14/2018 23:13     GOOG-DOJ-04004237     GOOG-DOJ-04004239              Email from Chris LaSala to Donald Harrison               Highly Confidential   402, 403
PTX0645       8/16/2018 2:34      GOOG-DOJ-05532201     GOOG-DOJ-05532208              Google document                                          Highly Confidential   402, 403
PTX0646       8/17/2018 3:26      GOOG-DOJ-08471703     GOOG-DOJ-08471704              Email from Chris LaSala to Donald Harrison et al.        Highly Confidential   402, 403
PTX0647       8/30/2018 0:00      GOOG-DOJ-13597316     GOOG-DOJ-13597322              Email from Ajay Bangla to Tobias Maurer et al.           Highly Confidential   402, 403
                                  GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0648       8/30/2018 1:51      003167073             003167091                      Google document                                          Confidential          402, 403

PTX0649       9/4/2018 19:24      GOOG-AT-MDL-009452636 GOOG-AT-MDL-009452636 Message from Bhanu Narasimhan to Courtney Kuhl et al.             Confidential          402, 403

PTX0650       9/4/2018 19:24      GOOG-AT-MDL-010351820 GOOG-AT-MDL-010351820 Message from Bhanu Narasimhan to Courtney Rose et al.             Confidential          402, 403

PTX0651       9/4/2018 19:24      GOOG-AT-MDL-011596533 GOOG-AT-MDL-011596533 Message from Bhanu Narasimhan to Courtney Rose et al.             Confidential          402, 403
PTX0652       9/6/2018 22:44      GOOG-DOJ-15126801     GOOG-DOJ-15126801     Email from Fabrizio Angelini to Rahul Srinivasan et al.           Highly Confidential   805
PTX0653       9/7/2018 22:01      GOOG-DOJ-10957587     GOOG-DOJ-10957588     Email from Chris LaSala to Rahul Srinivasan et al.                Highly Confidential   402, 403



                                                                                       Page 17 of 54
                                                       United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                     Google's Objections to Plaintiffs’ Trial Exhibit List
                            Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 21 of 57 PageID# 21971
Trial Exhibit
                     Date                Beg Bates                 End Bates                                  Description                             Confidentiality         Google Objection
  Number
PTX0654       9/9/2018 0:42      GOOG-DOJ-13598644        GOOG-DOJ-13598645           Email from launch@google.com to Google employees             Highly Confidential   402, 403
PTX0655       9/19/2018 1:47     GOOG-DOJ-10669120        GOOG-DOJ-10669122           Email from Donald Harrison to Phillip Schindler              Highly Confidential   402, 403
PTX0656       9/10/2018 15:06    GOOG-DOJ-04004392        GOOG-DOJ-04004402           Google document                                              Highly Confidential   402, 403
PTX0657       9/11/2018 13:48    GOOG-DOJ-04442323        GOOG-DOJ-04442372           Google presentation                                          Highly Confidential
PTX0658       9/12/2018 14:47    GOOG-DOJ-11864107        GOOG-DOJ-11864110           Email from Payam Shodjai to Vlad Sinaniyev et al.            Highly Confidential   402, 403
PTX0659       9/12/2018 19:36    GOOG-DOJ-15151724        GOOG-DOJ-15151728           Google document                                              Highly Confidential   403, 805

PTX0660       9/13/2018 14:20    GOOG-AT-MDL-008961022 GOOG-AT-MDL-008961024          Email from Rahul Srinivasan to Nitish Korula                 Confidential          402, 403
PTX0661       9/13/2018 21:07    GOOG-DOJ-09441506     GOOG-DOJ-09441507              Email from Chris LaSala to Philipp Schindler et al.          Highly Confidential   402, 403
PTX0662       9/18/2018 20:58    GOOG-TEX-00124960     GOOG-TEX-00124963              Email from Jonathan Bellack to Michael Hopkins et al.        Highly Confidential   402, 403
PTX0663       9/20/2018 15:49    GOOG-DOJ-03900135     GOOG-DOJ-03900142              Google document                                              Highly Confidential   402, 403, 805
PTX0664       9/25/2018 18:29    GOOG-DOJ-11392497     GOOG-DOJ-11392504              Google document                                              Highly Confidential   402, 403

PTX0665       9/26/2018 0:00     GOOG-AT-MDL-019567328 GOOG-AT-MDL-019567335          Google document                                              Highly Confidential
PTX0666       9/29/2018 5:02     GOOG-DOJ-07800101     GOOG-DOJ-07800104              Google document                                              Highly Confidential   402, 403
PTX0667       10/1/2018 21:47    GOOG-DOJ-09163024     GOOG-DOJ-09163030              Google document                                              Highly Confidential   402, 403, 805
PTX0668       10/4/2018 18:32    GOOG-DOJ-05282625     GOOG-DOJ-05282671              Google presentation                                          Highly Confidential   402, 403
                                                                                      Email from Marco Borla to Phillipp Schindler, et al., with
PTX0669       10/5/2018 21:35    GOOG-DOJ-AT-02645132     GOOG-DOJ-AT-02645158        attachments                                                  Highly Confidential   402, 403
PTX0670       10/5/2018 21:57    GOOG-DOJ-11783062        GOOG-DOJ-11783063           Google Calendar notification                                 Highly Confidential   402, 403
                                                                                      Email from Carlos Kirjner to Prabhakar Raghavan, with
PTX0671       10/5/2018 22:41    GOOG-DOJ-04451151        GOOG-DOJ-04451199           attachment                                                   Highly Confidential   402, 403
PTX0672       10/11/2018 0:28    GOOG-DOJ-13218256        GOOG-DOJ-13218266           Google document                                              Highly Confidential   402, 403
PTX0673       10/11/2018 21:31   GOOG-DOJ-12038222        GOOG-DOJ-12038222           Google spreadsheet                                           Highly Confidential   402, 403
PTX0674       10/19/2018 21:17   GOOG-TEX-00107590        GOOG-TEX-00107594           Email from Chris LaSala to Keith Weisberg et al.             Highly Confidential   402, 403, 805
                                                                                      Email from Matt Guio to Danielle Romain et al., with
PTX0675       10/23/2018 1:30    GOOG-DOJ-03900426        GOOG-DOJ-03900434           attachment                                                   Highly Confidential   402, 403
PTX0676       10/23/2018 23:37   GOOG-DOJ-03240360        GOOG-DOJ-03240376           Google presentation                                          Highly Confidential   402, 403

PTX0677       10/25/2018 0:42    GOOG-DOJ-AT-00587215     GOOG-DOJ-AT-00587216        Email from Jay Glogovsky to Balasubramanian Sivan et al. Highly Confidential
PTX0678       10/27/2018 1:28    GOOG-DOJ-05282937        GOOG-DOJ-05282948           Google document                                          Highly Confidential       402, 403, 805
PTX0679       11/5/2018 23:08    GOOG-DOJ-05283173        GOOG-DOJ-05283188           Google presentation                                      Highly Confidential       402, 403

PTX0680       11/15/2018 17:03   GOOG-DOJ-AT-00849033     GOOG-DOJ-AT-00849034        Email from Sissie Hsiao to P. Shodjai                        Highly Confidential   402, 403
PTX0681       11/28/2018 0:00    GOOG-DOJ-15225079        GOOG-DOJ-15225081           Email from Jim Giles to Florie Arlegui et al.                Confidential          402, 403

PTX0682       11/30/2018 2:22    GOOG-AT-MDL-001412439 GOOG-AT-MDL-001412440 Google document                                                       Confidential          402, 403
PTX0683       12/5/2018 15:40    GOOG-DOJ-15127287     GOOG-DOJ-15127289      Email from Michael Hopkins to Florie Arlegui et al.                  Confidential          402, 403
PTX0684       12/6/2018 18:37    GOOG-DOJ-07832481     GOOG-DOJ-07832485      Email from Nirmal Jayaram to David Maymudes et al.                   Highly Confidential   402, 403, 805
PTX0685       12/7/2018 18:53    GOOG-DOJ-03153058     GOOG-DOJ-03153083      Google presentation                                                  Highly Confidential   402, 403, 805
PTX0686       12/9/2018 1:53     GOOG-DOJ-05285023     GOOG-DOJ-05285232      Google presentation                                                  Highly Confidential
                                                       GOOG-AT-MDL-007365297-
PTX0687       12/19/2018 19:30   GOOG-AT-MDL-007365297 037                    Google presentation                                                  Confidential          402, 403, 805
PTX0688       12/19/2018 22:54   GOOG-DOJ-10295288     GOOG-DOJ-10295294      Email from Ali Nasiri Amini to Nirmal Jayaram et al.                 Highly Confidential   402, 403
PTX0689       12/20/2018 2:00    GOOG-DOJ-12702407     GOOG-DOJ-12702407      Email from Chris LaSala to Jonathan Bellack et al.                   Highly Confidential   402, 403, 805
PTX0690       12/21/2018 15:44   GOOG-DOJ-03332135     GOOG-DOJ-03332222      Google presentation                                                  Highly Confidential   402, 403
PTX0691       12/28/2018 21:56   GOOG-DOJ-12700111     GOOG-DOJ-12700114      Email from Payam Shodjai to Google Employees                         Highly Confidential   402, 403
PTX0692       1/1/2019 0:00      GOOG-DOJ-03596728     GOOG-DOJ-03596751      Google presentation                                                  Highly Confidential   402, 403
PTX0693       1/1/2019 0:00      GOOG-DOJ-03597207     GOOG-DOJ-03597230      Google presentation                                                  Highly Confidential   402, 403
PTX0694       1/1/2019 0:00      GOOG-DOJ-03597654     GOOG-DOJ-03597677      Google presentation                                                  Highly Confidential   402, 403



                                                                                      Page 18 of 54
                                                          United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                        Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 22 of 57 PageID# 21972
Trial Exhibit
                       Date                 Beg Bates                 End Bates                                 Description                         Confidentiality          Google Objection
  Number

PTX0695         1/3/2019 15:50      GOOG-DOJ-AT-00588455     GOOG-DOJ-AT-00588456        Email from Nitish Korula to Rahul Srinivasan            Highly Confidential

PTX0696         1/3/2019 23:04      GOOG-DOJ-AT-00566835     GOOG-DOJ-AT-00566857        Google document                                         Highly Confidential   402, 403
PTX0697         1/4/2019 3:23       GOOG-DOJ-13221355        GOOG-DOJ-13221363           Google document                                         Highly Confidential   402, 403
PTX0698         1/4/2019 13:40      GOOG-DOJ-13604021        GOOG-DOJ-13604023           Email from Sam Temes to Rahul Srinivasan et al.         Highly Confidential   402, 403

PTX0699         1/4/2019 16:12      GOOG-DOJ-AT-01680260     GOOG-DOJ-AT-01680265        Email from Nitish Korula to Dan Taylor et al.           Highly Confidential   402, 403
PTX0700         1/4/2019 21:40      GOOG-DOJ-12966821        GOOG-DOJ-12966826           Email from Chris LaSala to Nitish Korula et al.         Highly Confidential   402, 403, 501

PTX0701         1/4/2019 21:48      GOOG-DOJ-AT-00060011     GOOG-DOJ-AT-00060017        Google presentation                                     Highly Confidential   402, 403

PTX0702         1/5/2019 20:59      GOOG-DOJ-AT-00566912     GOOG-DOJ-AT-00566913        Email from Nitish Korula to Ali Nasiri Amini et al.     Highly Confidential   402, 403

PTX0703         1/7/2019 15:13      GOOG-DOJ-AT-01680301     GOOG-DOJ-AT-01680308        Email from Rahul Srinivasan to Jessica Staples et al.   Highly Confidential   402, 403
PTX0704         1/7/2019 22:24      GOOG-DOJ-13604421        GOOG-DOJ-13604425           Message from Rahul Srinivasan to Nitish Korula et al.   Highly Confidential   106, 402, 403

PTX0705         1/9/2019 4:46       GOOG-DOJ-AT-02640072     GOOG-DOJ-AT-02640105        Google presentation                                     Highly Confidential   403

PTX0706         1/9/2019 18:35      GOOG-DOJ-AT-01017066     GOOG-DOJ-AT-01017068        Email from Nitish Korula to Bahman Rabii et al.         Highly Confidential   402

PTX0707         1/10/2019 17:35     GOOG-DOJ-AT-00810221     GOOG-DOJ-AT-00810221        Message from Bryan Rowley to Scott Scheffer             Highly Confidential   106, 402, 403
                                    GOOG-AT-MDL-B-           GOOG-AT-MDL-B-              Email from Marco Borla to Phillipp Schindler, with
PTX0708         1/10/2019 20:27     000825369                000825395                   attachment                                              Highly Confidential   402, 403
                                                                                         Email from Marco Borla to Prabhakar Raghavan, et al.,
PTX0709         1/10/2019 21:04     GOOG-DOJ-03651918        GOOG-DOJ-03651943           with attachment                                         Highly Confidential   402, 403
                                    GOOG-AT-MDL-B-           GOOG-AT-MDL-B-              Email from Marco Borla to Prabhakar Raghavan, et al.,
PTX0710         1/10/2019 21:04     000223532                000223558                   with attachment                                         Highly Confidential   402, 403

PTX0711         1/4/2019 0:13       GOOG-DOJ-AT-00066735     GOOG-DOJ-AT-00066739        Email from Nirmal Jayaram to Ehsan Maani et al.         Highly Confidential   402, 403

PTX0712         1/14/2019 0:39      GOOG-DOJ-28501644        GOOG-DOJ-28501652           Google document                                         Confidential          402, 403
                                                                                         Email from Marco Borla to Seema Pandya et al., with
PTX0713         1/14/2019 18:34     GOOG-DOJ-AT-02642666     GOOG-DOJ-AT-02642691        attachment                                              Highly Confidential   402, 403

PTX0714         1/15/2019 20:01     GOOG-AT-MDL-007031286 GOOG-AT-MDL-007031286 Email from Sandra Robles to Nithya Sowrirajan et al.             Highly Confidential   402, 403
                                                          GOOG-DOJ-AT-01019429-
PTX0715         1/16/2019 19:00     GOOG-DOJ-AT-01019429 009                    Email from Tobias Maurer to Chris LaSala et al.                  Highly Confidential   402, 403, 805
PTX0716         1/17/2019 2:35      GOOG-DOJ-03901693     GOOG-DOJ-03901713     Google presentation                                              Highly Confidential   402, 403

PTX0717         1/17/2019 14:30     GOOG-DOJ-AT-00567159     GOOG-DOJ-AT-00567161        Email from Nitish Korula to Albert Chen et al.          Highly Confidential   402, 403
                                                             GOOG-DOJ-AT-02113022-
PTX0718         1/24/2019 21:46     GOOG-DOJ-AT-02113022     009                         Email from David Goodman to Kenny Kaiser                Highly Confidential   402, 403, 805

PTX0719         1/29/2019 15:52     GOOG-DOJ-AT-01019463     GOOG-DOJ-AT-01019468        Email from Chris LaSala to Noam Wolf                    Highly Confidential   402, 403, 805
PTX0720         2/4/2019 21:10      GOOG-DOJ-14035958        GOOG-DOJ-14035962           Email from Kaleigh Rosenblat to David Goodman et al.    Highly Confidential   402, 403
PTX0721         2/6/2019 0:00       GOOG-DOJ-13607150        GOOG-DOJ-13607152           Email from Ali Nasiri Amini to Meihui Xie et al.        Highly Confidential   402, 403

PTX0722         2/6/2019 0:01       GOOG-DOJ-AT-00567481     GOOG-DOJ-AT-00567481        Email from Ehsan Maani to Nirmal Jayaram                Highly Confidential   402, 403




                                                                                         Page 19 of 54
                                                          United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                        Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 23 of 57 PageID# 21973
Trial Exhibit
                       Date                 Beg Bates                 End Bates                                  Description                            Confidentiality         Google Objection
  Number

PTX0723         2/6/2019 22:50      GOOG-AT-MDL-001422325 GOOG-AT-MDL-001422327          Email from Yumin Guo to Ayodele Marcus et al.               Confidential          402, 403
PTX0724         2/7/2019 12:09      GOOG-DOJ-07957145     GOOG-DOJ-07957200              Google presentation                                         Highly Confidential   402, 403
PTX0725         2/8/2019 0:14       GOOG-DOJ-11723465     GOOG-DOJ-11723471              Google document                                             Highly Confidential   402, 403
PTX0726         2/8/2019 19:56      GOOG-DOJ-07285943     GOOG-DOJ-07285967              Google presentation                                         Highly Confidential   402, 403
PTX0727         2/11/2019 21:17     GOOG-DOJ-09167513     GOOG-DOJ-09167521              Google presentation                                         Highly Confidential   402, 403

PTX0728         2/12/2019 14:56     GOOG-DOJ-AT-02136565     GOOG-DOJ-AT-02136569        Google presentation                                         Highly Confidential   402, 403
PTX0729         2/13/2019 22:31     GOOG-TEX-01267302        GOOG-TEX-01267358           Google presentation                                         Highly Confidential   402, 403
PTX0730         2/15/2019 0:00      GOOG-DOJ-13607854        GOOG-DOJ-13607856           Email from Roshan Khan to Nick Danziger et al.              Highly Confidential   402, 403

PTX0731         2/20/2019 0:20      GOOG-DOJ-AT-01077833     GOOG-DOJ-AT-01077843        Google presentation                                         Confidential          402, 403
PTX0732         2/20/2019 18:44     GOOG-DOJ-12114691        GOOG-DOJ-12114695           Google presentation                                         Highly Confidential   402, 403

PTX0733         2/26/2019 6:29      GOOG-DOJ-AT-00568035     GOOG-DOJ-AT-00568036        Google presentation                                         Highly Confidential   402, 403
PTX0734         3/1/2019 14:53      GOOG-DOJ-12857594        GOOG-DOJ-12857598           Email from Ali Amini to Sam Temes et al.                    Highly Confidential   402, 403
PTX0735         3/3/2019 18:44      GOOG-DOJ-15772410        GOOG-DOJ-15772411           Google document                                             Highly Confidential   402, 403
PTX0736         3/4/2019 1:20       GOOG-TEX-00108186        GOOG-TEX-00108193           Email from Chris LaSala to Fabrizio Angelini et al.         Highly Confidential   402, 403, 805

PTX0737         3/4/2019 5:10       GOOG-DOJ-AT-00568160     GOOG-DOJ-AT-00568160        Email from Ali Nasiri Amini to Nirmal Jayaram               Highly Confidential   402, 403, 805
PTX0738         3/6/2019 23:04      GOOG-DOJ-07833398        GOOG-DOJ-07833399           Google document                                             Highly Confidential   402, 403
                                                                                         Email from Bipin Khurana to Chris LaSala et al., with
PTX0739         3/8/2019 21:20      GOOG-DOJ-AT-00008410     GOOG-DOJ-AT-00008413        attachment                                                  Highly Confidential   402, 403
PTX0740         3/18/2019 1:09      GOOG-DOJ-14572216        GOOG-DOJ-14572217           Email from Jason Bigler to Rahul Srinivasan                 Highly Confidential   402, 403
PTX0741         3/13/2019 17:17     GOOG-DOJ-10924270        GOOG-DOJ-10924338           Google presentation                                         Highly Confidential   501
PTX0742         3/14/2019 17:02     GOOG-DOJ-05508770        GOOG-DOJ-05508775           Email from Roshan Khan to Payam Shodjai et al.              Highly Confidential   402, 403

PTX0743         3/19/2019 22:18     GOOG-DOJ-AT-00221276     GOOG-DOJ-AT-00221352        Google presentation                                         Highly Confidential
PTX0744         3/24/2019 23:27     GOOG-DOJ-13610347        GOOG-DOJ-13610353           Google document                                             Highly Confidential   402, 403

PTX0745         4/8/2019 16:27      GOOG-AT-MDL-001412688 GOOG-AT-MDL-001412688          Email from Tim Lipus to Ali Nasiri Amini et al.             Confidential          402, 403
PTX0746         4/9/2019 7:07       GOOG-DOJ-10806862     GOOG-DOJ-10806871              Google document                                             Highly Confidential   402, 403
                                    GOOG-AT-MDL-B-        GOOG-AT-MDL-B-                 Email from Marco Borla to Phillip Schindler, et al., with
PTX0747         4/9/2019 16:38      000223562             000223587                      attachment                                                  Confidential          402, 403

PTX0748         4/12/2019 22:35     GOOG-AT-MDL-008064626 GOOG-AT-MDL-008064628 Email from Fabrizio Angelini to Richard Barber et al.                Confidential          402, 403, 805
PTX0749         4/17/2019 21:33     GOOG-DOJ-11872257     GOOG-DOJ-11872265     Google document                                                      Highly Confidential   402, 403
                                                                                Email from Ali Nasiri Amini to Nirmal Jayaram, with
PTX0750         4/19/2019 15:15     GOOG-AT-MDL-007040481 GOOG-AT-MDL-007040484 attachment                                                           Confidential          402, 403
PTX0751         4/19/2019 16:59     GOOG-DOJ-11692120     GOOG-DOJ-11692124     Google document                                                      Highly Confidential   402, 403, 805

PTX0752         4/19/2019 21:12     GOOG-AT-MDL-008106705 GOOG-AT-MDL-008106728 Google presentation                                                  Highly Confidential   402, 403
PTX0753         4/23/2019 14:24     GOOG-TEX-00982699     GOOG-TEX-00982702     Google document                                                      Highly Confidential   402, 403

PTX0754         4/23/2019 19:13     GOOG-DOJ-AT-02304321     GOOG-DOJ-AT-02304322        Email from Dorothée Bergin to Liz Daly et al.               Highly Confidential   402, 403

PTX0755         4/23/2019 21:11     GOOG-DOJ-AT-02304329     GOOG-DOJ-AT-02304332        Email from Dorothée Bergin to Alex Bergersen et al.         Highly Confidential   402, 403
PTX0756         4/24/2019 22:16     GOOG-DOJ-15226622        GOOG-DOJ-15226626           Email from George Levitte to Rahul Srinivasan               Highly Confidential   402, 403, 805
PTX0757         4/25/2019 11:36     GOOG-TEX-00101703        GOOG-TEX-00101710           Email from Noam Wolf to Rahul Srinivasan et al.             Highly Confidential   402, 403, 805
PTX0758         4/25/2019 13:32     KVL00000945              KVL00000947                 Email from James Avery to Sarah Sluis                       Highly Confidential   402, 403



                                                                                         Page 20 of 54
                                                        United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                      Google's Objections to Plaintiffs’ Trial Exhibit List
                               Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 24 of 57 PageID# 21974
Trial Exhibit
                     Date                 Beg Bates                 End Bates                                 Description                     Confidentiality          Google Objection
  Number
PTX0759       5/1/2019 12:09      GOOG-DOJ-15128751        GOOG-DOJ-15128753           Google document                                     Highly Confidential   402, 403, 701, 805
PTX0760       5/8/2019 20:31      GOOG-DOJ-13495460        GOOG-DOJ-13495467           Email from Bryan Tracy to Rahul Srinivasan et al.   Highly Confidential   402, 403, 805

PTX0761       5/9/2019 19:52      GOOG-DOJ-AT-01130332     GOOG-DOJ-AT-01130356
                                                                              Google presentation                                          Highly Confidential   402, 403
PTX0762       5/11/2019 3:35      GOOG-DOJ-02857290        GOOG-DOJ-02857291  Email from Ali Nasiri Amini to Sagnik Nandy et al.           Highly Confidential   402, 403, 805
PTX0763       5/11/2019 3:40      GOOG-DOJ-10664165        GOOG-DOJ-10664166  Email from Ali Nasiri Amini to Payam Shodjai                 Highly Confidential   402, 403
PTX0764       5/13/2019 2:45      GOOG-DOJ-03637251        GOOG-DOJ-03637264  Google document                                              Highly Confidential   402, 403
PTX0765       5/13/2019 17:32     GOOG-DOJ-14026935        GOOG-DOJ-14026936  Email from Rahul Srinivasan to George Levitte                Highly Confidential   106, 402, 403
PTX0766       5/14/2019 14:46     GOOG-DOJ-14047367        GOOG-DOJ-14047368  Email from Juan Labourt to Noam Wolf et al.                  Highly Confidential   402, 403, 805
PTX0767       5/14/2019 17:59     GOOG-DOJ-04597764        GOOG-DOJ-04597832  Google presentation                                          Highly Confidential   402, 403
                                                                              Email from Rahul Srinivasan to Adam Juda, with
PTX0768       5/16/2019 0:00      GOOG-AT-MDL-004151779 GOOG-AT-MDL-004151792 attachment                                                   Confidential          402, 403
PTX0769       5/20/2019 18:52     GOOG-DOJ-04597962     GOOG-DOJ-04597983     Google document                                              Highly Confidential   402, 403
PTX0770       5/20/2019 21:44     GOOG-DOJ-13495995     GOOG-DOJ-13496000     Email from Sylvia Ho to Google employees                     Highly Confidential   402, 403, 805

PTX0771       5/21/2019 14:50     GOOG-AT-MDL-008980447 GOOG-AT-MDL-008980447 Email from Rahul Srinivasan to Lauren Walls et al.           Confidential          402, 403

PTX0772       5/21/2019 16:50     GOOG-DOJ-AT-00638342     GOOG-DOJ-AT-00638343        Google document                                     Highly Confidential   402, 403

PTX0773       5/21/2019 16:50     GOOG-DOJ-AT-01620840     GOOG-DOJ-AT-01620841        Google document                                     Highly Confidential   402, 403

PTX0774       5/21/2019 16:50     GOOG-DOJ-AT-02139336     GOOG-DOJ-AT-02139337        Google document                                     Highly Confidential   402, 403

PTX0775       5/25/2019 6:05      GOOG-DOJ-AT-00569956     GOOG-DOJ-AT-00569984        Google presentation                                 Highly Confidential   402, 403

PTX0776       5/25/2019 6:05      GOOG-DOJ-AT-02218556     GOOG-DOJ-AT-02218563        Google document                                     Highly Confidential   403

PTX0777       5/25/2019 6:05      GOOG-DOJ-AT-00086242     GOOG-DOJ-AT-00086247        Google presentation                                 Highly Confidential   402, 403
PTX0778       6/3/2019 22:01      GOOG-DOJ-14572783        GOOG-DOJ-14572787           Google document                                     Highly Confidential   403, 805
PTX0779       6/5/2019 23:50      GOOG-TEX-00856177        GOOG-TEX-00856179           Email from Chris Dawson to Nitish Korula            Highly Confidential   402, 403
PTX0780       6/6/2019 12:42      GOOG-TEX-00036588        GOOG-TEX-00036590           Email from Cheryl Cahoy to Chris LaSala et al.      Highly Confidential   402, 403

PTX0781       6/6/2019 18:58      GOOG-DOJ-AT-00752651     GOOG-DOJ-AT-00752653        Email from Sam Temes to Mimi Do Forsythe            Highly Confidential   403
PTX0782       6/6/2019 21:03      GOOG-DOJ-03242474        GOOG-DOJ-03242499           Google presentation                                 Highly Confidential

PTX0783       6/7/2019 22:47      GOOG-AT-MDL-001412832 GOOG-AT-MDL-001412834 Google document                                              Confidential          402, 403
PTX0784       6/10/2019 17:16     GOOG-DOJ-12948968     GOOG-DOJ-12948969     Email from Rahul Srinivasan to Payam Shodjai et al.          Confidential          402, 403

PTX0785       6/12/2019 21:15     GOOG-DOJ-AT-00570464     GOOG-DOJ-AT-00570484
                                                                              Google presentation                                          Highly Confidential   402
PTX0786       6/13/2019 18:27     GOOG-DOJ-06881716        GOOG-DOJ-06881720  Google document                                              Highly Confidential   402, 403, 805
                                                                              Email from Sam Cox (via Google Docs) to Google
PTX0787       6/13/2019 18:27     GOOG-AT-MDL-003798827 GOOG-AT-MDL-003798827 employee                                                     Confidential          106, 402, 403

PTX0788       6/13/2019 19:29     GOOG-AT-MDL-008312255 GOOG-AT-MDL-008312258          Google document                                     Confidential          402, 403
PTX0789       6/17/2019 20:18     GOOG-DOJ-11217440     GOOG-DOJ-11217465              Google document                                     Highly Confidential   402, 403
PTX0790       6/21/2019 3:26      GOOG-DOJ-15778327     GOOG-DOJ-15778335              Google document                                     Highly Confidential   402, 403
PTX0791       6/25/2019 0:31      GOOG-DOJ-13615208     GOOG-DOJ-13615243              Google presentation                                 Highly Confidential
PTX0792       6/25/2019 15:42     GOOG-DOJ-03242646     GOOG-DOJ-03242702              Google presentation                                 Highly Confidential
PTX0793       6/26/2019 13:48     GOOG-DOJ-11362042     GOOG-DOJ-11362049              Google document                                     Highly Confidential   402, 403
PTX0794       6/26/2019 13:52     GOOG-DOJ-02857734     GOOG-DOJ-02857805              Google presentation                                 Highly Confidential   402, 403



                                                                                       Page 21 of 54
                                                        United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                      Google's Objections to Plaintiffs’ Trial Exhibit List
                               Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 25 of 57 PageID# 21975
Trial Exhibit
                     Date                 Beg Bates                 End Bates                                  Description                             Confidentiality          Google Objection
  Number
PTX0795       6/26/2019 13:52     GOOG-DOJ-04445011        GOOG-DOJ-04445043           Google presentation                                          Highly Confidential   402, 403

PTX0796       7/3/2019 12:06      GOOG-DOJ-AT-01901774     GOOG-DOJ-AT-01901780        Google document                                              Highly Confidential   402, 403

PTX0797       7/5/2019 9:29       GOOG-DOJ-AT-00060165     GOOG-DOJ-AT-00060169        Google document                                              Highly Confidential   402, 403
PTX0798       7/10/2019 22:55     GOOG-DOJ-03637904        GOOG-DOJ-03637904           Google document                                              Highly Confidential   402, 403
PTX0799       7/11/2019 0:00      GOOG-DOJ-09876839        GOOG-DOJ-09876842           Email from Alex Bergersen to Rahul Srinivasan et al.         Highly Confidential   402, 403, 805
PTX0800       7/12/2019 0:00      GOOG-DOJ-10924738        GOOG-DOJ-10924742           Email from Bonita Stewart to Alex Bergersen et al.           Highly Confidential   402, 403, 805
PTX0801       7/12/2019 2:40      GOOG-DOJ-02857887        GOOG-DOJ-02857891           Email from Nitish Korula to Sagnik Nandy et al.              Highly Confidential   402, 403, 805
                                  GOOG-AT-MDL-B-           GOOG-AT-MDL-B-              Email from Dominic Tang to Phillipp Schindler et al., with
PTX0802       7/15/2019 19:15     000223608                000223634                   attachment                                                   Highly Confidential   402, 403
PTX0803       7/22/2019 10:19     COM-CID-00049151         COM-CID-00049152            Email from Cameron Miille to James Rooke                     Confidential          402, 403, 805
PTX0804       7/22/2019 22:32     GOOG-DOJ-09024203        GOOG-DOJ-09024205           Email from Jenni Stein to J. Dischler                        Highly Confidential   402, 403, 805
PTX0805       7/25/2019 20:16     GOOG-TEX-00109645        GOOG-TEX-00109669           Google document                                              Highly Confidential   402, 403

PTX0806                           GOOG-DOJ-AT-02077865     GOOG-DOJ-AT-02077869        INTENTIONALLY LEFT BLANK                                                           501
PTX0807       8/1/2019 8:01       GOOG-DOJ-04445741        GOOG-DOJ-04445806           Google presentation                                          Highly Confidential   403
PTX0808       8/1/2019 8:07       GOOG-DOJ-04445811        GOOG-DOJ-04445841           Google presentation                                          Highly Confidential   402, 403
PTX0809       8/1/2019 8:16       GOOG-DOJ-03081272        GOOG-DOJ-03081299           Google presentation                                          Highly Confidential
PTX0810       8/1/2019 8:17       GOOG-DOJ-03639032        GOOG-DOJ-03639076           Google presentation                                          Highly Confidential
PTX0811       8/1/2019 9:40       GOOG-DOJ-11788944        GOOG-DOJ-11789028           Google presentation                                          Highly Confidential
                                  GOOG-AT-MDL-B-           GOOG-AT-MDL-B-
PTX0812       8/1/2019 16:31      001644639                001644645                   Google document                                              Highly Confidential   402, 403

PTX0813       8/2/2019 23:42      GOOG-DOJ-AT-01130388     GOOG-DOJ-AT-01130390        Google document                                              Highly Confidential   403
PTX0814       8/7/2019 17:19      GOOG-DOJ-09712720        GOOG-DOJ-09712871           Google document                                              Highly Confidential   402, 403

PTX0815       8/8/2019 0:19       GOOG-DOJ-AT-01130391     GOOG-DOJ-AT-01130391        Google document                                              Highly Confidential   402, 403, 802

PTX0816       8/12/2019 16:37     GOOG-DOJ-AT-00597161     GOOG-DOJ-AT-00597162        Message from Nitish Korula to David Christian                Highly Confidential   402, 403
                                                                                       Email from Haskell Garon to Rahul Srinivasan et al., with
PTX0817       8/13/2019 0:00      GOOG-DOJ-13499783        GOOG-DOJ-13499791           attachment                                                   Highly Confidential   802, 805
                                                                                       Message generated by Nitish Korula (Google Docs)
PTX0818       8/13/2019 10:53     GOOG-DOJ-AT-00571933     GOOG-DOJ-AT-00571935        containing comments to document                              Highly Confidential   106
PTX0819       8/13/2019 18:43     GOOG-DOJ-09713317        GOOG-DOJ-09713323           Email from Rahul Srinivasan to Brad Bender et al.            Highly Confidential   805
PTX0820       8/14/2019 22:00     GOOG-DOJ-04195205        GOOG-DOJ-04195221           Google presentation                                          Highly Confidential   402
                                  GOOG-AT-MDL-B-           GOOG-AT-MDL-B-
PTX0821       8/16/2019 0:00      004039742                004039742          Google spreadsheet                                                    Highly Confidential   402, 403
PTX0822       8/16/2019 15:21     GOOG-DOJ-09176140        GOOG-DOJ-09176141  Google document                                                       Highly Confidential   403
                                                                              Email from Rita Ren to Giulio Minguzzi et al., with
PTX0823       8/16/2019 18:58     GOOG-AT-MDL-014303955 GOOG-AT-MDL-014303965 attachments                                                           Confidential          402, 403, 805

PTX0824       8/22/2019 15:15     GOOG-DOJ-AT-02274997     GOOG-DOJ-AT-02275007        Google document                                              Highly Confidential   402, 403, 805
PTX0825       8/22/2019 15:17     GOOG-DOJ-04600784        GOOG-DOJ-04600791           Google document                                              Highly Confidential   402, 403, 805
                                                                                       Email from Haskell Garon to Art Price et al., with
PTX0826       8/26/2019 0:36      GOOG-DOJ-15044036        GOOG-DOJ-15044044           attachment                                                   Highly Confidential   403, 805
PTX0827       8/27/2019 11:46     GOOG-DOJ-04600935        GOOG-DOJ-04600956           Google presentation                                          Highly Confidential
                                  GOOG-AT-MDL-B-           GOOG-AT-MDL-B-
PTX0828       8/28/2019 0:07      003992141                003992250                   Message from Brad Lassey to Chetna Bindra et al.             Highly Confidential   402, 403
PTX0829       8/28/2019 17:17     GOOG-TEX-00109851        GOOG-TEX-00109945           Google presentation                                          Highly Confidential   402, 403



                                                                                       Page 22 of 54
                                                           United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                         Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 26 of 57 PageID# 21976
Trial Exhibit
                       Date                 Beg Bates                  End Bates                                 Description                              Confidentiality         Google Objection
  Number

PTX0830         8/28/2019 20:01     GOOG-AT-MDL-003664876 GOOG-AT-MDL-003664876 Message from Nirmal Jayaram to Ali Amini                               Confidential          402, 403

PTX0831         8/30/2019 11:23     GOOG-DOJ-AT-00759468      GOOG-DOJ-AT-00759532        Google presentation                                          Highly Confidential   402, 403

PTX0832         8/30/2019 16:51     GOOG-DOJ-AT-01130405      GOOG-DOJ-AT-01130450        Google presentation                                          Highly Confidential   402, 403

PTX0833         8/30/2019 16:51     GOOG-AT-MDL-003674643 GOOG-AT-MDL-003674649 Message from Nirmal Jayaram to Nitish Korula                           Confidential          402, 403

PTX0834         9/1/2019 17:57      GOOG-DOJ-AT-00598634      GOOG-DOJ-AT-00598637        Message from Nitish Korula to Nirmal Jayaram                 Highly Confidential   402, 403
PTX0835         9/2/2019 1:23       GOOG-DOJ-10924864         GOOG-DOJ-10924881           Google presentation                                          Highly Confidential   403
PTX0836         9/3/2019 13:39      GOOG-DOJ-28486574         GOOG-DOJ-28486604           Google presentation                                          Confidential          402, 403, 805

PTX0837         9/3/2019 15:41      GOOG-AT-MDL-008987798 GOOG-AT-MDL-008987798 Email from Nitish Korula to Ali Amini et al.                           Confidential          402
PTX0838         9/4/2019 20:56      GOOG-DOJ-07290146     GOOG-DOJ-07290150     Email from Nirmal Jayaram to Sissie Hsiao et al.                       Highly Confidential   402, 403
PTX0839         9/5/2019 20:49      GOOG-DOJ-03247924     GOOG-DOJ-03247926     Google document                                                        Highly Confidential

PTX0840         9/5/2019 20:52      GOOG-AT-MDL-018620801 GOOG-AT-MDL-018620808 Google document                                                        Highly Confidential   402, 805

PTX0841         9/6/2019 3:07       GOOG-DOJ-AT-00055901      GOOG-DOJ-AT-00055906
                                                                                Google document                                                        Highly Confidential
PTX0842         9/8/2019 6:23       GOOG-DOJ-07290336         GOOG-DOJ-07290363 Google presentation                                                    Highly Confidential   403
PTX0843         9/9/2019 21:11      GOOG-DOJ-13500989         GOOG-DOJ-13500994 Email from George Levitte to Kurt Spoerer et al.                       Highly Confidential   402, 403
PTX0844         9/10/2019 2:39      GOOG-TEX-00036873         GOOG-TEX-00036878 Email from Chris LaSala to Nelson Hsu et al.                           Highly Confidential   402, 403, 805
PTX0845         9/10/2019 10:28     GOOG-DOJ-15564937         GOOG-DOJ-15564938 Email from Nitish Korula to Rob Hazan                                  Highly Confidential   106, 402, 403
                                                                                Email from Ali Amini to Bonnie Pericolosi et al., with
PTX0846         9/10/2019 22:04     GOOG-AT-MDL-001427607 GOOG-AT-MDL-001427611 attachment                                                             Confidential          402, 403
PTX0847         9/11/2019 10:41     GOOG-DOJ-04601261     GOOG-DOJ-04601261     Google document                                                        Highly Confidential   402, 403

PTX0848         9/11/2019 20:43     GOOG-AT-MDL-018356209 GOOG-AT-MDL-018356209 Message from Vidhya Srinivasan to Prabhakar Raghavan                   Highly Confidential   402, 403
                                                                                Message from Stuart Houston (via Google docs) to Rob
PTX0849         9/12/2019 14:03     GOOG-DOJ-15564967     GOOG-DOJ-15564968     Hazan                                                                  Highly Confidential   106, 403
PTX0850         9/13/2019 16:25     GOOG-DOJ-10494663     GOOG-DOJ-10494664     Google document                                                        Highly Confidential   402, 403
                                                                                Message from Aparna Pappu containing comments to
PTX0851         9/16/2019 14:41     GOOG-AT-MDL-018279549 GOOG-AT-MDL-018279549 document                                                               Highly Confidential   402, 403
PTX0852         9/18/2019 21:10     GOOG-TEX-00036879     GOOG-TEX-00036880     Google document                                                        Highly Confidential   403

PTX0853         9/23/2019 0:00      GOOG-AT-MDL-009005324 GOOG-AT-MDL-009005368 Google document                                                        Highly Confidential   402, 403

PTX0854         9/24/2019 6:44      GOOG-DOJ-AT-00573309      GOOG-DOJ-AT-00573313        Google document                                              Highly Confidential   402, 403, 805
                                                                                          Email from Bonnie Pericolosi to Elissa Murphy et al., with
PTX0855         9/25/2019 18:38     GOOG-DOJ-AT-01075120      GOOG-DOJ-AT-01075126        attachment                                                   Highly Confidential   402, 403
PTX0856         9/25/2019 18:04     GOOG-DOJ-11030354         GOOG-DOJ-11030357           Google document                                              Highly Confidential   402, 403

PTX0857         9/26/2019 17:44     GOOG-DOJ-AT-00573492      GOOG-DOJ-AT-00573496        Google document                                              Highly Confidential   402, 403, 805
PTX0858         10/1/2019 3:45      GOOG-DOJ-04736246         GOOG-DOJ-04736248           Google document                                              Highly Confidential   402, 403

PTX0859         10/1/2019 3:45      GOOG-DOJ-AT-02148045      GOOG-DOJ-AT-02148047        Google document                                              Highly Confidential   402, 403
PTX0860         10/1/2019 6:24      GOOG-DOJ-12059682         GOOG-DOJ-12059687           Google document                                              Highly Confidential   402, 403
PTX0861         10/1/2019 14:08     GOOG-DOJ-15772422         GOOG-DOJ-15772488           Google document                                              Highly Confidential   402, 403, 805
PTX0862         10/1/2019 23:00     GOOG-DOJ-03156193         GOOG-DOJ-03156193           Google document                                              Highly Confidential   402, 403



                                                                                          Page 23 of 54
                                                          United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                        Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 27 of 57 PageID# 21977
Trial Exhibit
                       Date                 Beg Bates                 End Bates                                 Description                         Confidentiality         Google Objection
  Number

PTX0863         10/2/2019 18:14     GOOG-DOJ-AT-00573670     GOOG-DOJ-AT-00573671        Google document                                         Highly Confidential   402, 403

PTX0864         10/3/2019 13:02     GOOG-AT-MDL-007344222 GOOG-AT-MDL-007344225 Email from Chris LaSala to Jason Spero                           Confidential          402, 403, 805

PTX0865         10/3/2019 16:22     GOOG-AT-MDL-001417312 GOOG-AT-MDL-001417317          Email from Kurt Spoerer to Alok Sheth et al.            Confidential          402, 403
PTX0866         10/3/2019 17:46     GOOG-DOJ-03641972     GOOG-DOJ-03641995              Google presentation                                     Highly Confidential
PTX0867         10/4/2019 6:57      GOOG-DOJ-14298902     GOOG-DOJ-14298917              Google presentation                                     Highly Confidential
PTX0868         10/7/2019 0:22      GOOG-DOJ-09715248     GOOG-DOJ-09715268              Google presentation                                     Highly Confidential   402, 403
PTX0869         10/8/2019 16:21     GOOG-DOJ-32022520     GOOG-DOJ-32022527              Email from Rob Hazan to Kurt Spoerer et al.             Confidential          402, 403, 501, 805
PTX0870         10/8/2019 19:53     GOOG-DOJ-32022536     GOOG-DOJ-32022543              Email from Alok Sheth to Alexander Belikoff et al.      Confidential          402, 403, 501, 805
PTX0871         10/9/2019 1:46      GOOG-DOJ-32022555     GOOG-DOJ-32022563              Email from Alok Sheth to Rahul Srinivasan et al.        Confidential          402, 403, 501, 805
PTX0872         10/9/2019 2:12      GOOG-DOJ-32022564     GOOG-DOJ-32022572              Email from Nitish Korula to Alok Sheth et al.           Confidential          402, 403, 805
PTX0873         10/9/2019 12:32     GOOG-DOJ-32022582     GOOG-DOJ-32022591              Email from Glenn Berntson to Kurt Spoerer et al.        Confidential          402, 403, 805
PTX0874         10/10/2019 20:15    GOOG-DOJ-27767851     GOOG-DOJ-27767857              Email from Aaron Kasman to Natalia Bergamaschi et al.   Confidential          402, 403, 805

PTX0875         10/11/2019 0:00     GOOG-DOJ-AT-01849832     GOOG-DOJ-AT-01849833        Email from David Goodman to Steven Shin et al.          Highly Confidential   402, 403
PTX0876         10/12/2019 0:32     GOOG-DOJ-12764044        GOOG-DOJ-12764051           Google document                                         Highly Confidential   402, 403
PTX0877         10/14/2019 21:27    GOOG-TEX-00841210        GOOG-TEX-00841212           Message from Nitish Korula to Rahul Srinivasan          Highly Confidential   402, 403

PTX0878         10/16/2019 20:44    GOOG-DOJ-AT-00475378     GOOG-DOJ-AT-00475417        Google presentation                                     Highly Confidential   402, 403

PTX0879         10/17/2019 1:13     GOOG-DOJ-AT-00832761     GOOG-DOJ-AT-00832797        Google presentation                                     Highly Confidential
PTX0880         10/18/2019 14:10    GOOG-DOJ-04387378        GOOG-DOJ-04387408           Google presentation                                     Highly Confidential

PTX0881         10/18/2019 14:10    GOOG-DOJ-AT-01811246     GOOG-DOJ-AT-01811276        Google presentation                                     Highly Confidential   402, 403

PTX0882         10/21/2019 20:48    GOOG-DOJ-AT-00045716     GOOG-DOJ-AT-00045731        Google document                                         Highly Confidential   402, 403, 805

PTX0883         10/23/2019 14:40    GOOG-DOJ-AT-00292252     GOOG-DOJ-AT-00292275        Google presentation                                     Highly Confidential   402, 403

PTX0884         10/23/2019 15:58    GOOG-AT-MDL-008991249 GOOG-AT-MDL-008991251 Email from Rahul Srinivasan to Chris Jenkins et al.              Highly Confidential   402, 403

PTX0885         10/23/2019 16:34    GOOG-DOJ-AT-01132905     GOOG-DOJ-AT-01132909        Email from David Garcia to Giulio Minguzzi et al.       Highly Confidential   402, 403

PTX0886         10/23/2019 16:34    GOOG-AT-MDL-008991256 GOOG-AT-MDL-008991260          Email from David Garcia to Giulio Minguzzi et al.       Highly Confidential   402, 403
PTX0887         10/25/2019 19:45    GOOG-DOJ-13503400     GOOG-DOJ-13503405              Google document                                         Highly Confidential   403, 805
PTX0888         10/29/2019 21:17    GOOG-DOJ-07294164     GOOG-DOJ-07294220              Google presentation                                     Highly Confidential   805
PTX0889         11/5/2019 18:27     GOOG-DOJ-09434884     GOOG-DOJ-09434891              Google document                                         Highly Confidential

PTX0890         11/7/2019 3:16      GOOG-DOJ-AT-02150100     GOOG-DOJ-AT-02150101        Google document                                         Highly Confidential   402, 403
                                    GOOG-AT-MDL-B-           GOOG-AT-MDL-B-
PTX0891         11/12/2019 20:59    003992377                003992377                   Message from Nitish Korula to Jonathan Pearson et al.   Highly Confidential   402, 403
PTX0892         11/15/2019 12:26    GOOG-DOJ-11728951        GOOG-DOJ-11729001           Google presentation                                     Highly Confidential   402, 403
PTX0893         11/22/2019 12:00    GOOG-DOJ-05782415        GOOG-DOJ-05782460-017       Google document                                         Highly Confidential   402, 403
PTX0894         11/22/2019 18:34    GOOG-DOJ-10667017        GOOG-DOJ-10667018           Email from Jim Garrison to Yumin Guo et al.             Highly Confidential   402, 403

PTX0895         11/25/2019 22:18    GOOG-AT-MDL-001397473 GOOG-AT-MDL-001397485 Google document                                                  Confidential          402, 403
                                    GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0896         12/3/2019 19:24     004309756             004309756             Message from Cyrus Beagley to Bonita Stewart                     Highly Confidential   402, 403



                                                                                         Page 24 of 54
                                                        United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                      Google's Objections to Plaintiffs’ Trial Exhibit List
                               Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 28 of 57 PageID# 21978
Trial Exhibit
                     Date                 Beg Bates                 End Bates                                 Description                          Confidentiality         Google Objection
  Number
PTX0897       12/4/2019 13:24     GOOG-DOJ-10422489        GOOG-DOJ-10422489           Email from Ali Nasiri Amini to Duke Dukellis et al.      Highly Confidential   402, 403
PTX0898       12/9/2019 13:52     GOOG-DOJ-11792911        GOOG-DOJ-11792917           Google presentation                                      Highly Confidential   402, 403
PTX0899       12/9/2019 15:57     GOOG-DOJ-12799286        GOOG-DOJ-12799316           Google presentation                                      Highly Confidential   402, 403

PTX0900       12/11/2019 22:00    GOOG-DOJ-AT-02275835     GOOG-DOJ-AT-02275845        Email from Jason Sigalos to Atoshi Shorey et al.         Highly Confidential   402, 403, 805

PTX0901       12/16/2019 21:14    GOOG-DOJ-AT-01479985     GOOG-DOJ-AT-01480004        Google document                                          Highly Confidential   402, 403, 805
PTX0902       12/17/2019 16:03    GOOG-DOJ-11147504        GOOG-DOJ-11147506           Email from Vlad Sinaniyev to Peentoo Patel et al.        Highly Confidential   402, 403, 805
                                  GOOG-AT-MDL-B-           GOOG-AT-MDL-B-
PTX0903       12/18/2019 2:35     004482111                004482113                   Message from Nitish Korula to Deepak Ravichandran        Highly Confidential   402, 403

PTX0904       12/20/2019 14:37    GOOG-DOJ-AT-01592535     GOOG-DOJ-AT-01592577        Google presentation                                      Highly Confidential   402, 403
PTX0905       12/31/2019 0:00     GOOG1-00005951           GOOG1-00005959              Google document                                          Confidential          402, 403

PTX0906       1/6/2020 18:28      GOOG-DOJ-AT-02276219     GOOG-DOJ-AT-02276230        Email from Atoshi Shorey to Sneh Prateek et al.          Highly Confidential   402, 403, 805

PTX0907       1/14/2020 16:10     GOOG-DOJ-AT-01018638     GOOG-DOJ-AT-01018640        Message from Nitish Korula to Justin Schuh et al.        Highly Confidential   402, 403

PTX0908       1/14/2020 16:10     GOOG-AT-MDL-011213261 GOOG-AT-MDL-011213263          Message from Nitish Korula to Justin Schuh et al.        Confidential          402, 403
                                  GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0909       1/14/2020 16:10     003871438             003871440                      Message from Nitish Korula to Justin Schuh et al.        Highly Confidential   402, 403
                                  GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0910       1/14/2020 16:10     003992529             003992531                      Message from Nitish Korula to Justin Schuh et al.        Highly Confidential   402, 403
                                  GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0911       1/14/2020 16:10     003992532             003992539                      Message from Nitish Korula to Deepak Ravichandran et al. Highly Confidential   402, 403
PTX0912       1/15/2020 18:14     GOOG-DOJ-10308470     GOOG-DOJ-10308476              Google document                                          Highly Confidential   402, 403, 805
PTX0913       1/22/2020 23:31     GOOG-DOJ-14549757     GOOG-DOJ-14549797              Google presentation                                      Highly Confidential   402, 403

PTX0914       1/27/2020 19:36     GOOG-AT-MDL-004059508 GOOG-AT-MDL-004059515          Google document                                          Confidential          402, 403, 805
PTX0915       1/28/2020 16:35     GOOG-DOJ-10963068     GOOG-DOJ-10963072              Email from Chris LaSala to Jason Spero et al.            Highly Confidential   402, 403
PTX0916       1/29/2020 14:37     GOOG-DOJ-11794721     GOOG-DOJ-11794756              Google presentation                                      Highly Confidential   402, 403
PTX0917       1/30/2020 18:17     GOOG-DOJ-09559968     GOOG-DOJ-09560022              Google presentation                                      Highly Confidential   402, 403

PTX0918       1/30/2020 23:19     GOOG-AT-MDL-012516284 GOOG-AT-MDL-012516285 Email from Chris Lee-Egan to Industryinfo et al.                  Highly Confidential   402, 403

PTX0919       1/30/2020 23:22     GOOG-AT-MDL-012516286 GOOG-AT-MDL-012516288 Email from Tyler Romeo to Chris Lee-Egan et al.                   Highly Confidential   402, 403

PTX0920       1/30/2020 23:26     GOOG-AT-MDL-012516289 GOOG-AT-MDL-012516290 Email from Sami Liedes to Chris Lee-Egan et al.                   Highly Confidential   402, 403

PTX0921       1/30/2020 23:27     GOOG-AT-MDL-012516291 GOOG-AT-MDL-012516293 Email from Matt Shubert to Tyler Romeo et al.                     Highly Confidential   402, 403

PTX0922       1/30/2020 23:31     GOOG-AT-MDL-012516294 GOOG-AT-MDL-012516296 Email from Yurii Zubrytskyi to Matt Shubert et al.                Highly Confidential   402, 403

PTX0923       1/31/2020 0:05      GOOG-AT-MDL-012516297 GOOG-AT-MDL-012516300 Email from Cory Slep to Yurii Zubrytskyi et al.                   Highly Confidential   402, 403

PTX0924       2/3/2020 16:46      GOOG-AT-MDL-012516308 GOOG-AT-MDL-012516311 Email from Chris Lee-Egan to Cory Slep et al.                     Highly Confidential   402, 403
PTX0925       2/4/2020 21:24      GOOG-DOJ-27768441     GOOG-DOJ-27768442     Email from Chris LaSala to Jason Spero et al.                     Confidential          402, 403

PTX0926       2/6/2020 0:00       GOOG-DOJ-AT-00046252     GOOG-DOJ-AT-00046252        Email from Giulio Minguzzi to Nancy Yoo et al.           Highly Confidential   402. 403




                                                                                       Page 25 of 54
                                                          United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                        Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 29 of 57 PageID# 21979
Trial Exhibit
                       Date                 Beg Bates                 End Bates                                 Description                        Confidentiality         Google Objection
  Number

PTX0927         2/6/2020 0:00       GOOG-DOJ-AT-00046256     GOOG-DOJ-AT-00046257        Email from Chris LaSala to Bonita Stewart et al.       Highly Confidential   402. 403
PTX0928         2/6/2020 23:48      GOOG-DOJ-09779876        GOOG-DOJ-09779881           Google document                                        Highly Confidential   403, 805

PTX0929         2/7/2020 11:39      GOOG-DOJ-AT-00575797     GOOG-DOJ-AT-00575798        Email from Casper Verhoofstad to Ehsan Maani et al.    Highly Confidential   402, 403

PTX0930         2/7/2020 16:44      GOOG-AT-MDL-007336172 GOOG-AT-MDL-007336173 Email from Giulio Minguzzi to Jennifer Cooper et al.            Confidential          402, 403

PTX0931         2/9/2020 18:03      GOOG-AT-MDL-008388423 GOOG-AT-MDL-008388423          Message from Brad Lassey to Justin Schuh et al.        Confidential          402, 403
                                    GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0932         2/9/2020 18:03      004439252             004439253                      Message from Brad Lassey to Chetna Bindra et al.       Highly Confidential   402, 403
PTX0933         2/11/2020 19:00     GOOG-DOJ-10310183     GOOG-DOJ-10310183              Message from Nitish Korula to Gregory Donaker et al.   Highly Confidential   402, 403
PTX0934         2/14/2020 8:39      GOOG-DOJ-10963387     GOOG-DOJ-10963403              Google document                                        Highly Confidential   402, 403, 805
PTX0935         2/18/2020 18:24     GOOG-DOJ-10310865     GOOG-DOJ-10310868              Email from Deepti Bhatnagar to Carl Burch et al.       Highly Confidential   402, 403
PTX0936         2/18/2020 18:24     GOOG-DOJ-15159418     GOOG-DOJ-15159421              Email from Deepti Bhatnagar to Carl Burch et al.       Highly Confidential   402, 403
PTX0937         2/18/2020 20:47     GOOG-DOJ-27799214     GOOG-DOJ-27799237              Google presentation                                    Confidential          402, 403

PTX0938         2/18/2020 22:29     GOOG-DOJ-AT-01458263     GOOG-DOJ-AT-01458275        Google document                                        Highly Confidential   402. 403, 805

PTX0939         2/19/2020 17:22     GOOG-AT-MDL-004326981 GOOG-AT-MDL-004327016          Google presentation                                    Highly Confidential   403
PTX0940         2/21/2020 15:12     GOOG-DOJ-12766268     GOOG-DOJ-12766293              Google document                                        Highly Confidential   402, 403, 805
PTX0941         2/21/2020 20:53     GOOG-DOJ-29671819     GOOG-DOJ-29671821              Google document                                        Confidential          402, 403, 805
PTX0942         2/22/2020 0:46      GOOG-DOJ-11733552     GOOG-DOJ-11733585              Google presentation                                    Highly Confidential   402, 403

PTX0943         2/24/2020 1:49      GOOG-DOJ-AT-01020260     GOOG-DOJ-AT-01020277        Google presentation                                    Highly Confidential   402, 403

PTX0944         2/25/2020 18:36     GOOG-DOJ-AT-00576527     GOOG-DOJ-AT-00576551        Google presentation                                    Highly Confidential   402, 403
PTX0945         2/26/2020 16:16     GOOG-DOJ-13233139        GOOG-DOJ-13233144           Google document                                        Highly Confidential   402, 403, 805

PTX0946         2/27/2020 17:29     GOOG-DOJ-AT-00855803     GOOG-DOJ-AT-00855813        Google presentation                                    Highly Confidential
                                    GOOG-AT-MDL-B-           GOOG-AT-MDL-B-
PTX0947         3/3/2020 18:20      004482114                004482114                   Message from Nirmal Jayaram to Nitish Korula           Highly Confidential   402, 403
PTX0948         3/6/2020 21:43      GOOG-DOJ-15257906        GOOG-DOJ-15257919           Google presentation                                    Highly Confidential   402, 403

PTX0949         3/16/2020 17:29     GOOG-DOJ-AT-00657480     GOOG-DOJ-AT-00657483        Message from Nitish Korula to Noam Wolf et al.         Highly Confidential   402, 403

PTX0950         3/26/2020 12:37     GOOG-DOJ-AT-00545771     GOOG-DOJ-AT-00545779        Email from Rob Malkin to Ryan Haggarty et al.          Highly Confidential   402, 403

PTX0951         3/27/2020 18:53     GOOG-DOJ-AT-01033363     GOOG-DOJ-AT-01033368        Google document                                        Highly Confidential   402, 403, 805

PTX0952         3/30/2020 16:57     GOOG-DOJ-AT-01687149     GOOG-DOJ-AT-01687151        Email from George Levitte to Uchechi Okereke et al.    Highly Confidential   402, 403

PTX0953         3/30/2020 22:22     GOOG-AT-MDL-001391532 GOOG-AT-MDL-001391545 Google document                                                 Highly Confidential   402, 403, 805
PTX0954         4/2/2020 17:36      GOOG-DOJ-13420249     GOOG-DOJ-13420253     Google document                                                 Highly Confidential   402, 403, 805

PTX0955         4/2/2020 21:41      GOOG-DOJ-AT-02221430     GOOG-DOJ-AT-02221439        Google document                                        Highly Confidential   403, 805
PTX0956         4/3/2020 16:16      GOOG-DOJ-15159832        GOOG-DOJ-15159881           Google presentation                                    Highly Confidential   402, 403

PTX0957         4/9/2020 17:00      GOOG-DOJ-AT-01155096     GOOG-DOJ-AT-01155105        Google document                                        Highly Confidential   402, 403
PTX0958         4/13/2020 19:33     GOOG-DOJ-15231673        GOOG-DOJ-15231679           Google document                                        Highly Confidential   402, 403, 805



                                                                                         Page 26 of 54
                                                           United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                         Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 30 of 57 PageID# 21980
Trial Exhibit
                       Date                 Beg Bates                  End Bates                                Description                  Confidentiality         Google Objection
  Number
                                    GOOG-AT-MDL-B-            GOOG-AT-MDL-B-
PTX0959         4/16/2020 21:43     004482121                 004482121                   Message from Nitish Korula to Abhita Chugh      Highly Confidential   402, 403

PTX0960         4/28/2020 18:51     GOOG-AT-MDL-006507508 GOOG-AT-MDL-006507509 Google document                                           Confidential
PTX0961         5/1/2020 0:12       GOOG-DOJ-15269440     GOOG-DOJ-15269443     Google document                                           Highly Confidential   402, 403, 805

PTX0962         5/5/2020 14:31      GOOG-DOJ-AT-01826536      GOOG-DOJ-AT-01826552
                                                                                Email from Chris LaSala to Keith Weisberg                 Highly Confidential   402, 403, 805
                                                                                Email from Nitish Korula to Charlie Reams, with
PTX0963         5/7/2020 12:38      GOOG-AT-MDL-004436650 GOOG-AT-MDL-004436670 attachment                                                Confidential          402, 403
PTX0964         5/24/2020 23:05     GOOG-DOJ-15159990     GOOG-DOJ-15160027     Google presentation                                       Highly Confidential   402, 403

PTX0965         6/3/2020 23:43      GOOG-DOJ-AT-00858505      GOOG-DOJ-AT-00858508        Google document                                 Highly Confidential   402, 403
PTX0966         6/8/2020 19:03      GOOG-DOJ-13980360         GOOG-DOJ-13980364           Google document                                 Highly Confidential   403, 805

PTX0967         6/9/2020 14:51      GOOG-AT-MDL-011555914 GOOG-AT-MDL-011555922 Message from Noam Wolf to Nitish Korula et al.            Confidential          402, 403

PTX0968         6/10/2020 17:15     GOOG-AT-MDL-011555941 GOOG-AT-MDL-011555941 Message from Nitish Korula to Steve Swan                  Confidential          402, 403
PTX0969         6/10/2020 19:45     GOOG-DOJ-13235212     GOOG-DOJ-13235382     Google presentation                                       Highly Confidential   402, 403

PTX0970         6/11/2020 19:34     GOOG-AT-MDL-009758672 GOOG-AT-MDL-009758674 Google presentation                                       Highly Confidential
PTX0971         6/15/2020 5:54      GOOG-DOJ-32280764     GOOG-DOJ-32280772     Google document                                           Confidential          402, 403

PTX0972         6/20/2020 2:30      GOOG-AT-MDL-019521344 GOOG-AT-MDL-019521345 Email from Ali Nasiri Amini to Sissie Hsiao et al.        Highly Confidential   402, 403
                                                                                Google webpage titled “How our display buying platforms
PTX0973         23/6/2020                                                       share revenue with publishers”

PTX0974         6/23/2020 21:36     GOOG-AT-MDL-007188258 GOOG-AT-MDL-007188258 Google spreadsheet                                        Confidential          402, 403
                                    GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX0975         6/30/2020 18:16     004482122             004482122             Message from Nitish Korula to Alok Sheth                  Highly Confidential   402, 403

PTX0976         7/17/2020 17:24     GOOG-DOJ-AT-00288371      GOOG-DOJ-AT-00288393        Google document                                 Highly Confidential   402, 403

PTX0977         7/24/2020 18:16     GOOG-AT-MDL-008666769 GOOG-AT-MDL-008666769 Google spreadsheet                                        Confidential          402, 403
PTX0978         7/27/2020 18:20     GOOG-DOJ-14436571     GOOG-DOJ-14436626     Google presentation                                       Highly Confidential   402, 403

PTX0979         8/3/2020 17:31      GOOG-DOJ-AT-01683587      GOOG-DOJ-AT-01683592        Google document                                 Highly Confidential   402, 403, 805

PTX0980         8/4/2020 17:39      GOOG-AT-MDL-016094163 GOOG-AT-MDL-016094167 Google document                                           Confidential          402, 403

PTX0981         8/13/2020 14:44     GOOG-DOJ-AT-02641400      GOOG-DOJ-AT-02641400        Google spreadsheet                              Highly Confidential

PTX0982         8/13/2020 16:01     GOOG-DOJ-AT-01511990      GOOG-DOJ-AT-01512004        Google document                                 Highly Confidential   402, 403

PTX0983         8/19/2020 16:35     GOOG-AT-MDL-015525071 GOOG-AT-MDL-015525077 Email from Vidhya Srinivasan to Jerry Dischler et al.     Confidential          402, 403

PTX0984         8/20/2020 14:20     GOOG-AT-MDL-004522085 GOOG-AT-MDL-004522129 Google presentation                                       Confidential          402, 403

PTX0985         8/22/2020 7:38      GOOG-DOJ-AT-01131007      GOOG-DOJ-AT-01131008        Google document                                 Highly Confidential   402, 403

PTX0986         8/24/2020 14:51     GOOG-AT-MDL-000034633 GOOG-AT-MDL-000034634 Email from Brett Benowitz to Benjamin Miller et al.       Confidential          402, 403



                                                                                          Page 27 of 54
                                                          United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                        Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 31 of 57 PageID# 21981
Trial Exhibit
                       Date                 Beg Bates                 End Bates                                 Description                      Confidentiality         Google Objection
  Number
                                    GOOG-AT-MDL-B-           GOOG-AT-MDL-B-
PTX0987         8/25/2020 15:44     003880468                003880483                   Message from Emily Kang to Aemilios Melis et al.     Highly Confidential   402, 403
PTX0988         8/26/2020 6:40      GOOG-DOJ-13127211        GOOG-DOJ-13127221           Google document                                      Highly Confidential   403, 805

PTX0989         9/1/2020 19:06      GOOG-DOJ-AT-00095374     GOOG-DOJ-AT-00095379        Message from Ali Nasiri Amini to Nitish Korula       Highly Confidential   402, 403

PTX0990         9/2/2020 20:21      GOOG-DOJ-AT-00859969     GOOG-DOJ-AT-00859969        Email from Nirmal Jayaram to Sissie Hsiao            Highly Confidential   402, 403

PTX0991         9/10/2020 18:04     GOOG-AT-MDL-004528300 GOOG-AT-MDL-004528327 Google presentation                                           Highly Confidential

PTX0992         9/16/2020 14:38     GOOG-DOJ-AT-01828942     GOOG-DOJ-AT-01828943        Message from Chris LaSala to Nash Islam              Highly Confidential   402, 403

PTX0993         9/24/2020 0:55      GOOG-AT-MDL-003977297 GOOG-AT-MDL-003977506 Google presentation                                           Highly Confidential

PTX0994         9/30/2020 21:15     GOOG-DOJ-AT-00620243     GOOG-DOJ-AT-00620247        Email from Andrew Hogue to Nitish Korula et al.      Highly Confidential   402, 403

PTX0995         10/12/2020 17:51    GOOG-DOJ-AT-00198548     GOOG-DOJ-AT-00198553        Message from Nitish Korula to Chetna Bindra          Highly Confidential   402, 403

PTX0996         10/19/2020 15:48    GOOG-DOJ-AT-00010835     GOOG-DOJ-AT-00010838        Email from Bonita Stewart to German Santana          Highly Confidential   402, 403

PTX0997         10/21/2020 1:55     GOOG-DOJ-AT-02641389     GOOG-DOJ-AT-02641396        Email from Chi Hea Cho to Pstaff et al.              Highly Confidential   402, 403

PTX0998         10/21/2020 19:10    GOOG-DOJ-AT-01815504     GOOG-DOJ-AT-01815572        Google presentation                                  Highly Confidential   403, 403
                                    GOOG-AT-MDL-B-           GOOG-AT-MDL-B-
PTX0999         10/29/2020 0:00     004731760                004731773                   Google presentation                                  Highly Confidential   402, 403

PTX1000         10/29/2020 16:44    GOOG-AT-MDL-014680318 GOOG-AT-MDL-014680320 Message from Vidhya Srinivasan to Christophe Combette         Confidential          402, 403

PTX1001         10/29/2020 23:49    GOOG-AT-MDL-007988633 GOOG-AT-MDL-007988640 Google document                                               Highly Confidential   402, 403

PTX1002         10/30/2020 0:59     GOOG-AT-MDL-019177661 GOOG-AT-MDL-019177674 Google presentation                                           Highly Confidential   402, 403

PTX1003         11/5/2020 21:57     GOOG-AT-MDL-004436720 GOOG-AT-MDL-004436755 Google document                                               Confidential          402, 403

PTX1004         11/30/2020 0:00     GOOG-DOJ-AT-01830500     GOOG-DOJ-AT-01830504        Email from Chris LaSala to Chetna Bindra et al.      Highly Confidential   402, 403, 805

PTX1005         12/14/2020 15:32    GOOG-AT-MDL-012138433 GOOG-AT-MDL-012138433 Google spreadsheet                                            Highly Confidential   402, 403

PTX1006         1/9/2021 2:10       GOOG-DOJ-AT-02129456     GOOG-DOJ-AT-02129470        Email from Richard Zippel to Yuwen Liu et al.        Highly Confidential   402, 403

PTX1007         1/17/2021 23:21     GOOG-AT-MDL-008162765 GOOG-AT-MDL-008162766 Email from Suzanne Blackburn to Sissie Hsiao et al.           Highly Confidential   402, 403

PTX1008         1/26/2021 0:23      GOOG-DOJ-AT-02224349     GOOG-DOJ-AT-02224354        Google document                                      Highly Confidential   402, 403, 805
                                    GOOG-AT-MDL-B-           GOOG-AT-MDL-B-
PTX1009         1/27/2021 15:22     004441375                004441375                   Message from Kevin Smilak to Erika Trautman et al.   Highly Confidential   402, 403

PTX1010         1/29/2021 16:48     GOOG-DOJ-AT-00029029     GOOG-DOJ-AT-00029040        Google document                                      Highly Confidential   402, 403, 805

PTX1011         2/5/2021 21:30      GOOG-AT-MDL-009583794 GOOG-AT-MDL-009583798 Google document                                               Confidential          402, 403




                                                                                         Page 28 of 54
                                                           United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                         Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 32 of 57 PageID# 21982
Trial Exhibit
                       Date                 Beg Bates                  End Bates                                Description                  Confidentiality          Google Objection
  Number

PTX1012         2/16/2021 20:27     GOOG-DOJ-AT-00330626      GOOG-DOJ-AT-00330692        Google presentation                             Highly Confidential

PTX1013         2/19/2021 13:24     GOOG-DOJ-AT-01131595      GOOG-DOJ-AT-01131598        Google document                                 Highly Confidential   402, 403, 805

PTX1014         2/25/2021 15:26     GOOG-DOJ-AT-01782271      GOOG-DOJ-AT-01782273        Google document                                 Highly Confidential   402, 403, 805

PTX1015         2/25/2021 19:02     GOOG-AT-MDL-006508384 GOOG-AT-MDL-006508385 Google document                                           Confidential          402, 403

PTX1016         3/1/2021 23:49      GOOG-AT-MDL-002358894 GOOG-AT-MDL-002358899 Google document                                           Highly Confidential   402, 403

PTX1017         3/2/2021 20:17      GOOG-DOJ-AT-02003161      GOOG-DOJ-AT-02003173        Google presentation                             Highly Confidential   402, 403

PTX1018         3/2/2021 20:24      GOOG-AT-MDL-011652369 GOOG-AT-MDL-011652580 Google document                                           Highly Confidential   402, 403, 805

PTX1019         3/4/2021 16:16      GOOG-AT-MDL-011558460 GOOG-AT-MDL-011558464 Message from Google employee to Dale Harrison             Confidential          402, 403

PTX1020         3/4/2021 16:16      GOOG-AT-MDL-018460922 GOOG-AT-MDL-018460924 Message from Google employee to Dale Harrison             Highly Confidential   402, 403

PTX1021         3/16/2021 15:25     GOOG-DOJ-AT-01537917      GOOG-DOJ-AT-01537925        Google document                                 Highly Confidential   402, 403, 805

PTX1022         4/1/2021 15:20      GOOG-AT-MDL-009584025 GOOG-AT-MDL-009584035 Message from Dan Taylor to Chris LaSala                   Confidential          402, 403
                                                                                Pew Research Center Report titled “Social Media Use in
PTX1023         7/4/2021                                                        2021”                                                                           402, 403, 805

PTX1024         4/10/2021 23:57     GOOG-AT-MDL-019516657 GOOG-AT-MDL-019516658 Email from Ali Nasiri Amini to Nitish Korula et al.       Highly Confidential   402, 403

PTX1025         4/12/2021 3:42      GOOG-AT-MDL-003285718 GOOG-AT-MDL-003285718 Email from Nirmal Jayaram to Matt Wong et al.             Confidential          402, 403

PTX1026         4/12/2021 22:05     GOOG-AT-MDL-019465728 GOOG-AT-MDL-019465732 Email from Charlotte Smith to Jerry Dischler et al.       Highly Confidential   402, 403, 805

PTX1027         4/22/2021 13:40     GOOG-AT-MDL-006636158 GOOG-AT-MDL-006636160 Email from Jessica Nussbaum to Lior Shenkar et al.        Highly Confidential   402, 403

PTX1028         4/26/2021 6:04      GOOG-AT-MDL-008880243 GOOG-AT-MDL-008880252 Google document                                           Confidential          402, 403, 805

PTX1029         5/10/2021 15:05     GOOG-AT-MDL-011619755 GOOG-AT-MDL-011619756 Google document                                           Confidential          402, 403, 805

PTX1030         5/17/2021 19:47     GOOG-AT-MDL-006508442 GOOG-AT-MDL-006508453 Google document                                           Highly Confidential

PTX1031         5/26/2021 8:16      GOOG-DOJ-AT-02199478      GOOG-DOJ-AT-02199555        Google presentation                             Highly Confidential

PTX1032         6/2/2021 21:29      GOOG-DOJ-AT-02096682      GOOG-DOJ-AT-02096692
                                                                                Google document                                           Highly Confidential   403
                                                                                Message involving Jim Giles, Aparna Pappu, and other
PTX1033         6/10/2021 17:09     GOOG-AT-MDL-010777654 GOOG-AT-MDL-010777658 Google employees                                          Confidential          402, 403

PTX1034         6/28/2021 19:59     GOOG-DOJ-AT-02301558      GOOG-DOJ-AT-02301626        Google presentation                             Highly Confidential   403

PTX1035         6/28/2021 20:00     GOOG-DOJ-AT-02204351      GOOG-DOJ-AT-02204391        Google presentation                             Highly Confidential   402, 403

PTX1036         7/13/2021 17:19     GOOG-AT-MDL-004549901 GOOG-AT-MDL-004549902 Google document                                           Highly Confidential



                                                                                          Page 29 of 54
                                                          United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                        Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 33 of 57 PageID# 21983
Trial Exhibit
                       Date                 Beg Bates                 End Bates                               Description                     Confidentiality          Google Objection
  Number
                                                          GOOG-AT-MDL-007363675-
PTX1037         7/16/2021 13:19     GOOG-AT-MDL-007363675 004                    Email from Charlotte Smith to Jerry Dischler et al.       Highly Confidential   402, 403
                                    GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX1038         7/27/2021 17:00     004440060             004440060              Message from Google employee to Jerry Dischler et al.     Highly Confidential   402, 403

PTX1039         7/27/2021 18:17     GOOG-AT-MDL-003404357 GOOG-AT-MDL-003404362 Email from Tim Craycroft to Ashish Gupta                   Highly Confidential

PTX1040         8/4/2021 0:51       GOOG-DOJ-AT-02321262     GOOG-DOJ-AT-02321272        Google document                                   Highly Confidential   402, 403

PTX1041         9/14/2021 13:49     GOOG-AT-MDL-003404482 GOOG-AT-MDL-003404485 Google document                                            Highly Confidential   402

PTX1042         9/15/2021 17:55     GOOG-AT-MDL-006690144 GOOG-AT-MDL-006690156 Google document                                            Highly Confidential   402, 805

PTX1043         9/21/2021 14:28     GOOG-AT-MDL-009758848 GOOG-AT-MDL-009758857 Google presentation                                        Confidential

PTX1044         9/23/2021 3:55      GOOG-AT-MDL-006778556 GOOG-AT-MDL-006778634 Google presentation                                        Highly Confidential   402, 403

PTX1045         9/23/2021 9:35      GOOG-AT-MDL-006609824 GOOG-AT-MDL-006609880 Google presentation                                        Highly Confidential

PTX1046         10/5/2021 0:47      GOOG-DOJ-AT-02517083     GOOG-DOJ-AT-02517083        Google document                                   Highly Confidential   402

PTX1047         10/27/2021 16:32    GOOG-AT-MDL-000888797 GOOG-AT-MDL-000888808 Google document                                            Confidential          403
                                                                                Email from Google employee to Carlos Granda et al., with
PTX1048         11/2/2021 15:16     GOOG-AT-MDL-007373729 GOOG-AT-MDL-007373736 attachments                                                Confidential          402, 403
                                                                                Email from Krishna Brown to Katie Baxter et al., with
PTX1049         11/30/2021 0:00     GOOG-AT-MDL-004388403 GOOG-AT-MDL-004388419 attachments                                                Highly Confidential   402, 805

PTX1050         12/1/2021 14:15     GOOG-AT-MDL-004379104 GOOG-AT-MDL-004379107 Email from Alyssa Raiola to Taylor Rizzolino et al.        Confidential

PTX1051         12/13/2021 14:39    GOOG-AT-MDL-017319069 GOOG-AT-MDL-017319142 Google document                                            Highly Confidential   402, 403, 802
                                                                                Email from Karsten Venna to Micah Markman et al., with
PTX1052         12/14/2021 0:00     GOOG-AT-MDL-008313255 GOOG-AT-MDL-008313280 attachment                                                 Highly Confidential   805
                                                                                Email from Sabrina Abuzahra to Aaron Storer et al., with
PTX1053         1/13/2022 0:00      GOOG-AT-MDL-004388616 GOOG-AT-MDL-004388672 attachment                                                 Highly Confidential

PTX1054         2/14/2022 17:14     GOOG-AT-MDL-004550123 GOOG-AT-MDL-004550125 Google document                                            Highly Confidential

PTX1055         2/24/2022 18:29     GOOG-AT-MDL-007319340 GOOG-AT-MDL-007319348 Google document                                            Highly Confidential   403

PTX1056         3/8/2022 17:04      GOOG-AT-MDL-004653519 GOOG-AT-MDL-004653526 Email from Alyssa Raiola to Michael Brunner et al.         Confidential          402

PTX1057         3/17/2022 16:12     GOOG-AT-MDL-015177997 GOOG-AT-MDL-015177997 Message from Rahul Kooverjee to Rahul Kooverjee            Confidential          106, 402, 403

PTX1058         3/30/2022 20:37     GOOG-AT-MDL-015178119 GOOG-AT-MDL-015178119 Message from Rahul Kooverjee to Rahul Kooverjee            Confidential          106, 402, 403

PTX1059         5/18/2022 0:07      GOOG-AT-MDL-006193952 GOOG-AT-MDL-006194001 Google presentation                                        Highly Confidential

PTX1060         5/20/2022 0:00      GOOG-AT-MDL-019567369 GOOG-AT-MDL-019567376 Google document                                            Highly Confidential

PTX1061         5/31/2022 17:15     GOOG-AT-MDL-006787466 GOOG-AT-MDL-006787471 Email from Michelle Hinkes to Sabrina Abuzahra et al.      Confidential          402



                                                                                         Page 30 of 54
                                                          United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                        Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 34 of 57 PageID# 21984
Trial Exhibit
                       Date                 Beg Bates                 End Bates                               Description                   Confidentiality          Google Objection
  Number

PTX1062         6/13/2022 13:45     GOOG-AT-MDL-004550185 GOOG-AT-MDL-004550186 Email from Danielle Perrella to Melanie Nash et al.      Confidential          402

PTX1063         6/27/2022 16:24     GOOG-AT-MDL-019357807 GOOG-AT-MDL-019357810 Google document                                          Highly Confidential   403, 805

PTX1064         6/30/2022 21:03     GOOG-AT-MDL-004568578 GOOG-AT-MDL-004568635 Google presentation                                      Highly Confidential

PTX1065         7/22/2022 20:43     GOOG-AT-MDL-004347222 GOOG-AT-MDL-004347222 Google document                                          Highly Confidential

PTX1066         7/29/2022 21:32     GOOG-AT-MDL-010525663 GOOG-AT-MDL-010525897 Email withheld for privilege with attachments            Highly Confidential   402, 403

PTX1067         7/31/2022 3:55      GOOG-AT-MDL-002641400 GOOG-AT-MDL-002641407 Email from Sushrut Karanjkar to Madeline Briere et al.   Confidential          402, 403

PTX1068         8/1/2022 14:27      GOOG-AT-MDL-001970341 GOOG-AT-MDL-001970358 Google document                                          Highly Confidential   403, 805

PTX1069         8/8/2022 21:15      GOOG-AT-MDL-008885721 GOOG-AT-MDL-008885757 Google document                                          Highly Confidential   402, 403

PTX1070         8/16/2022 18:30     GOOG-AT-MDL-008520405 GOOG-AT-MDL-008520407 Messages involving various Google employees              Confidential          402, 403, 805

PTX1071         8/19/2022 14:54     GOOG-AT-MDL-006156098 GOOG-AT-MDL-006156131 Google presentation                                      Confidential

PTX1072         8/21/2022 22:31     GOOG-AT-MDL-018529126 GOOG-AT-MDL-018529133 Google document                                          Highly Confidential   402, 805

PTX1073         9/16/2022 21:04     GOOG-AT-MDL-010523721 GOOG-AT-MDL-010523743 Google presentation                                      Confidential

PTX1074         9/20/2022 13:36     GOOG-AT-MDL-001793318 GOOG-AT-MDL-001793375 Google presentation                                      Highly Confidential

PTX1075         9/20/2022 17:27     GOOG-AT-MDL-008227470 GOOG-AT-MDL-008227470 Google spreadsheet                                       Highly Confidential   402, 403

PTX1076         9/26/2022 22:20     GOOG-AT-MDL-006816357 GOOG-AT-MDL-006816383 Google presentation                                      Highly Confidential

PTX1077         10/21/2022 16:21    GOOG-AT-MDL-008891508 GOOG-AT-MDL-008891508 Email from Allie Bodack to Jerry Dischler et al.         Highly Confidential   402, 403

PTX1078         10/21/2022 17:06    GOOG-AT-MDL-008891509 GOOG-AT-MDL-008891509 Email from Jerry Dischler to Allie Bodack et al.         Highly Confidential   402, 403

PTX1079         10/26/2022 14:12    GOOG-AT-MDL-001849256 GOOG-AT-MDL-001849258 Email from Alex Propes to Dan Taylor et al.              Confidential          402, 403, 805

PTX1080         10/28/2022 0:00     GOOG-DOJ-AT-02645892     GOOG-DOJ-AT-02645892        Google spreadsheet                              Highly Confidential

PTX1081         10/31/2022 18:43    GOOG-AT-MDL-008863320 GOOG-AT-MDL-008863322 Email from Ted Lazarus to Allie Bodack et al.            Confidential          402, 403

PTX1082         11/1/2022 12:56     GOOG-AT-MDL-008891538 GOOG-AT-MDL-008891543 Email from Allie Bodack to Ted Lazarus et al.            Highly Confidential   402, 403

PTX1083         11/1/2022 13:37     GOOG-AT-MDL-017191975 GOOG-AT-MDL-017191979 Email from Corey duBrowa to Sundar Pichai et al.         Highly Confidential   402, 403,

PTX1084         11/1/2022 14:36     GOOG-AT-MDL-004210331 GOOG-AT-MDL-004210334 Email from Alyssa Raiola to Sabrina Abuzahra et al.      Highly Confidential

PTX1085         11/4/2022 21:25     GOOG-AT-MDL-008886885 GOOG-AT-MDL-008886890 Google document                                          Highly Confidential   402, 403

PTX1086         11/8/2022 22:39     GOOG-AT-MDL-010689638 GOOG-AT-MDL-010689653 Google document                                          Highly Confidential   403, 805



                                                                                         Page 31 of 54
                                                           United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                         Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 35 of 57 PageID# 21985
Trial Exhibit
                       Date                 Beg Bates                  End Bates                               Description                    Confidentiality         Google Objection
  Number

PTX1087         11/10/2022 14:56    GOOG-AT-MDL-004530104 GOOG-AT-MDL-004530114 Google presentation                                        Confidential

PTX1088         11/17/2022 19:14    GOOG-AT-MDL-017803396 GOOG-AT-MDL-017803483 Google presentation                                        Highly Confidential   402, 403

PTX1089         11/21/2022 16:51    GOOG-AT-MDL-000992438 GOOG-AT-MDL-000992442 Google document                                            Highly Confidential

PTX1090         11/30/2022 21:03    GOOG-AT-MDL-004523396 GOOG-AT-MDL-004523405 Google document                                            Highly Confidential
                                                                                 Email from Jill Dozier to Gabrielle Scarpa et al., with
PTX1091         11/30/2022 21:03    GOOG-AT-MDL-008622817 GOOG-AT-MDL-008622840 attachments                                                Confidential
                                    GOOG-DOJ-05782415-    GOOG-DOJ-05782460-017-
PTX1092         12/2/2022 11:02     SQ20230508            SQ20230508             Google document                                           Confidential          402, 403

PTX1093         12/2/2022 11:02     GOOG-AT-MDL-019508780 GOOG-AT-MDL-019508824 Google document                                            Highly Confidential   402, 403

PTX1094         12/5/2022 16:17     GOOG-AT-MDL-007239240 GOOG-AT-MDL-007239319 Google document                                            Confidential          402, 403, 501

PTX1095         12/8/2022 4:06      GOOG-AT-MDL-009538757 GOOG-AT-MDL-009538795 Google presentation                                        Highly Confidential   402, 403

PTX1096         12/12/2022 0:00     GOOG-AT-MDL-006217592 GOOG-AT-MDL-006217626 Google document                                            Highly Confidential   402, 403

PTX1097         12/15/2022 18:15    GOOG-DOJ-AT-02649870      GOOG-DOJ-AT-02649870        Google spreadsheet                               Highly Confidential   402, 403

PTX1098         12/16/2022 0:00     GOOG-AT-MDL-006218257 GOOG-AT-MDL-006218270 Google document                                            Highly Confidential   402, 403

PTX1099         1/10/2023 13:53     GOOG-AT-MDL-019508860 GOOG-AT-MDL-019508897 Google document                                            Highly Confidential   402, 403

PTX1100         1/17/2023 13:50     GOOG-AT-MDL-004184989 GOOG-AT-MDL-004184990 Email from Sabrina Abuzahra to Alyssa Raiola               Highly Confidential

PTX1101         1/26/2023 18:34     GOOG-AT-MDL-009053112 GOOG-AT-MDL-009053114 Email from Allie Bodack (Google Docs) to Nitish Korula     Confidential          106, 402, 403

PTX1102         1/26/2023 19:36     GOOG-AT-MDL-008314345 GOOG-AT-MDL-008314479 Google presentation                                        Confidential

PTX1103         2/2/2023 13:38      GOOG-AT-MDL-012694825 GOOG-AT-MDL-012694840 Google document                                            Highly Confidential   402, 403
                                                                                Message from Aparna Pappu to Google employee, with
PTX1104         2/9/2023 15:26      GOOG-AT-MDL-007399442 GOOG-AT-MDL-007399459 attachments                                                Confidential          402, 403, 805
                                                                                Message from Aparna Pappu to Google employee, with
PTX1105         2/9/2023 15:26      GOOG-AT-MDL-008017534 GOOG-AT-MDL-008017551 attachments                                                Confidential          402, 403, 805

PTX1106         2/9/2023 16:58      GOOG-AT-MDL-009704804 GOOG-AT-MDL-009704809 Google presentation                                        Highly Confidential
                                                                                Message from Woojin Kim to Google employees, with
PTX1107         2/9/2023 18:40      GOOG-AT-MDL-012301658 GOOG-AT-MDL-012301664 attachments                                                Confidential          402, 403
                                                                                Message from Google employee m to Woojin Kim, with
PTX1108         2/9/2023 20:02      GOOG-AT-MDL-012301665 GOOG-AT-MDL-012301670 attachments                                                Confidential          402, 403

PTX1109         2/10/2023 16:39     GOOG-AT-MDL-008284272 GOOG-AT-MDL-008284327 Google document                                            Highly Confidential   402, 403

PTX1110         2/15/2023 16:59     GOOG-AT-MDL-018738445 GOOG-AT-MDL-018738447 Google presentation                                        Highly Confidential   402, 403

PTX1111         2/23/2023 19:12     GOOG-AT-MDL-004211429 GOOG-AT-MDL-004211459 Google presentation                                        Confidential          402, 403



                                                                                          Page 32 of 54
                                                          United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                        Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 36 of 57 PageID# 21986
Trial Exhibit
                       Date                Beg Bates                  End Bates                               Description                   Confidentiality          Google Objection
  Number
                                                                                Message from Chris Harris to Google employees, with
PTX1112         2/27/2023 17:15     GOOG-AT-MDL-008526909 GOOG-AT-MDL-008526909 attachment                                               Confidential          402, 403

PTX1113         3/1/2023 22:55      GOOG-AT-MDL-004347508 GOOG-AT-MDL-004347509 Google document                                          Highly Confidential

PTX1114         3/4/2023 1:02       GOOG-AT-MDL-007390501 GOOG-AT-MDL-007390527 Google presentation                                      Highly Confidential   403

PTX1115         3/8/2023 11:43      GOOG-AT-MDL-011642403 GOOG-AT-MDL-011642403 Google document                                          Confidential

PTX1116         3/9/2023 19:10      GOOG-AT-MDL-009017857 GOOG-AT-MDL-009017877 Google presentation                                      Highly Confidential

PTX1117         3/16/2023 19:25     GOOG-AT-MDL-019244380 GOOG-AT-MDL-019244385 Google document                                          Highly Confidential   402, 403

PTX1118         3/17/2023 16:38     GOOG-AT-MDL-009748859 GOOG-AT-MDL-009748886 Google presentation                                      Confidential

PTX1119         3/20/2023 15:11     GOOG-AT-MDL-014331375 GOOG-AT-MDL-014331379 Google presentation                                      Highly Confidential   402, 403

PTX1120         5/5/2023 2:50       GOOG-AT-MDL-011817471 GOOG-AT-MDL-011817491 Google presentation                                      Confidential

PTX1121         5/10/2023 14:39     GOOG-AT-MDL-006823531 GOOG-AT-MDL-006823577 Google presentation                                      Confidential

PTX1122         6/8/2023 20:43      GOOG-AT-MDL-009831407 GOOG-AT-MDL-009831419 Google presentation                                      Confidential          402, 403

PTX1123         6/8/2023 20:45      GOOG-AT-MDL-009838112 GOOG-AT-MDL-009838114 Google document                                          Confidential          402, 403

PTX1124         6/9/2023 2:15       GOOG-AT-MDL-013133578 GOOG-AT-MDL-013133608 Google presentation                                      Highly Confidential   403

PTX1125         6/9/2023 2:47       GOOG-AT-MDL-010267418 GOOG-AT-MDL-010267439 Google presentation                                      Confidential

PTX1126         6/9/2023 2:50       GOOG-AT-MDL-010272691 GOOG-AT-MDL-010272710 Google document                                          Confidential          402, 403

PTX1127         6/9/2023 15:35      GOOG-AT-MDL-017424763 GOOG-AT-MDL-017424844 Google document                                          Highly Confidential   402, 403

PTX1128         6/9/2023 15:53      GOOG-AT-MDL-013290051 GOOG-AT-MDL-013290062 Google document                                          Highly Confidential   402, 403

PTX1129         6/9/2023 16:01      GOOG-AT-MDL-013293586 GOOG-AT-MDL-013293611 Google presentation                                      Highly Confidential   402, 403

PTX1130         6/9/2023 16:01      GOOG-AT-MDL-016927030 GOOG-AT-MDL-016927089 Google presentation                                      Confidential          403, 805

PTX1131         6/16/2023 14:31     GOOG-AT-MDL-007393541 GOOG-AT-MDL-007393560 Google presentation                                      Confidential          402, 403

PTX1132         6/16/2023 14:31     GOOG-AT-MDL-007393571 GOOG-AT-MDL-007393586 Google presentation                                      Confidential          402, 403

PTX1133         6/16/2023 14:31     GOOG-AT-MDL-007393486 GOOG-AT-MDL-007393490 Google document                                          Confidential          402, 403

PTX1134         6/16/2023 14:31     GOOG-AT-MDL-007393502 GOOG-AT-MDL-007393511 Google document                                          Confidential          402, 403

PTX1135         6/22/2023 3:37      GOOG-AT-MDL-019233838 GOOG-AT-MDL-019233843 Google document                                          Highly Confidential   402, 403, 501

PTX1136         6/22/2023 3:42      GOOG-AT-MDL-012198323 GOOG-AT-MDL-012198353 Google presentation                                      Confidential          403



                                                                                         Page 33 of 54
                                                           United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                         Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 37 of 57 PageID# 21987
Trial Exhibit
                       Date                 Beg Bates                  End Bates                               Description                     Confidentiality        Google Objection
  Number

PTX1137         6/22/2023 10:10     GOOG-AT-MDL-009969527 GOOG-AT-MDL-009969563 Google presentation                                         Confidential         402, 403

PTX1138         6/22/2023 15:51     GOOG-AT-MDL-016481501 GOOG-AT-MDL-016481514 Google presentation                                        Confidential          402, 403
PTX1139         6/29/2023 2:51      GOOG-DOJ-05539231     GOOG-DOJ-05539258     Google presentation                                        Confidential          403, 805
                                                                                Google webpage titled “Advertising with Google Ad
PTX1140         6/29/2023 8:15      DOJ-ADS-0000068967    DOJ-ADS-0000068967    Manager - Google Ad Manager Help”
                                                                                Google webpage titled “Compare Ad Manager and AdSense
PTX1141         6/29/2023 8:17      DOJ-ADS-0000068999    DOJ-ADS-0000069000    - Google Ad Manager Help”
                                                                                Google webpage titled “Ad selection white paper - Google
PTX1142         6/29/2023 8:20      DOJ-ADS-0000068949    DOJ-ADS-0000068952    Ad Manager Help”
                                                                                Google webpage titled “Changes to Google Ad Manager -
PTX1143         6/29/2023 8:24      DOJ-ADS-0000068975    DOJ-ADS-0000068980    Google Ad Manager Help”
                                                                                Google webpage titled “Compare Ad Manager, AdSense,
PTX1144         6/29/2023 8:24      DOJ-ADS-0000069001    DOJ-ADS-0000069003    and AdMob - Google Ad Manager Help”
                                                                                Google webpage titled “Ways of transacting in Ad Manager
PTX1145         6/29/2023 8:33      DOJ-ADS-0000069253    DOJ-ADS-0000069255    - Google Ad Manager Help”
                                                                                Google webpage titled “Protected Audience API origin trial
PTX1146         6/29/2023 8:43      DOJ-ADS-0000069182    DOJ-ADS-0000069186    and Ad Manager - Google Ad Manager Help”
                                                                                Google webpage titled “Topics API and Ad Manager -
PTX1147         6/29/2023 8:45      DOJ-ADS-0000069220    DOJ-ADS-0000069221    Google Ad Manager Help”
                                                                                Google webpage titled “Ad Manager testing updates -
PTX1148         6/29/2023 8:45      DOJ-ADS-0000068946    DOJ-ADS-0000068948    Google Ad Manager Help”
                                                                                Google webpage titled “Programmatic Guaranteed deals -
PTX1149         6/29/2023 9:21      DOJ-ADS-0000069171    DOJ-ADS-0000069179    Display & Video 360 Help”
                                                                                Google webpage titled “Clickthrough rate (CTR)_
PTX1150         6/29/2023 9:45      DOJ-ADS-0000069315    DOJ-ADS-0000069315    Definition - Google Ads Help”
                                                                                Google webpage titled “Cookie_ Definition - Google Ads
PTX1151         6/29/2023 9:48      DOJ-ADS-0000069327    DOJ-ADS-0000069327    Help”
                                                                                Google webpage titled “Cost-per-click (CPC)_ Definition -
PTX1152         6/29/2023 9:49      DOJ-ADS-0000069331    DOJ-ADS-0000069331    Google Ads Help”
                                                                                Google webpage titled “Cost-per-thousand impressions
PTX1153         6/29/2023 9:49      DOJ-ADS-0000069332    DOJ-ADS-0000069332    (CPM)_ Definition - Google Ads Help”
                                                                                Google webpage titled “Display Network_ Definition -
PTX1154         6/29/2023 9:52      DOJ-ADS-0000069348    DOJ-ADS-0000069348    Google Ads Help”
                                                                                Google webpage titled “Display partners - Google Ads
PTX1155         6/29/2023 9:52      DOJ-ADS-0000069349    DOJ-ADS-0000069349    Help”
                                                                                Google webpage titled “Frequency capping_ Definition -
PTX1156         6/29/2023 10:27     DOJ-ADS-0000069367    DOJ-ADS-0000069367    Google Ads Help”
                                                                                Google webpage titled “Google tag ID_ Definition - Google
PTX1157         6/29/2023 10:30     DOJ-ADS-0000069393    DOJ-ADS-0000069393    Ads Help”
PTX1158         6/29/2023 10:37     DOJ-ADS-0000069429    DOJ-ADS-0000069429    Google webpage titled “Mobile ad - Google Ads Help”
                                                                                Google webpage titled “Target cost-per-thousand
PTX1159         6/29/2023 11:50     DOJ-ADS-0000069476    DOJ-ADS-0000069476    impressions (tCPM)_ Definition - Google Ads Help”
                                                                                Google webpage titled “Choose a bid for your Display
PTX1160         6/29/2023 12:00     DOJ-ADS-0000068986    DOJ-ADS-0000068988    Network campaign - Google Ads Help”
                                                                                Google webpage titled “About Display ads and the Google
PTX1161         6/29/2023 12:47     DOJ-ADS-0000068848    DOJ-ADS-0000068850    Display Network - Google Ads Help”
                                                                                Google webpage titled “Ad Exchange in Google Ad
PTX1162         6/29/2023 13:19     DOJ-ADS-0000068936    DOJ-ADS-0000068938    Manager - Google Ad Manager Help”



                                                                                          Page 34 of 54
                                                       United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                     Google's Objections to Plaintiffs’ Trial Exhibit List
                              Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 38 of 57 PageID# 21988
Trial Exhibit
                       Date              Beg Bates                 End Bates                                Description                           Confidentiality   Google Objection
  Number
                                                                                      Google webpage titled “Unified pricing rules - Google Ad
PTX1163         6/29/2023 16:25   DOJ-ADS-0000069238      DOJ-ADS-0000069242          Manager Help”
                                                                                      Google webpage titled “Choose your Smart Bidding
PTX1164         6/29/2023 17:11   DOJ-ADS-0000068997      DOJ-ADS-0000068998          strategy for Display campaigns - Google Ads Help”
                                                                                      Google webpage titled “About targeting for Display
PTX1165         6/29/2023 17:20   DOJ-ADS-0000068914      DOJ-ADS-0000068915          campaigns - Google Ads Help”
                                                                                      Google webpage titled “Reach your audience on apps and
PTX1166         6/29/2023 17:23   DOJ-ADS-0000069187      DOJ-ADS-0000069188          websites - Google Ads Help”
                                                                                      Google webpage titled “How Google Ad Manager works
PTX1167         6/29/2023 17:24   DOJ-ADS-0000069111      DOJ-ADS-0000069112          with Google Ads - Google Ads Help”
                                                                                      Google webpage titled “Why AdSense? - Google AdSense
PTX1168         6/29/2023 17:26   DOJ-ADS-0000069258      DOJ-ADS-0000069258          Help”
                                                                                      Google webpage titled “Difference between AdSense and
PTX1169         6/29/2023 17:27   DOJ-ADS-0000069032      DOJ-ADS-0000069032          Google Ads - Google AdSense Help”
                                                                                      Google webpage titled “AdSense revenue share - Google
PTX1170         6/29/2023 17:28   DOJ-ADS-0000068965      DOJ-ADS-0000068966          AdSense Help”
                                                                                      Google webpage titled “Ad impressions - Google AdSense
PTX1171         6/29/2023 17:59   DOJ-ADS-0000069506      DOJ-ADS-0000069506          Help”

PTX1172         6/29/2023 18:00   DOJ-ADS-0000069510      DOJ-ADS-0000069510          Google webpage titled “Ad RPM - Google AdSense Help”

PTX1173         6/29/2023 18:01   DOJ-ADS-0000069522      DOJ-ADS-0000069522          Google webpage titled “Bid type - Google AdSense Help”
                                                                                      Google webpage titled “Conversion - Google AdSense
PTX1174         6/29/2023 18:03   DOJ-ADS-0000069529      DOJ-ADS-0000069529          Help”

PTX1175         6/29/2023 18:03   DOJ-ADS-0000069530      DOJ-ADS-0000069530          Google webpage titled “Cookies - Google AdSense Help”
                                                                                      Google webpage titled “Cost-per-click (CPC) - Google
PTX1176         6/29/2023 18:03   DOJ-ADS-0000069531      DOJ-ADS-0000069531          AdSense Help”

PTX1177         6/29/2023 18:03   DOJ-ADS-0000069534      DOJ-ADS-0000069534          Google webpage titled “CPM ads - Google AdSense Help”
                                                                                      Google webpage titled “Choose the right campaign type -
PTX1178         6/29/2023 18:22   DOJ-ADS-0000068992      DOJ-ADS-0000068996          Google Ads Help”
                                                                                      Google webpage titled “About similar segments on the
PTX1179         6/29/2023 18:45   DOJ-ADS-0000068893      DOJ-ADS-0000068896          Display Network - Google Ads Help”
                                                                                      Google webpage titled “Understand how location is used by
PTX1180         6/29/2023 18:48   DOJ-ADS-0000069234      DOJ-ADS-0000069235          Google’s Display Network - Google Ads Help”
                                                                                      Google webpage titled “About Manual CPC bidding -
PTX1181         6/29/2023 22:01   DOJ-ADS-0000068865      DOJ-ADS-0000068867          Google Ads Help”
                                                                                      Google webpage titled “What is inventory_ - Google Ad
PTX1182         6/29/2023 22:18   DOJ-ADS-0000069257      DOJ-ADS-0000069257          Manager Help”
                                                                                      Google webpage titled “Inventory formats - Google Ad
PTX1183         6/29/2023 22:20   DOJ-ADS-0000069137      DOJ-ADS-0000069141          Manager Help”
                                                                                      Google webpage titled “Maximize revenue with Google Ad
PTX1184         6/29/2023 22:39   DOJ-ADS-0000069147      DOJ-ADS-0000069147          Manager and AdSense - Google Ad Manager Help”
                                                                                      Google webpage titled “Ad Exchange line items - Google
PTX1185         6/29/2023 22:39   DOJ-ADS-0000068939      DOJ-ADS-0000068941          Ad Manager Help”
                                                                                      Google webpage titled “Media purchase options on the
PTX1186         6/29/2023 22:45   DOJ-ADS-0000069148      DOJ-ADS-0000069148          Display Network - Google Ads Help”
                                                                                      Google webpage titled “How Open Bidding works - Google
PTX1187         6/29/2023 22:47   DOJ-ADS-0000069124      DOJ-ADS-0000069127          Ad Manager Help”



                                                                                      Page 35 of 54
                                                          United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                        Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 39 of 57 PageID# 21989
Trial Exhibit
                       Date                 Beg Bates                 End Bates                               Description                   Confidentiality          Google Objection
  Number

PTX1188         7/12/2023 21:28     GOOG-AT-MDL-008930621 GOOG-AT-MDL-008930628 Alphabet presentation                                    Confidential          402, 403

PTX1189         7/14/2023 19:37     GOOG-AT-MDL-008930806 GOOG-AT-MDL-008930823 Alphabet presentation                                    Confidential          402, 403

PTX1190         8/2/2023 20:57      GOOG-AT-MDL-009013129 GOOG-AT-MDL-009013137 Google document                                          Confidential          402, 403

PTX1191         8/2/2023 20:57      GOOG-AT-MDL-009013186 GOOG-AT-MDL-009013191 Google presentation                                      Confidential          402, 403

PTX1192         8/3/2023 16:29      GOOG-AT-MDL-009013736 GOOG-AT-MDL-009013739 Google document                                          Confidential          402, 403

PTX1193         8/4/2023 0:00       GOOG-AT-MDL-008842393 GOOG-AT-MDL-008842406 Google document                                          Highly Confidential   402, 403

PTX1194         8/24/2023 19:15     GOOG-AT-MDL-009589764 GOOG-AT-MDL-009589767 Google document                                          Highly Confidential   402, 403

PTX1195         8/31/2023 0:00      GOOG-AT-MDL-009644649 GOOG-AT-MDL-009644649 Launch ID Rasta Screenshot                               Highly Confidential   402
                                                                                EY, “Financial Reporting Developments - Revenue from
PTX1196         12/9/2023                                                       Contracts with Customers (ASC 606)”                                            402, 403, 901
                                                                                Financial Accounting Foundation, “606 Revenue from
PTX1197         16/11/2023                                                      Contracts with Customers”                                                      402, 403, 901

PTX1198         12/1/2023 0:00      GOOG-AT-MDL-019567386 GOOG-AT-MDL-019567393 Google document                                          Highly Confidential
PTX1199         22/12/2023                                                      Figure 4, Initial Expert Report of Timothy Simcoe        Highly Confidential   402, 403
PTX1200         22/12/2023                                                      Figure 5, Initial Expert Report of Timothy Simcoe        Highly Confidential   402, 403
PTX1201         22/12/2023                                                      Figure 6, Initial Expert Report of Timothy Simcoe        Highly Confidential   402, 403
PTX1202         22/12/2023                                                      Figure 7, Initial Expert Report of Timothy Simcoe        Highly Confidential   402, 403
PTX1203         22/12/2023                                                      Figure 8, Initial Expert Report of Timothy Simcoe        Highly Confidential   402, 403
PTX1204         22/12/2023                                                      Figure 14, Initial Expert Report of Timothy Simcoe       Highly Confidential   402, 403
PTX1205         22/12/2023                                                      Figure 15, Initial Expert Report of Timothy Simcoe       Highly Confidential   402, 403
PTX1206         22/12/2023                                                      Figure 16, Initial Expert Report of Timothy Simcoe       Highly Confidential   402, 403
PTX1207         22/12/2023                                                      Figure 17, Initial Expert Report of Timothy Simcoe       Highly Confidential   402, 403
PTX1208         22/12/2023                                                      Figure 18, Initial Expert Report of Timothy Simcoe       Highly Confidential   402, 403
PTX1209         22/12/2023                                                      Figure 19, Initial Expert Report of Timothy Simcoe       Highly Confidential   402, 403
PTX1210         22/12/2023                                                      Figure 20, Initial Expert Report of Timothy Simcoe       Highly Confidential   402, 403
PTX1211         22/12/2023                                                      Figure 21, Initial Expert Report of Timothy Simcoe       Highly Confidential   402, 403
PTX1212         22/12/2023                                                      Figure 22, Initial Expert Report of Timothy Simcoe       Highly Confidential   402, 403
PTX1213         22/12/2023                                                      Figure 25, Initial Expert Report of Timothy Simcoe       Highly Confidential   402, 403
PTX1214         22/12/2023                                                      Figure 26, Initial Expert Report of Timothy Simcoe       Highly Confidential   402, 403
PTX1215         22/12/2023                                                      Figure 27, Initial Expert Report of Timothy Simcoe       Highly Confidential   402, 403
PTX1216         22/12/2023                                                      Figure 28, Initial Expert Report of Timothy Simcoe       Highly Confidential   402, 403
PTX1217         22/12/2023                                                      Figure 29, Initial Expert Report of Timothy Simcoe       Highly Confidential   402, 403
PTX1218         22/12/2023                                                      Figure 35, Initial Expert Report of Timothy Simcoe       Highly Confidential   402, 403
PTX1219         22/12/2023                                                      Figure 36, Initial Expert Report of Timothy Simcoe       Highly Confidential   402, 403
PTX1220         22/12/2023                                                      Figure 37, Initial Expert Report of Timothy Simcoe       Highly Confidential   402, 403
PTX1221         22/12/2023                                                      Figure 38, Initial Expert Report of Timothy Simcoe       Highly Confidential   402, 403
PTX1222         22/12/2023                                                      Figure 13, Initial Expert Report of Thomas Respess       Highly Confidential   402, 403
PTX1223         22/12/2023                                                      Figure 15, Initial Expert Report of Thomas Respess       Highly Confidential   402, 403
PTX1224         22/12/2023                                                      Figure 28, Initial Expert Report of Thomas Respess       Highly Confidential   402, 403
PTX1225         22/12/2023                                                      Figure 30, Initial Expert Report of Thomas Respess       Highly Confidential   402, 403
PTX1226         22/12/2023                                                      Figure 31, Initial Expert Report of Thomas Respess       Highly Confidential   402, 403



                                                                                         Page 36 of 54
                                                United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                              Google's Objections to Plaintiffs’ Trial Exhibit List
                            Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 40 of 57 PageID# 21990
Trial Exhibit
                     Date           Beg Bates               End Bates                                 Description                     Confidentiality         Google Objection
  Number
PTX1227       22/12/2023                                                       Figure 23, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1228       22/12/2023                                                       Figure 31, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1229       22/12/2023                                                       Figure 32, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1230       22/12/2023                                                       Figure 34, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1231       22/12/2023                                                       Figure 35, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1232       22/12/2023                                                       Figure 36, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1233       22/12/2023                                                       Figure 51, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1234       22/12/2023                                                       Figure 37, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1235       22/12/2023                                                       Figure 38, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1236       22/12/2023                                                       Figure 45, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1237       22/12/2023                                                       Figure 47, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1238       22/12/2023                                                       Figure 48, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1239       22/12/2023                                                       Figure 49, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1240       22/12/2023                                                       Figure 50, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1241       22/12/2023                                                       Figure 54, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1242       22/12/2023                                                       Figure 55, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1243       22/12/2023                                                       Figure 56, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1244       22/12/2023                                                       Figure 57, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1245       22/12/2023                                                       Figure 66, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1246       22/12/2023                                                       Figure 67, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1247       22/12/2023                                                       Figure 73, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1248       22/12/2023                                                       Figure 74, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1249       22/12/2023                                                       Figure 78, Initial Expert Report of Robin S. Lee    Highly Confidential
PTX1250       22/12/2023                                                       Figure 80, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1251       22/12/2023                                                       Figure 81, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1252       22/12/2023                                                       Figure 82, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1253       22/12/2023                                                       Figure 83, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1254       22/12/2023                                                       Figure 84, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1255       22/12/2023                                                       Figure 85, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1256       22/12/2023                                                       Figure 86, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1257       22/12/2023                                                       Figure 87, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1258       22/12/2023                                                       Figure 88, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1259       22/12/2023                                                       Figure 89, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1260       22/12/2023                                                       Figure 90, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1261       22/12/2023                                                       Figure 91, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1262       22/12/2023                                                       Figure 92, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1263       22/12/2023                                                       Figure 93, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1264       22/12/2023                                                       Figure 94, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1265       22/12/2023                                                       Figure 95, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1266       22/12/2023                                                       Figure 96, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1267       22/12/2023                                                       Figure 97, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1268       22/12/2023                                                       Figure 98, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1269       22/12/2023                                                       Figure 99, Initial Expert Report of Robin S. Lee    Highly Confidential   402, 403
PTX1270       22/12/2023                                                       Figure 100, Initial Expert Report of Robin S. Lee   Highly Confidential   402, 403
PTX1271       22/12/2023                                                       Figure 101, Initial Expert Report of Robin S. Lee   Highly Confidential   402, 403
PTX1272       22/12/2023                                                       Figure 102, Initial Expert Report of Robin S. Lee   Highly Confidential   402, 403
PTX1273       22/12/2023                                                       Figure 103, Initial Expert Report of Robin S. Lee   Highly Confidential   402, 403
PTX1274       22/12/2023                                                       Figure 104, Initial Expert Report of Robin S. Lee   Highly Confidential   402, 403
PTX1275       22/12/2023                                                       Figure 105, Initial Expert Report of Robin S. Lee   Highly Confidential   402, 403
PTX1276       22/12/2023                                                       Figure 106, Initial Expert Report of Robin S. Lee   Highly Confidential   402, 403



                                                                               Page 37 of 54
                                                United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                              Google's Objections to Plaintiffs’ Trial Exhibit List
                            Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 41 of 57 PageID# 21991
Trial Exhibit
                     Date           Beg Bates               End Bates                                 Description                          Confidentiality         Google Objection
  Number
PTX1277       22/12/2023                                                       Figure 107, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1278       22/12/2023                                                       Figure 108, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1279       22/12/2023                                                       Figure 109, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1280       22/12/2023                                                       Figure 110, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1281       22/12/2023                                                       Figure 111, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1282       22/12/2023                                                       Figure 112, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1283       22/12/2023                                                       Figure 113, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1284       22/12/2023                                                       Figure 114, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1285       22/12/2023                                                       Figure 115, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1286       22/12/2023                                                       Figure 116, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1287       22/12/2023                                                       Figure 117, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1288       22/12/2023                                                       Figure 118, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1289       22/12/2023                                                       Figure 119, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1290       22/12/2023                                                       Figure 120, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1291       22/12/2023                                                       Figure 121, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1292       22/12/2023                                                       Figure 122, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1293       22/12/2023                                                       Figure 123, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1294       22/12/2023                                                       Figure 124, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1295       22/12/2023                                                       Figure 125, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1296       22/12/2023                                                       Figure 126, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1297       22/12/2023                                                       Figure 127, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1298       22/12/2023                                                       Figure 128, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1299       22/12/2023                                                       Figure 129, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1300       22/12/2023                                                       Figure 130, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1301       22/12/2023                                                       Figure 131, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1302       22/12/2023                                                       Figure 132, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1303       22/12/2023                                                       Figure 133, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1304       22/12/2023                                                       Figure 134, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1305       22/12/2023                                                       Figure 135, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1306       22/12/2023                                                       Figure 137, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1307       22/12/2023                                                       Figure 138, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1308       22/12/2023                                                       Figure 139, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1309       22/12/2023                                                       Figure 140, Initial Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1310       22/12/2023                                                       Figure 30, Initial Expert Report of Rosa Abrantes-Metz   Highly Confidential   403
PTX1311       22/12/2023                                                       Figure 31, Initial Expert Report of Rosa Abrantes-Metz   Highly Confidential   402, 403
PTX1312       22/12/2023                                                       Figure 4, Initial Expert Report of Gabriel Weintraub     Highly Confidential   402, 403
PTX1313       22/12/2023                                                       Figure 5, Initial Expert Report of Gabriel Weintraub     Highly Confidential   402, 403
PTX1314       22/12/2023                                                       Figure 6, Initial Expert Report of Gabriel Weintraub     Highly Confidential   402, 403
PTX1315       22/12/2023                                                       Figure 7, Initial Expert Report of Gabriel Weintraub     Highly Confidential   402, 403
PTX1316       22/12/2023                                                       Figure 8, Initial Expert Report of Gabriel Weintraub     Highly Confidential   402, 403
PTX1317       22/12/2023                                                       Figure 9, Initial Expert Report of Gabriel Weintraub     Highly Confidential   402, 403
PTX1318       22/12/2023                                                       Figure 10, Initial Expert Report of Gabriel Weintraub    Highly Confidential   402, 403
PTX1319       22/12/2023                                                       Figure 11, Initial Expert Report of Gabriel Weintraub    Highly Confidential   402, 403
PTX1320       22/12/2023                                                       Figure 12, Initial Expert Report of Gabriel Weintraub    Highly Confidential   402, 403
PTX1321       22/12/2023                                                       Figure 13, Initial Expert Report of Gabriel Weintraub    Highly Confidential   402, 403
PTX1322       22/12/2023                                                       Figure 14, Initial Expert Report of Gabriel Weintraub    Highly Confidential   402, 403
PTX1323       22/12/2023                                                       Figure 15, Initial Expert Report of Gabriel Weintraub    Highly Confidential   402, 403
PTX1324       22/12/2023                                                       Figure 16, Initial Expert Report of Gabriel Weintraub    Highly Confidential   402, 403
PTX1325       22/12/2023                                                       Figure 17, Initial Expert Report of Gabriel Weintraub    Highly Confidential   402, 403
PTX1326       22/12/2023                                                       Table 1, Initial Expert Report of Gabriel Weintraub      Highly Confidential   402, 403



                                                                               Page 38 of 54
                                                     United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                   Google's Objections to Plaintiffs’ Trial Exhibit List
                              Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 42 of 57 PageID# 21992
Trial Exhibit
                     Date               Beg Bates                End Bates                                 Description                            Confidentiality         Google Objection
  Number
PTX1327       22/12/2023                                                            Table 2, Initial Expert Report of Gabriel Weintraub        Highly Confidential   402, 403
PTX1328       22/12/2023                                                            Table 3, Initial Expert Report of Gabriel Weintraub        Highly Confidential   402, 403
PTX1329       22/12/2023                                                            Table 4, Initial Expert Report of Gabriel Weintraub        Highly Confidential   402, 403
PTX1330       22/12/2023                                                            Table 5, Initial Expert Report of Gabriel Weintraub        Highly Confidential   402, 403
PTX1331       22/12/2023                                                            Table 6, Initial Expert Report of Gabriel Weintraub        Highly Confidential   402, 403
PTX1332       22/12/2023                                                            Table 7, Initial Expert Report of Gabriel Weintraub        Highly Confidential   402, 403
PTX1333       22/12/2023                                                            Table 8, Initial Expert Report of Gabriel Weintraub        Highly Confidential   402, 403
PTX1334       22/12/2023                                                            Table 9, Initial Expert Report of Gabriel Weintraub        Highly Confidential   402, 403
PTX1335       22/12/2023                                                            Table 10, Initial Expert Report of Gabriel Weintraub       Highly Confidential   402, 403
PTX1336       22/12/2023                                                            Table 11, Initial Expert Report of Gabriel Weintraub       Highly Confidential   402, 403
PTX1337       22/12/2023                                                            Table 12, Initial Expert Report of Gabriel Weintraub       Highly Confidential   402, 403
PTX1338       22/12/2023                                                            Table 13, Initial Expert Report of Gabriel Weintraub       Highly Confidential   402, 403
                                                                                    Table 1 of Appendix D, Initial Expert Report of Gabriel
PTX1339      22/12/2023                                                             Weintraub                                                  Highly Confidential   402, 403
PTX1340      9/27/2017 4:52      GOOG-TEX-00832175      GOOG-TEX-00832178           Email from Nitish Korula to Vahab Mirrokni et al.          Highly Confidential   403, 805
                                                                                    Figure 2 of Appendix E, Initial Expert Report of Gabriel
PTX1341      22/12/2023                                                             Weintraub                                                  Highly Confidential   402, 403
                                                                                    Figure 3 of Appendix E, Initial Export Report of Gabriel
PTX1342      22/12/2023                                                             Weintraub                                                  Highly Confidential   402, 403
                                                                                    Figure 5 of Appendix E, Initial Expert Report of Gabriel
PTX1343      22/12/2023                                                             Weintraub                                                  Highly Confidential   402, 403
                                                                                    Figure 6 of Appendix E, Initial Expert Report of Gabriel
PTX1344      22/12/2023                                                             Weintraub                                                  Highly Confidential   402, 403
                                                                                    Figure 7 of Appendix E, Initial Expert Report of Gabriel
PTX1345      22/12/2023                                                             Weintraub                                                  Highly Confidential   402, 403
                                                                                    Figure 8 of Appendix E, Initial Expert Report of Gabriel
PTX1346      22/12/2023                                                             Weintraub                                                  Highly Confidential   402, 403
                                                                                    Table 1 of Appendix F, Initial Expert Report of Gabriel
PTX1347      22/12/2023                                                             Weintraub                                                  Highly Confidential   402, 403
                                                                                    Figure 1 of Appendix F, Initial Expert Report of Gabriel
PTX1348      22/12/2023                                                             Weintraub                                                  Highly Confidential   402, 403
                                                                                    Figure 2 of Appendix F, Initial Expert Report of Gabriel
PTX1349      22/12/2023                                                             Weintraub                                                  Highly Confidential   402, 403
                                                                                    Figure 3 of Appendix F, Initial Export Report of Gabriel
PTX1350      22/12/2023                                                             Weintraub                                                  Highly Confidential   402, 403
                                                                                    Figure 4 of Appendix F, Initial Expert Report of Gabriel
PTX1351      22/12/2023                                                             Weintraub                                                  Highly Confidential   402, 403
                                 GOOG-AT-MDL-B-         GOOG-AT-MDL-B-
PTX1352      2/6/2024 21:27      005171156              005171158                   Google document                                            Confidential
PTX1353      13/2/2024                                                              Figure 7, Rebuttal Expert Report of Kenneth Wilbur         Highly Confidential   402, 403
PTX1354      13/2/2024                                                              Figure 9, Rebuttal Expert Report of Kenneth Wilbur         Highly Confidential   402, 403
PTX1355      13/2/2024                                                              Figure 2, Rebuttal Expert Report of Wayne Hoyer            Highly Confidential   402, 403
PTX1356      13/2/2024                                                              Figure 3, Rebuttal Expert Report of Wayne Hoyer            Highly Confidential   402, 403
PTX1357      13/2/2024                                                              Figure 4, Rebuttal Expert Report of Wayne Hoyer            Highly Confidential   402, 403
PTX1358      13/2/2024                                                              Figure 5, Rebuttal Expert Report of Wayne Hoyer            Highly Confidential   402, 403
PTX1359      13/2/2024                                                              Figure 7, Rebuttal Expert Report of Wayne Hoyer            Highly Confidential   402, 403
PTX1360      13/2/2024                                                              Figure 8, Rebuttal Expert Report of Wayne Hoyer            Highly Confidential   402, 403
PTX1361      13/2/2024                                                              Figure 9, Rebuttal Expert Report of Wayne Hoyer            Highly Confidential   402, 403
PTX1362      13/2/2024                                                              Figure 1, Rebuttal Expert Report Timothy Simcoe            Highly Confidential   402, 403
PTX1363      13/2/2024                                                              Figure 2, Rebuttal Expert Report of Timothy Simcoe         Highly Confidential   402, 403



                                                                                    Page 39 of 54
                                                United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                              Google's Objections to Plaintiffs’ Trial Exhibit List
                            Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 43 of 57 PageID# 21993
Trial Exhibit
                     Date           Beg Bates               End Bates                                Description                        Confidentiality         Google Objection
  Number
PTX1364       13/2/2024                                                        Figure 3, Rebuttal Expert Report of Timothy Simcoe    Highly Confidential   402, 403
PTX1365       13/2/2024                                                        Figure 4, Rebuttal Expert Report of Timothy Simcoe    Highly Confidential   402, 403
PTX1366       13/2/2024                                                        Figure 5, Rebuttal Expert Report of Timothy Simcoe    Highly Confidential   402, 403
PTX1367       13/2/2024                                                        Figure 6, Rebuttal Expert Report of Timothy Simcoe    Highly Confidential   402, 403
PTX1368       13/2/2024                                                        Figure 7, Rebuttal Expert Report of Timothy Simcoe    Highly Confidential   402, 403
PTX1369       13/2/2024                                                        Figure 8, Rebuttal Expert Report of Timothy Simcoe    Highly Confidential   402, 403
PTX1370       13/2/2024                                                        Figure 9, Rebuttal Expert Report of Timothy Simcoe    Highly Confidential   402, 403
PTX1371       13/2/2024                                                        Figure 10, Rebuttal Expert Report of Timothy Simcoe   Highly Confidential   402, 403
PTX1372       13/2/2024                                                        Figure 11, Rebuttal Expert Report of Timothy Simcoe   Highly Confidential   402, 403
PTX1373       13/2/2024                                                        Figure 12, Rebuttal Expert Report of Timothy Simcoe   Highly Confidential   402, 403
PTX1374       13/2/2024                                                        Figure 13, Rebuttal Expert Report of Timothy Simcoe   Highly Confidential   402, 403
PTX1375       13/2/2024                                                        Figure 14, Rebuttal Expert Report of Timothy Simcoe   Highly Confidential   402, 403
PTX1376       13/2/2024                                                        Figure 1, Rebuttal Expert Report of Adoria Lim        Highly Confidential   402, 403
PTX1377       13/2/2024                                                        Figure 2, Rebuttal Expert Report of Adoria Lim        Highly Confidential   402, 403
PTX1378       13/2/2024                                                        Figure 5, Rebuttal Expert Report of Adoria Lim        Highly Confidential   402, 403
PTX1379       13/2/2024                                                        Figure 6, Rebuttal Expert Report of Adoria Lim        Highly Confidential   402, 403
PTX1380       13/2/2024                                                        Figure 7, Rebuttal Expert Report of Adoria Lim        Highly Confidential   402, 403
PTX1381       13/2/2024                                                        Figure 8, Rebuttal Expert Report of Adoria Lim        Highly Confidential   402, 403
PTX1382       13/2/2024                                                        Figure 10, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1383       13/2/2024                                                        Figure 12, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1384       13/2/2024                                                        Figure 13, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1385       13/2/2024                                                        Figure 14, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1386       13/2/2024                                                        Figure 15, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1387       13/2/2024                                                        Figure 16, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1388       13/2/2024                                                        Figure 17, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1389       13/2/2024                                                        Figure 18, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1390       13/2/2024                                                        Figure 22, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1391       13/2/2024                                                        Figure 23, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1392       13/2/2024                                                        Figure 25, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1393       13/2/2024                                                        Figure 26, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1394       13/2/2024                                                        Figure 27, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1395       13/2/2024                                                        Figure 28, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1396       13/2/2024                                                        Figure 29, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1397       13/2/2024                                                        Figure 30, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1398       13/2/2024                                                        Figure 31, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1399       13/2/2024                                                        Figure 32, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1400       13/2/2024                                                        Figure 33, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1401       2/13/2024                                                        Figure 34, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1402       2/13/2024                                                        Figure 35, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1403       2/13/2024                                                        Figure 36, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1404       2/13/2024                                                        Figure 38, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1405       2/13/2024                                                        Figure 39, Rebuttal Expert Report of Robin Lee        Highly Confidential   403, 403
PTX1406       2/13/2024                                                        Figure 40, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1407       2/13/2024                                                        Figure 41, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1408       2/13/2024                                                        Figure 42, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1409       2/13/2024                                                        Figure 43, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1410       2/13/2024                                                        Figure 46, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1411       2/13/2024                                                        Figure 47, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1412       2/13/2024                                                        Figure 48, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403
PTX1413       2/13/2024                                                        Figure 49, Rebuttal Expert Report of Robin Lee        Highly Confidential   402, 403



                                                                               Page 40 of 54
                                                United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                              Google's Objections to Plaintiffs’ Trial Exhibit List
                            Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 44 of 57 PageID# 21994
Trial Exhibit
                     Date           Beg Bates               End Bates                                Description                           Confidentiality         Google Objection
  Number
PTX1414       2/13/2024                                                        Figure 50, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1415       2/13/2024                                                        Figure 51, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1416       2/13/2024                                                        Figure 52, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1417       2/13/2024                                                        Figure 53, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1418       2/13/2024                                                        Figure 54, Rebuttal Expert Report of Robin Lee           Highly Confidential   403
PTX1419       2/13/2024                                                        Figure 55, Rebuttal Expert Report of Robin Lee           Highly Confidential   403
PTX1420       2/13/2024                                                        Figure 56, Rebuttal Expert Report of Robin Lee           Highly Confidential   403
PTX1421       2/13/2024                                                        Figure 57, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1422       2/13/2024                                                        Figure 58, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1423       2/13/2024                                                        Figure 59, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1424       2/13/2024                                                        Figure 60, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1425       2/13/2024                                                        Figure 62, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1426       2/13/2024                                                        Figure 63, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1427       2/13/2024                                                        Figure 64, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1428       2/13/2024                                                        Figure 65, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1429       2/13/2024                                                        Figure 66, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1430       2/13/2024                                                        Figure 67, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1431       2/13/2024                                                        Figure 68, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1432       2/13/2024                                                        Figure 69, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1433       2/13/2024                                                        Figure 70, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1434       2/13/2024                                                        Figure 71, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1435       2/13/2024                                                        Figure 72, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1436       2/13/2024                                                        Figure 73, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1437       2/13/2024                                                        Figure 74, Rebuttal Expert Report of Robin Lee           Highly Confidential   403, 403
PTX1438       2/13/2024                                                        Figure 75, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1439       2/13/2024                                                        Figure 76, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1440       2/13/2024                                                        Figure 77, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1441       2/13/2024                                                        Figure 79, Rebuttal Expert Report of Robin Lee           Highly Confidential   403, 403
PTX1442       2/13/2024                                                        Figure 80, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1443       2/13/2024                                                        Figure 81, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1444       2/13/2024                                                        Figure 82, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1445       2/13/2024                                                        Figure 83, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1446       2/13/2024                                                        Figure 84, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1447       2/13/2024                                                        Figure 85, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1448       2/13/2024                                                        Figure 86, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1449       2/13/2024                                                        Figure 87, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1450       2/13/2024                                                        Figure 88, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1451       2/13/2024                                                        Figure 89, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1452       2/13/2024                                                        Figure 90, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1453       2/13/2024                                                        Figure 91, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1454       2/13/2024                                                        Figure 92, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1455       2/13/2024                                                        Figure 93, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1456       2/13/2024                                                        Figure 94, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1457       2/13/2024                                                        Figure 95, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1458       2/13/2024                                                        Figure 96, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1459       2/13/2024                                                        Figure 97, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1460       2/13/2024                                                        Figure 98, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1461       2/13/2024                                                        Figure 99, Rebuttal Expert Report of Robin Lee           Highly Confidential   402, 403
PTX1462       2/13/2024                                                        Figure 100, Rebuttal Expert Report of Robin Lee          Highly Confidential   402, 403
PTX1463       2/13/2024                                                        Figure 1, Rebuttal Expert Report of Rosa Abrantes-Metz   Highly Confidential   402, 403



                                                                               Page 41 of 54
                                                     United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                   Google's Objections to Plaintiffs’ Trial Exhibit List
                              Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 45 of 57 PageID# 21995
Trial Exhibit
                     Date               Beg Bates                End Bates                                 Description                             Confidentiality         Google Objection
  Number
PTX1464       2/13/2024                                                             Figure 1, Rebuttal Expert Report of Gabriel Weintraub       Highly Confidential   402, 403
PTX1465       2/13/2024                                                             Figure 2, Rebuttal Expert Report of Gabriel Weintraub       Highly Confidential   402, 403
PTX1466       2/13/2024                                                             Figure 3, Rebuttal Expert Report of Gabriel Weintraub       Highly Confidential   402, 403
PTX1467       2/13/2024                                                             Figure 4, Rebuttal Expert Report of Gabriel Weintraub       Highly Confidential   402, 403
PTX1468       2/13/2024                                                             Table 1, Rebuttal Expert Report of Gabriel Weintraub        Highly Confidential   402, 403
PTX1469       2/13/2024                                                             Table 2, Rebuttal Expert of Gabriel Weintraub               Highly Confidential   402, 403
PTX1470       2/13/2024                                                             Table 3, Rebuttal Expert Report of Gabriel Weintraub        Highly Confidential   402, 403
PTX1471       2/13/2024                                                             Table 4, Rebuttal Expert Report of Gabriel Weintraub        Highly Confidential   402, 403
                                                                                    Figure 1 of Appendix C, Rebuttal Expert Report of Gabriel
PTX1472      2/13/2024                                                              Weintraub                                                   Highly Confidential   402, 403
PTX1473      3/4/2024                                                               Figure 1, Supplemental Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1474      3/4/2024                                                               Figure 2, Supplemental Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1475      3/4/2024                                                               Figure 3, Supplemental Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1476      3/4/2024                                                               Figure 4, Supplemental Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1477      3/4/2024                                                               Figure 5, Supplemental Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1478      3/4/2024                                                               Figure 6, Supplemental Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1479      3/4/2024                                                               Figure 7, Supplemental Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1480      3/4/2024                                                               Figure 8, Supplemental Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1481      3/4/2024                                                               Figure 9, Supplemental Expert Report of Robin S. Lee        Highly Confidential   402, 403
PTX1482      3/4/2024                                                               Figure 10, Supplemental Expert Report of Robin S. Lee       Highly Confidential   402, 403
PTX1483      3/4/2024                                                               Figure 11, Supplemental Expert Report of Robin S. Lee       Highly Confidential   402, 403
PTX1484      3/4/2024                                                               Figure 12, Supplemental Expert Report of Robin S. Lee       Highly Confidential   402, 403
PTX1485      3/4/2024                                                               Figure 13, Supplemental Expert Report of Robin S. Lee       Highly Confidential   402, 403
PTX1486      3/4/2024                                                               Figure 14, Supplemental Expert Report of Robin S. Lee       Highly Confidential   402, 403
PTX1487      3/4/2024                                                               Figure 15, Supplemental Expert Report of Robin S. Lee       Highly Confidential   402, 403
PTX1488      3/4/2024                                                               Figure 16, Supplemental Expert Report of Robin S. Lee       Highly Confidential   402, 403
PTX1489      9/19/2019 18:28     GOOG-DOJ-32061391      GOOG-DOJ-32061392           Email from Nitish Korula to Rahul Srinivasan                Confidential
PTX1490      9/14/2018 18:03     GOOG-DOJ-07956052      GOOG-DOJ-07956053           Email from Chris LaSala to Brendon Kraham et al.            Highly Confidential   402, 403
PTX1491      4/5/2024 19:02      GOOG-DOJ-04442217      GOOG-DOJ-04442236           Google document                                             Confidential          402, 403, 805
                                 GOOG-AT-MDL-B-         GOOG-AT-MDL-B-
PTX1492      5/2/2024 22:48      005112788              005112791                   Google document                                             Confidential          402, 403, 805
PTX1493      4/5/2007 1:01       MSFT-0000008546        MSFT-0000008572             Microsoft presentation                                      Highly Confidential
                                                                                    2023.05.22 Google Objections to Plaintiffs' Fourth RFPs -
PTX1494      5/22/2023                                                              CONFIDENTIAL                                                Confidential          402, 403

                                                                                    Email from rev-team@google.com on behalf of Rikard
PTX1495      11/10/2011 2:28     GOOG-DOJ-11899167      GOOG-DOJ-11899225           Lindquist to madsteam@google.com et al., with attachments Highly Confidential
PTX1496      2/5/2012 4:25       OPENX-00003791         OPENX-00003810              OpenX presentation                                        Confidential            106, 402, 403, 802
PTX1497      8/16/2013 21:49     GOOG-DOJ-09916600      GOOG-DOJ-09916600           Email from Scott Spencer to Cyrus Beagley et al.          Highly Confidential     403
PTX1498      9/19/2013 11:13     OPENX-00013460         OPENX-00013471              OpenX presentation                                        Confidential            106, 402, 403, 802
PTX1499      10/11/2013 1:29     OPENX-00013145         OPENX-00013148              OpenX document                                            Highly Confidential     402, 403, 701, 802
PTX1500      11/5/2013 11:49     OPENX-00000001         OPENX-00000082              OpenX presentation                                        Highly Confidential     402, 403, 802
PTX1501      11/15/2013 12:40    OPENX-00013601         OPENX-00013625              Email from John Gentry to Tim Cadogan, with attachment Highly Confidential        402, 403, 802
PTX1502      12/3/2013 21:53     OPENX-00013626         OPENX-00013636              OpenX presentation                                        Highly Confidential     402, 403, 802
PTX1503      12/6/2013 19:28     OPENX-00013598         OPENX-00013600              Email from Tim Cadogan to Nino Marakovic et al.           Highly Confidential     402, 403, 802
                                                                                    Email from Carissa Kidd to Robert Drucker et al., with
PTX1504      2/28/2014 0:00      COM-CID-00252865       COM-CID-00252895            attachment                                                Confidential            402, 403, 802
PTX1505      7/9/2014 14:44      FBDOJ001489822         FBDOJ001489823              Email from Mike Hudack to Mark Zuckerberg et al.          Confidential            402, 403, 802
PTX1506      9/2/2014 19:01      OPENX-00013637         OPENX-00013645              OpenX document                                            Highly Confidential     402, 403, 802
PTX1507      12/2/2014 14:31     GOOG-DOJ-09250413      GOOG-DOJ-09250417           Email from Jonathan Bellack to Sara Walsh et al.          Highly Confidential     402, 403, 701, 805



                                                                                    Page 42 of 54
                                                        United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                      Google's Objections to Plaintiffs’ Trial Exhibit List
                                Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 46 of 57 PageID# 21996
Trial Exhibit
                         Date             Beg Bates                 End Bates                                Description                           Confidentiality         Google Objection
  Number
                                   GOOG-AT-MDL-B-          GOOG-AT-MDL-B-              Email from xfp-optimization-tech@google.com on behalf of
PTX1508         12/10/2014 14:07   001628420               001628428                   Martin Pal to Vahab Mirrokni et al.                      Confidential          402, 403
                                   GOOG-AT-MDL-B-          GOOG-AT-MDL-B-              Email from xfp-optimization-tech@google.com on behalf of
PTX1509         12/13/2014 0:10    002610033               002610034                   Bahman Rabii to Martin Pal et al.                        Confidential          402, 403
PTX1510         12/16/2014 17:07   GOOG-DOJ-03546944       GOOG-DOJ-03546947           Email from Scott Silver to Eisar Lipkovitz et al.        Highly Confidential   403, 805
PTX1511         12/17/2014 23:29   GOOG-DOJ-07810467       GOOG-DOJ-07810467           Email from Tobias Maurer to Brad Bender                  Highly Confidential   106, 402, 403
PTX1512         1/12/2015 14:37    OPENX-00003073          OPENX-00003083              OpenX presentation                                       Confidential          402, 403, 802
PTX1513         1/13/2015 17:24    GOOG-DOJ-07810578       GOOG-DOJ-07810593           Google presentation                                      Highly Confidential   403, 805
                                   GOOG-AT-MDL-B-          GOOG-AT-MDL-B-              Email from drx-eng-mgrs@google.com on behalf of Martin
PTX1514         1/30/2015 17:14    001387353               001387357                   Pal to Drew Bradstock et al.                             Confidential          402, 403

PTX1515         2/5/2015 17:02     GOOG-AT-MDL-004059920 GOOG-AT-MDL-004059923         Email from Nitish Korula to Max Loubser et al.           Confidential          402, 403
PTX1516         3/18/2015 17:09    GOOG-DOJ-14500160     GOOG-DOJ-14500162             Email from Drew Bradstock to Nicole Pruess et al.        Highly Confidential   402, 403
PTX1517         3/25/2015 9:49     GOOG-DOJ-15182420     GOOG-DOJ-15182423             Google document                                          Highly Confidential   805
PTX1518         7/28/2015 19:31    OPENX-00001050        OPENX-00001066                OpenX presentation                                       Highly Confidential   402, 403, 802
                                                                                       Email from Bennett Crumbling to TTD Employees, with
PTX1519         8/18/2015 19:58    TTD_0009846             TTD_0009892                 attachment                                               Confidential          402, 403, 701, 802
PTX1520         10/11/2016 15:12   GOOG-DOJ-14380845       GOOG-DOJ-14380845           Email from Eisar Lipkovitz to Aparna Pappu               Highly Confidential   106, 402, 403
PTX1521         10/8/2015 0:39     GOOG-DOJ-15221042       GOOG-DOJ-15221080           Google presentation                                      Highly Confidential   403
PTX1522         10/11/2015 19:29   GOOG-TEX-00091538       GOOG-TEX-00091543           Email from Jonathan Bellack to Scott Spencer et al.      Highly Confidential   402, 403, 805
                                   GANNETT_GOOG_001019
PTX1523         12/12/2015 2:00    0                       GANNETT_GOOG_0010190 Email from Tim Wolfe to Dave Mir                         Highly Confidential          402, 403, 802
                                                                                Email from Adam Davison to Zoheb Hajiyani et al., with
PTX1524         1/29/2016 10:49    FBDOJGOOG_00124139      FBDOJGOOG_00124146   attachments                                              Confidential                 402, 403, 802
PTX1525         2/5/2016 11:55     OPENX-00004104          OPENX-00004124       OpenX presentation                                       Confidential                 402, 403, 802
PTX1526         3/30/16            GOOG-ADTCH-00575720     GOOG-ADTCH-00575721  Email from Paul Muret to Jonathan Bellack                Highly Confidential          402, 403
                                                                                Financial Accounting Standards Board document titled
PTX1527         4/2016                                                          “Revenue from Contracts with Customers (Topic 606)”                                   402, 403, 802, 901
                                   GOOG-AT-MDL-B-          GOOG-AT-MDL-B-       Email from drx-quality@google.com on behalf of Martin
PTX1528         4/5/2016 18:19     001117566               001117568            Pal to Eu-Jin Goh et al.                                 Confidential                 402, 403
PTX1529         4/18/2016 19:08    DAN000021               DAN000026            Google presentation                                      Confidential                 402, 403, 802
                                                                                Email from Narain Jhangiani-Jashanmal to Carolyn Everson
PTX1530         5/5/2016 4:46      FBDOJGOOG_00828926      FBDOJGOOG_00828930   et al., with attachment                                  Confidential                 402, 403, 802
PTX1531         6/22/2016 10:54    AMZNDOJ0134960          AMZNDOJ0134961       Email from Miranda Chen to Matthew Battles et al.        Confidential                 402, 403, 802
                                   GOOG-AT-MDL-B-          GOOG-AT-MDL-B-
PTX1532         6/24/2016 0:00     004498126               004498155            Google presentation                                      Confidential                 402, 403
PTX1533         7/21/2016 10:11    OPENX-00007346          OPENX-00007381       OpenX presentation                                       Confidential                 402, 403, 802
                                                                                Email from Jed Dederick to BD Strategists et al., with
PTX1534         7/26/2016 22:45    TTD_0011744             TTD_0011762          attachment                                               Confidential                 402, 403, 802
PTX1535         8/9/2016 12:27     FBDOJGOOG_00784059      FBDOJGOOG_00784060   Email from Alvin Bowles to Brian Boland                  Confidential                 402, 403, 802
PTX1536         8/12/2016 9:37     FBDOJGOOG_00038404      FBDOJGOOG_00038406   Email from Swarna Kakodkar to Erwin Castellanos et al.   Confidential                 402, 403, 802
                                   GOOG-AT-MDL-B-          GOOG-AT-MDL-B-
PTX1537         9/2/2016 14:41     001119624               001119625            Email from Martin Pal to Nitish Korula et al.            Confidential                 402, 403
PTX1538         9/5/16             GOOG-ADTCH-00581029     GOOG-ADTCH-00581042  Email from Eisar Lipkovitz to Jonathan Bellack et al.    Highly Confidential          402, 403, 805
PTX1539         9/20/2016 1:44     GOOG-DOJ-14156104       GOOG-DOJ-14156107    Email from Nitish Korula to Tobias Maurer et al.         Highly Confidential          402, 403, 805
PTX1540         10/3/2016 14:06    FBDOJ012559571          FBDOJ012559602       Facebook presentation                                    Confidential                 402, 403, 802
                                   GOOG-AT-MDL-B-          GOOG-AT-MDL-B-
PTX1541         10/7/2016 12:54    001120812               001120814            Email from Martin Pal to Jim Giles et al.                Confidential                 403
PTX1542         10/13/2016 15:53   FBDOJGOOG_00276825      FBDOJGOOG_00276831   Email from Swarna Kakodkar to David Jakubowski et al.    Confidential                 402, 403, 802
PTX1543         10/17/2016 23:26   GOOG-TEX-00002601       GOOG-TEX-00002605    Email from Jonathan Bellack to Aparna Pappu              Highly Confidential          402, 403



                                                                                       Page 43 of 54
                                                         United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                       Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 47 of 57 PageID# 21997
Trial Exhibit
                       Date               Beg Bates                  End Bates                                  Description                           Confidentiality         Google Objection
  Number
                                                                                        Email from John Donahue to David Jakubowski, with
PTX1544         10/24/2016 16:22    FBDOJGOOG_00857922      FBDOJGOOG_00857926          attachments                                                Confidential          402, 403, 802
PTX1545         11/7/2016 18:37     GOOG-DOJ-13546142       GOOG-DOJ-13546148           Email from Nirmal Jayaram to David Maymudes et al.         Highly Confidential   402, 403
                                                                                        Email from Francesca Pignataro to Henry Erskine Crum et
PTX1546         12/19/2016 12:06    FBDOJ012327277          FBDOJ012327291              al., with attachment                                       Confidential          402, 403, 802
PTX1547         1/3/2017 22:16      GOOG-TEX-00121159       GOOG-TEX-00121174           Email from Chris Harris to Eisar Lipkovitz et al.          Highly Confidential   402, 403, 805
                                    GOOG-AT-MDL-B-          GOOG-AT-MDL-B-
PTX1548         1/6/2017 13:44      001123902               001123903                   Email from Martin Pal to Jim Giles et al.                  Confidential          402, 403
PTX1549         2/15/2017 17:08     FBDOJ010863645          FBDOJ010863662              Facebook document                                          Confidential          402, 403, 802
PTX1550         2/28/2017 1:15      FBDOJGOOG_01111517      FBDOJGOOG_01111547          Facebook presentation                                      Confidential          402, 403, 802
PTX1551         3/3/2017 12:57      GOOG-DOJ-13391555       GOOG-DOJ-13391559           Email from Martin Pal to Gargi Sur et al.                  Highly Confidential   403
                                                                                        Email from David Jakubowski to Brian Boland, with
PTX1552         3/7/2017 3:43       FBDOJ003476860          FBDOJ003476861              attachment                                                 Confidential          402, 403, 802
                                    INTENTIONALLY
PTX1553                             OMITTED PTX
PTX1554         3/16/2017 17:19     FBDOJGOOG_00780829      FBDOJGOOG_00780831          Facebook document                                          Confidential          402, 403, 802
PTX1555         3/21/2017 11:51     FBDOJGOOG_00861213      FBDOJGOOG_00861214          Email from David Jakubowski to Caroline Couvillon          Confidential          402, 403, 802
                                                                                        AdExchanger article titled “Google Removes Its 'Last Look'
PTX1556         3/31/17 12:34                                                           Auction Advantage,“ by Sarah Sluis                                               802, 805, 901
PTX1557         4/7/2017 15:29      OPENX-00003677          OPENX-00003700              OpenX presentation                                         Confidential          402, 403, 802
PTX1558         4/19/2017 23:00     GOOG-DOJ-07252312       GOOG-DOJ-07252316           Email from Martin Pal to Duke Dukellis et al.              Highly Confidential   402, 403
PTX1559         5/20/2017 1:48      GOOG-DOJ-13557289       GOOG-DOJ-13557290           Email from Maria Hui to Ali Amini et al.                   Highly Confidential   402, 403
PTX1560         6/27/2017 22:42     OPENX-00001093          OPENX-00001119              OpenX presentation                                         Highly Confidential   402, 403, 802
                                    CRITEO_GOOGLELIT_000    CRITEO_GOOGLELIT_0000
PTX1561         7/13/2017 0:00      0015509                 015556                Criteo presentation                                              Highly Confidential   402, 403, 802
PTX1562         7/14/2017 0:00      ATT-GCID-00000001       ATT-GCID-00000098     AT&T document                                                    Highly Confidential   402, 403, 802
PTX1563         7/25/2017 1:51      FBDOJGOOG_00779705      FBDOJGOOG_00779742    Facebook document                                                Confidential          402, 403, 802
                                    GOOG-AT-MDL-B-          GOOG-AT-MDL-B-
PTX1564         7/26/2017 16:29     001130098               001130098             Email from Jim Giles to Martin Pal et al.                        Confidential          402, 403
PTX1565         8/1/2017 12:17      FBDOJ012304337          FBDOJ012304337        Email from Swarna Kakodkar to Brian Boland et al.                Confidential          402, 403, 802
PTX1566         8/3/2017 10:55      FBDOJ012387658          FBDOJ012387658        Email from Swarna Kakodkar to David Jakubowski et al.            Confidential          402, 403, 802
                                                                                  Email from David Jakubowski to Henry Erskine Crum et
PTX1567         9/24/2017 10:40     FBDOJGOOG_00855903      FBDOJGOOG_00855906    al., with attachment                                             Confidential          402, 403, 802
                                    INTENTIONALLY
PTX1568                             OMITTED PTX
                                    GOOG-AT-MDL-B-          GOOG-AT-MDL-B-
PTX1569         10/12/2017 10:21    001132777               001132782                   Email from Martin Pal to Nitish Korula et al.              Confidential          402, 403
                                    GOOG-AT-MDL-B-          GOOG-AT-MDL-B-
PTX1570         10/20/2017 13:41    002168049               002168052                   Email from Jim Giles to Martin Pal et al.                  Confidential          402, 403
PTX1571         10/30/2017 7:59     FBDOJ012376039          FBDOJ012376040              Email from John Wren to Savina Velkova et al.              Confidential          402, 403, 802
PTX1572         12/18/2017 0:00     FBDOJ012979686          FBDOJ012979701              Facebook document                                          Confidential          402, 403, 802
PTX1573         1/3/2018 15:22      OPENX-00000682          OPENX-00000719              OpenX presentation                                         Highly Confidential
PTX1574         1/23/2018 22:19     AMZNDOJ0120916          AMZNDOJ0120921              Email from Ken Leeder to Ken Leeder, with attachment       Confidential          402, 403, 802
                                    INTENTIONALLY
PTX1575                             OMITTED PTX
PTX1576         2/8/2018 5:35       FBDOJ003189143          FBDOJ003189145              Email from Henry Eskrine Crum to Dan Rose et al.           Confidential          402, 403, 802
PTX1577         2/8/2018 5:45       FBDOJGOOG_00744539      FBDOJGOOG_00744541          Email from Dan Rose to Henry Eskrine Crum et al.           Confidential          402, 403, 802
PTX1578         2/8/2018 13:55      FBDOJGOOG_00954175      FBDOJGOOG_00954177          Email from Stephanie Wang to Heny Eskrine Crum             Confidential          402, 403, 802
                                                                                        Email from Henry Eskrine Crum to Sheryl Sandberg et al.,
PTX1579         2/27/2018 4:29      FBDOJGOOG_00499093      FBDOJGOOG_00499112          with attachments                                           Confidential          402, 403, 802



                                                                                        Page 44 of 54
                                                          United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                        Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 48 of 57 PageID# 21998
Trial Exhibit
                       Date                Beg Bates                  End Bates                                  Description                     Confidentiality         Google Objection
  Number
                                    INTENTIONALLY
PTX1580                             OMITTED PTX
                                    INTENTIONALLY
PTX1581                             OMITTED PTX
                                    INTENTIONALLY
PTX1582                             OMITTED PTX
PTX1583         3/5/2018 8:35       FBDOJ009471990           FBDOJ009471991              Email from David Jakubowski to Dan Rose et al.       Confidential          402, 403, 802
PTX1584         3/11/2018 15:56     FBDOJGOOG_00251811       FBDOJGOOG_00251814          Email from Ami Vora to Yoav Arstein et al.           Confidential          402, 403, 802

PTX1585         3/15/2018 23:36     GOOG-AT-MDL-014302168 GOOG-AT-MDL-014302171 Email from Nimral Jayaram to Max Lin et al.                   Confidential          402, 403

PTX1586         3/16/2018 11:55     GOOG-AT-MDL-012206646 GOOG-AT-MDL-012206649          Email from Martin Pal to Ali Nasiri Amini et al.     Highly Confidential   402, 403
PTX1587         3/16/2018 18:05     GOOG-TEX-00085512     GOOG-TEX-00085514              Email from Payam Shodjai to Brad Bender              Highly Confidential   402, 403, 805
PTX1588         3/19/2018 13:05     FBDOJGOOG_00274747    FBDOJGOOG_00274752             Email from Sheryl Sandberg to Dan Rose et al.        Confidential          402, 403, 802
PTX1589         3/19/2018 15:47     FBDOJGOOG_00991924    FBDOJGOOG_00991973             Facebook presentation and spreadsheet                Confidential          106, 402, 403, 802
PTX1590         5/10/2018 17:56     GOOG-DOJ-04725104     GOOG-DOJ-04725108              Email from Ajay Bangla to Nimral Jayaram et al.      Highly Confidential   402, 403
                                    GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX1591         5/11/2018 14:59     001143446             001143446                      Email from Nitish Korula to Martin Pal et al.        Confidential          402, 403
PTX1592         6/4/2018 0:00       FBDOJGOOG_01176330    FBDOJGOOG_01176373             Facebook document                                    Confidential          402, 403, 802
PTX1593         6/4/2018 13:50      FBDOJ013017855        FBDOJ013017893                 Facebook document                                    Confidential          402, 403, 802
PTX1594         6/6/2018 10:18      FBDOJGOOG_00791595    FBDOJGOOG_00791596             Message from Henry Eskrine Crum to Brian Boland      Confidential          402, 403, 802
                                    GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX1595         8/2/2018 11:42      002168567             002168570                      Email from Martin Pal to Nirmal Jayaram et al.       Confidential          402, 403

PTX1596         9/26/2018 16:02     GOOG-AT-MDL-019425293 GOOG-AT-MDL-019425295          Google document                                      Confidential          402, 403, 805
PTX1597         9/28/2018 2:31      FBDOJ012641326        FBDOJ012641373                 Facebook document                                    Confidential          402, 403, 802
PTX1598         10/2/2018 0:00      CRI-00000149          CRI-00000162                   Criteo document                                      Confidential          402, 403, 802
                                    GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX1599         11/15/2018 19:18    001296996             001296996                      Email from Alex Shellhammer to Jonathan Meltzer      Confidential          402, 403
PTX1600         11/21/2018 10:18    OPENX-00006011        OPENX-00006011                 Email from Tim Cadogan to Sam Cox                    Confidential          402, 403, 802
PTX1601         12/3/2018 20:24     OPENX-00002175        OPENX-00002207                 OpenX presentation                                   Highly Confidential   402, 403, 802
PTX1602         12/5/2018 22:39     GOOG-DOJ-07832462     GOOG-DOJ-07832466              Email from David Maymudes to Roshan Khan et al.      Highly Confidential   402, 403, 805
PTX1603         12/13/2018 22:32    MSFT-LIT-0000002972   MSFT-LIT-0000003007            Microsoft presentation                               Highly Confidential   402, 403, 802
PTX1604         3/19/2019 21:04     OPENX-00001996        OPENX-00002042                 OpenX presentation                                   Highly Confidential
PTX1605         4/22/2019 16:20     GOOG-DOJ-13494286     GOOG-DOJ-13494294              Google presentation                                  Highly Confidential
PTX1606         4/22/2019 18:08     DM_GOOG_0010492       DM_GOOG_0010494                Email from Matthew Wheatland to Richard Caccappolo   Highly Confidential   402, 403, 802, 805
PTX1607         4/24/2019 19:36     RUBICON-00001139      RUBICON-00001141               Email from Todd Smith to Mark Balababian et al.      Highly Confidential   402, 403, 802, 805
                                    INTENTIONALLY
PTX1608                             OMITTED PTX
PTX1609         5/29/2019 10:21     DM_GOOG_0001014       DM_GOOG_0001014                Email from Hannah Buitekant to Adam Leslie et al.    Highly Confidential   402, 403, 802
PTX1610         7/1/2019 0:00       RUBICON-00000102      RUBICON-00000155               Rubicon document                                     Highly Confidential   802, 701
PTX1611         7/20/2019 14:26     GOOG-DOJ-03047055     GOOG-DOJ-03047076              Google presentation                                  Highly Confidential   402, 403
                                    INTENTIONALLY
PTX1612                             OMITTED PTX
PTX1613         7/29/2019 7:23      FBDOJGOOG_01000317    FBDOJGOOG_01000345             Facebook presentation                                Confidential          402, 403, 802
PTX1614         8/8/2019 21:15      GOOG-DOJ-11726308     GOOG-DOJ-11726359              Google presentation                                  Highly Confidential   402, 403
                                    NEWSCORP-DOJCID-      NEWSCORP-DOJCID-
PTX1615         9/4/2019 0:00       00001570              00001582                       News Corp presentation                               Confidential          402, 403, 802

PTX1616         9/9/2019 0:00       PUBMATIC_DOJ-00000041 PUBMATIC_DOJ-00000069 Pubmatic document                                             Highly Confidential   402, 403, 802



                                                                                         Page 45 of 54
                                                        United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                      Google's Objections to Plaintiffs’ Trial Exhibit List
                               Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 49 of 57 PageID# 21999
Trial Exhibit
                     Date                 Beg Bates                 End Bates                                 Description                            Confidentiality          Google Objection
  Number
PTX1617       9/10/2019 23:40     KVL00000989              KVL00000994                 Email from James Avery to Dave Paresh et al.               Highly Confidential   403, 403, 802

PTX1618       9/14/2019 18:23     GOOG-DOJ-AT-00572966     GOOG-DOJ-AT-00572967        Email from Ajay Bangla to Nirmal Jayaram                   Highly Confidential   106, 402, 403
PTX1619       9/17/2019 9:07      VZGGL-CID-00000001       VZGGL-CID-00000062          Verizon document                                           Highly Confidential   402, 403, 802
                                                                                       Email from Sean Ryan to Gianluca Pucacco, with
PTX1620       10/9/2019 15:36     FBDOJGOOG_01131238       FBDOJGOOG_01131247          attachment                                                 Confidential          402, 403, 802

PTX1621       10/14/2019 0:00     PUBMATIC_DOJ-00012158 PUBMATIC_DOJ-00012158          Email from Samsuddin Ahmed to Amar Goel et al.             Confidential          402, 403, 802
PTX1622       10/14/2019 21:23    GOOG-DOJ-06885161     GOOG-DOJ-06885170              Google document                                            Confidential
PTX1623       10/18/2019 19:04    IPG-ADTECH_002361     IPG-ADTECH_002388              Google document                                            Confidential          402, 403, 802
PTX1624       10/19/2019 16:35    GOOG-DOJ-03034316     GOOG-DOJ-03034362              Google presentation                                        Highly Confidential   402, 403

PTX1625       10/28/2019 17:15    GOOG-AT-MDL-007027432 GOOG-AT-MDL-007027435          Email from Chris LaSala to Jonathon Wong et al.            Confidential          402, 403
PTX1626       10/29/2019 0:00     ATT-GCID-00000680     ATT-GCID-00000711              Xandr document                                             Highly Confidential   402, 403, 802
PTX1627       10/31/2019 13:20    VZGGL-CID-00001216    VZGGL-CID-00001276             Verizon document                                           Highly Confidential   402, 403, 802
PTX1628       11/14/2019 14:47    ATT-GCID-00111192     ATT-GCID-00111288              AT&T presentations                                         Confidential
PTX1629       12/4/2019 22:13     GOOG-DOJ-06886033     GOOG-DOJ-06886060              Google presentation                                        Highly Confidential   402, 403
                                  NEWSCORP-DOJCID-      NEWSCORP-DOJCID-
PTX1630       12/7/2019 6:09      00002436              00002486                       NewsCorp presentation                                      Confidential          402, 403, 802
PTX1631       1/24/2020 2:39      GOOG-DOJ-15158868     GOOG-DOJ-15158869              Email from Nitish Korula to Steven Shin et al.             Highly Confidential   403

PTX1632       2/13/2020 4:47      GOOG-AT-MDL-003810424 GOOG-AT-MDL-003810431 Google presentation                                      Confidential                     403
                                                                              Email from Matthew Wheatland to Feifan Chen et al., with
PTX1633       2/18/2020 13:10     DM_GOOG_0058123       DM_GOOG_0058138       attachment                                               Highly Confidential              402, 403, 802
                                                                              Email from Matthew Wheatland to Richard Caccappolo et
PTX1634       2/18/2020 15:25     DM_GOOG_0027446       DM_GOOG_0027448       al.                                                      Highly Confidential              402, 403, 802

PTX1635       3/17/2020 15:56     GOOG-DOJ-AT-02162134     GOOG-DOJ-AT-02162142        Google document                                            Highly Confidential   403, 805
PTX1636       3/19/2020 18:50     DM_GOOG_0058021          DM_GOOG_0058025             Email from Matthew Wheatland to Feifan Chen                Highly Confidential   402, 403, 802
PTX1637       3/31/2020 6:08      AMZNDOJ0075289           AMZNDOJ0075296              Email from Matthew Battles to Cem Sibay et al.             Confidential          402, 403, 802
PTX1638       3/31/2020 14:23     OPENX-00001445           OPENX-00001501              OpenX presentation                                         Highly Confidential   402, 403, 802
PTX1639       4/9/2020 0:00       RUBICON-00000094         RUBICON-00000098            Rubicon document                                           Confidential          402, 403, 802
                                                                                       Email from Matthew Wheatland to Richard Caccappolo et
PTX1640       4/17/2020 10:54     DM_GOOG_0058016          DM_GOOG_0058020             al.                                                        Highly Confidential   402, 403, 802

PTX1641       5/6/2020 9:33       GOOG-AT-MDL-010657378 GOOG-AT-MDL-010657383          Email from Rikke Riber Rasmussen to Hal Varian             Confidential          805
                                  NEWSCORP-DOJCID-      NEWSCORP-DOJCID-
PTX1642       5/25/2020 23:54     00003193              00003318                       NewsCorp document                                          Confidential          402, 403, 802
                                  NEWSCORP-DOJCID-      NEWSCORP-DOJCID-
PTX1643       5/26/2020 21:49     00026134              00026147                       NewsCorp document                                          Confidential
PTX1644       5/27/2020 0:00      ATT-GCID-00000883     ATT-GCID-00000894              Xandr document                                             Highly Confidential   402, 403, 802
                                                                                       Email from Ivan Kozhevnikov to Toby Wilkins et al., with
PTX1645       6/12/2020 3:46      FBDOJGOOG_00884328       FBDOJGOOG_00884329          attachment                                                 Confidential          402, 403, 802

PTX1646       6/23/2020 16:22     GOOG-DOJ-AT-01510462     GOOG-DOJ-AT-01510482        Google presentation                                        Highly Confidential
PTX1647       7/3/2020 20:35      CRI-00000197             CRI-00000210                Criteo document                                            Confidential          402, 403, 802
PTX1648       7/13/2020 22:18     TTD_0000024              TTD_0000036                 The Trade Desk document                                    Confidential          402, 403, 802
PTX1649       7/27/2020 23:31     MSFT-LIT-0000002193      MSFT-LIT-0000002260         Microsoft presentation                                     Highly Confidential   402, 403, 802
PTX1650       8/27/2020 15:48     TTD_0003039              TTD_0003058                 The Trade Desk presentation                                Confidential          402, 403, 802
PTX1651       8/27/2020 15:55     TTD_0005614              TTD_0005615                 The Trade Desk document                                    Confidential          402, 403, 802



                                                                                       Page 46 of 54
                                                           United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                         Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 50 of 57 PageID# 22000
Trial Exhibit
                         Date               Beg Bates                  End Bates                                Description                           Confidentiality          Google Objection
  Number

PTX1652         10/10/2020 6:27     GOOG-DOJ-AT-01917966 GOOG-DOJ-AT-01918008   Google presentation                                       Highly Confidential            501
                                    NEWSCORP_GOOG_00020 NEWSCORP_GOOG_000213
PTX1653         2/1/2021 0:00       89                    5                     The European Commission document                          Highly Confidential            402, 403, 802
PTX1654         2/1/2021 15:20      IPG-ADTECH_000012     IPG-ADTECH_000037     IPG Document                                              Confidential                   402, 403, 802
PTX1655         2/26/2021 5:26      NIKE0000108           NIKE0000145           Nike presentation                                         Highly Confidential            402, 403, 802
PTX1656         3/3/2021                                                        LinkedIn Profile of Woojin Kim                                                           402, 802, 901
PTX1657         12/22/2021 22:55    MSFT-LIT-0000039894   MSFT-LIT-0000039898   Microsoft document                                        Highly Confidential            402, 403, 802
                                                                                IAB document titled “IAB Europe’s Guide to In-App
PTX1658         2/2022                                                          Advertising”                                                                             402, 403, 802, 901
PTX1659         2/23/2022 14:25     MSFT-LIT-0000018503   MSFT-LIT-0000018503   Microsoft presentation                                    Highly Confidential            402, 403, 802
PTX1660         7/28/2022 0:00      EQUATIV-000000352     EQUATIV-000000414     Equativ presentation                                      Highly Confidential            402, 403, 802
                                                                                IAB document titled “Internet Advertising Revenue Report:
                                                                                Full-year 2022 results“Ad Format Guidelines for Digital
PTX1661         8/2022                                                          Video and CTV”                                                                           402, 403, 802, 901
                                                                                Email from Tantee Karmakar to Kristen O'Hara et al., with
PTX1662         8/17/2022 14:06     GOOG-AT-MDL-002447434 GOOG-AT-MDL-002447462 attachment                                                Highly Confidential            402, 403, 802

PTX1663         10/11/2022 17:00    GOOG-AT-MDL-011120632 GOOG-AT-MDL-011120648 Google presentation                                                Confidential          402, 403
PTX1664         1/2023                                                          Bellack Central webpage titled “Why I Left Google”                                       402, 403, 802, 901

PTX1665         1/9/2023 15:39      GOOG-AT-MDL-002038381 GOOG-AT-MDL-002038387 Email from Casper Verhoofstad to Eden Adamu et al.                 Highly Confidential   402, 403
PTX1666         1/27/2023                                                       2023.01.27 Tweet written                                                                 402, 403, 802, 901
                                                                                ABC News article titled “'I'm still shocked': Tech workers
                                                                                offer insider account of mass layoffs,” by Max Zahn and
PTX1667         1/30/2023 5:04                                                  Nakylah Carter                                                                           402, 403, 802, 901
                                                                                The CMO Survey document titled “Managing Brand,
PTX1668         3/2023                                                          Growth, and Metrics”                                                                     402, 403, 802, 901

PTX1669         3/27/2023 16:40     GOOG-AT-MDL-008285890 GOOG-AT-MDL-008286018 Google presentation                                       Highly Confidential            402, 403
                                                                                IAB document titled “Internet Advertising Revenue Report:
PTX1670         4/2023                                                          Full-year 2022 results”                                                                  402, 403, 802, 901
PTX1671         5/10/2023 0:00      MAGNITE-00013445      MAGNITE-00013492      Magnite presentation                                      Highly Confidential            402, 403, 802
PTX1672         5/10/2023 0:00      MAGNITE-00007152      MAGNITE-00007337      Magnite presentation                                      Highly Confidential            402, 403, 802
PTX1673         5/11/2023 0:00      EQUATIV-000000082     EQUATIV-000000089     Google document                                           Highly Confidential            402, 403, 802
PTX1674         6/2/2023 0:00       EQUATIV-000000001     EQUATIV-000000077     Google document                                           Highly Confidential            802

PTX1675         6/9/2023 2:15       GOOG-AT-MDL-013133551 GOOG-AT-MDL-013133577 Google presentation                                                Highly Confidential
                                    NEWSCORP_GOOG_00000 NEWSCORP_GOOG_000004
PTX1676         6/14/2023 16:32     45                    7                     Email from Jennifer Castillo to Lyndsey Hayes et al.               Highly Confidential   402, 403, 802
PTX1677         6/15/2023 14:49     PBMTC-ANTRST-002691 PBMTC-ANTRST-002697     Pubmatic presentation                                              Confidential          106, 402, 403, 802

PTX1678         6/15/2023 16:53     GOOG-AT-MDL-004300268 GOOG-AT-MDL-004300333           Google presentation                                      Confidential          403
PTX1679         6/23/2023 0:00      EQUATIV-000000415     EQUATIV-000000417               Email from Jesus Carrera to Ingrid Couasnon              Highly confidential   402, 403, 802
PTX1680         6/23/2023 0:00      EQUATIV-000000422     EQUATIV-000000423               Email from Arnaud Creput to Juan Manuel Alvarez et al.   Highly Confidential   402, 403, 802
PTX1681         6/23/2023 0:00      EQUATIV-000000420     EQUATIV-000000421               Email from Jesus Carrera to Arnaud Creput et al.         Highly Confidential   402, 403, 802
PTX1682         6/24/2023 0:00      EQUATIV-000000090     EQUATIV-000000090               Equativ spreadsheet                                      Highly Confidential   402, 403, 802
PTX1683         6/24/2023 0:00      EQUATIV-000000091     EQUATIV-000000091               Equativ spreadsheet                                      Highly Confidential   402, 403, 802




                                                                                          Page 47 of 54
                                                          United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                        Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 51 of 57 PageID# 22001
Trial Exhibit
                       Date                 Beg Bates                  End Bates                                Description                           Confidentiality          Google Objection
  Number
                                                                                          Crain Communications Inc. document titled “Ad Age
                                                                                          Leading National Advertisers 2023: 200 biggest
PTX1684         6/26/2023                                                                 advertisers”                                                                   402, 403, 802, 901
PTX1685         7/11/2023 23:17     MSFT-LIT-0000080465       MSFT-LIT-0000080511         Microsoft document                                       Highly Confidential   402, 403, 802
PTX1686         7/11/2023 23:17     MSFT-LIT-0000081139       MSFT-LIT-0000081141         Email from Melanie A. Hallas to Marie-Madeleine Husunu   Highly Confidential   402, 403, 802
PTX1687         7/11/2023 23:17     MSFT-LIT-0000081051       MSFT-LIT-0000081138         Microsoft document                                       Highly Confidential   402, 403, 802
PTX1688         7/11/2023 23:17     MSFT-LIT-0000065451       MSFT-LIT-0000065484         Microsoft document                                       Highly Confidential   402, 403, 802
PTX1689         7/11/2023 23:17     MSFT-LIT-0000065419       MSFT-LIT-0000065450         Microsoft document                                       Highly Confidential   402, 403, 802
PTX1690         7/11/2023 23:28     MSFT-LIT-0000081451       MSFT-LIT-0000081483         Microsoft document                                       Highly Confidential   402, 403, 802
PTX1691         7/11/2023 23:28     MSFT-LIT-0000081374       MSFT-LIT-0000081404         Microsoft document                                       Highly Confidential   402, 403, 802
PTX1692         7/12/2023 16:39     YAH_GG_LIT_004590         YAH_GG_LIT_004595           Yahoo document                                           Highly Confidential   402, 403, 802
                                    NYTGOOGADTECH-
PTX1693         8/3/2023 17:22      000741                    NYTGOOGADTECH-000784 New York Times Presentation                                   Highly Confidential     402, 403, 802
PTX1694         12/31/2023                                                            X post written by Jonathan Bellack                                                 402, 403, 802, 901
                                                                                      Google.com webpage titled “Google Ad Manager Help -
PTX1695         1/30/2024                                                             Help Center - About native ads”
                                                                                      Google.com webpage titled “Google Ads Help - Help
PTX1696         2/1/2024                                                              Center - About video ad formats”
                                                                                      Google.com webpage titled “Updates to video publisher
PTX1697         2/1/2024                                                              policy in 2024 - Publisher Policies Help”
                                                                                      Google.com webpage titled “Analytics Help - [GA4] Funnel
PTX1698         2/4/2024                                                              exploration”                                                                       402
                                                                                      Amazon.com webpage titled “What is display advertising?
PTX1699         2/13/2024                                                             A beginner's guide”                                                                402, 403, 802, 901
                                                                                      Amazon.com webpage titled “What is digital advertising? A
PTX1700         2/13/2024                                                             beginner's guide”                                                                  402, 403, 802, 901
                                                                                      Bellack Central webpage titled “Jonathan Bellack's
PTX1701         6/4/2024 9:25                                                         Professional Experience”                                                           402, 403, 802, 901
                                    Public-Newscorp-ATR001-   Public-Newscorp-ATR001-
PTX1702         7/15/2020 0:00      00000010                  00000012                NewCorp document                                                                   402, 403, 802
                                    Public-Newscorp-ATR001-   Public-Newscorp-ATR001-
PTX1703         7/12/2019 0:06      00000001                  00000009                NewCorp document                                                                   402, 403, 802
                                                                                      Google webpage titled “Take Control of All Your Ad Sales -
PTX1704         6/24/2024 16:31                                                       Google Ad Manager”
                                                                                      Google webpage titled “Generate Ad Exchange ad tags -
PTX1705         6/24/2024 16:32                                                       Google Ad Manager Help”
                                                                                      Google webpage titled “Earn Advertising Revenue with
PTX1706         6/24/2024 16:32                                                       Yield Management - Google Ad Manager”
                                    TTD_DOJ-GOOG23-
PTX1707         3/30/2015 0:00      0001954                   TTD_DOJ-GOOG23-0001956 The Trade Desk document                                       Highly Confidential   402, 403, 802
PTX1708         3/16/2017 0:00      FBDOJ012737577            FBDOJ012737578         Facebook document                                             Confidential          402, 403, 802
PTX1709         7/5/2017 22:13      FBDOJGOOG_01186933        FBDOJGOOG_01186940     Facebook document                                             Confidential          402, 403, 802
PTX1710         10/4/2017 10:54     FBDOJ012956407            FBDOJ012956407         Facebook document                                             Confidential          402, 403, 802
                                    NEWSCORP-DOJCID-          NEWSCORP-DOJCID-
PTX1711         1/1/2019 0:00       00003014                  00003017               NewCorp document                                              Confidential
PTX1712         12/18/2019 0:00     FBDOJGOOG_01148571        FBDOJGOOG_01148574     Facebook document                                             Confidential          402, 403, 802
                                    INTENTIONALLY
PTX1713                             OMITTED PTX
                                    TTD_DOJ-GOOG23-
PTX1714         2/3/2022 0:00       0001957                   TTD_DOJ-GOOG23-0001974 The Trade Desk document                                       Highly Confidential   402, 403, 802



                                                                                           Page 48 of 54
                                                          United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                        Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 52 of 57 PageID# 22002
Trial Exhibit
                       Date                 Beg Bates                 End Bates                                 Description                      Confidentiality          Google Objection
  Number
                                    TTD_DOJ-GOOG23-
PTX1715         8/31/2022 0:00      0001975                  TTD_DOJ-GOOG23-0001990 The Trade Desk document                                   Highly Confidential   402, 403, 802

PTX1716         6/8/2023 22:58      GOOG-AT-MDL-013105366 GOOG-AT-MDL-013105379 Google document                                               Highly Confidential   402, 403, 805
PTX1717         Undated             DM_GOOG_0000642       DM_GOOG_0000647        DMGT presentation                                            Highly Confidential   402, 403, 802
                                    TTD_DOJ-GOOG23-
PTX1718         Undated             0001156               TTD_DOJ-GOOG23-0001172 The Trade Desk presentation                                  Highly Confidential
PTX1719         Undated             FBDOJ012851003        FBDOJ012851012         Facebook document                                            Confidential          402, 403, 802
                                    Public-WPP-ATR001-    Public-WPP-ATR001-
PTX1720         9/29/2014 0:00      00000001              00000025               WPP document                                                                       402, 403, 802
PTX1721         2/13/2012 1:16      GOOG-DOJ-14837888     GOOG-DOJ-14837894      Email from Scott Spency to Jason Bigler et al.               Highly Confidential   402, 403, 805

PTX1722         10/29/2013 21:03    GOOG-AT-MDL-014630352 GOOG-AT-MDL-014630354 Email from Woojin Kim to Scott Spencer et al.                 Confidential          402, 403

PTX1723         11/4/2013 18:39     GOOG-AT-MDL-019060395 GOOG-AT-MDL-019060396 Alphabet, Inc                                                 Confidential          402, 403, 805
PTX1724         1/16/2014 0:19      GOOG-TEX-00653816     GOOG-TEX-00653861     Alphabet, Inc                                                 Highly Confidential   402, 403, 805

PTX1725         10/20/2015 15:04    GOOG-AT-MDL-003364905 GOOG-AT-MDL-003364907          Email from Scott Sheffer to Anthony Nakache et al.   Confidential          402, 403
                                    GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX1726         11/23/2015 0:00     004100720             004100764             Alphabet, Inc. document                                  Highly Confidential        402, 403
PTX1727         11/24/2015 22:49    GOOG-DOJ-32565428     GOOG-DOJ-32565428     Email from Woojin Kim to Bahman Rabii et al.             Confidential               402, 403
PTX1728         1/6/2016 18:50      GOOG-DOJ-11765784     GOOG-DOJ-11765785     Email from Bryan Rowley to Jerome Grateau et al.         Highly Confidential        403
                                                                                Email from opg.global-leadership@google.com on behalf of
PTX1729         1/8/2016 23:58      GOOG-AT-MDL-013711389 GOOG-AT-MDL-013711394 Scott Sheffer to PBS Management Team et al.              Confidential               402, 403
PTX1730         1/11/2016 19:14     GOOG-DOJ-12711795     GOOG-DOJ-12711805     Alphabet, Inc                                            Confidential               402, 403
                                    INTENTIONALLY
PTX1731                             OMITTED PTX
PTX1732         4/11/2016 19:09     GOOG-DOJ-28517565     GOOG-DOJ-28517569     Email from Joan Hunter to Woojin Kim et al.              Confidential               403
PTX1733         5/10/2016 21:50     GOOG-DOJ-13521990     GOOG-DOJ-13521993     Email from Tobias Maurer to Dima Kuzmin et al.           Highly Confidential        403
                                    GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX1734         10/19/2016 1:35     001121416             001121416             Email from Jim Giles to Nitish Korula et al.             Confidential               403
                                    GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX1735         10/27/2016 10:33    001121650             001121650             Email from Glenn Berntson to Nitish Korula et al.        Confidential               402, 403
PTX1736         11/10/2016 20:06    GOOG-DOJ-02852767     GOOG-DOJ-02852769     Message from Brad Bender to Payam Shodjai                Highly Confidential        402, 403
                                    INTENTIONALLY
PTX1737                             OMITTED PTX
PTX1738         8/8/2017 10:25      GOOG-DOJ-14162034     GOOG-DOJ-14162039     Google document                                          Highly Confidential        402, 403, 805
                                    GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX1739         10/11/2017 3:09     002114983             002114983             Email from Ali Amini to Jim Giles                        Confidential               402, 403
                                    INTENTIONALLY
PTX1740                             OMITTED PTX

PTX1741         12/6/2017 19:18     GOOG-AT-MDL-009513807 GOOG-AT-MDL-009513807          Email from Eddie Higgins to Danielle Romain et al.   Confidential          402, 403
PTX1742         12/7/2017 7:33      GOOG-DOJ-09002381     GOOG-DOJ-09002386              Google document                                      Highly Confidential   402, 403
PTX1743         3/14/2018 22:14     GOOG-DOJ-02855484     GOOG-DOJ-02855524              Google presentation                                  Highly Confidential   402, 403
PTX1744         5/17/2018 15:57     GOOG-DOJ-07955157     GOOG-DOJ-07955161              Email from Chris LaSala to Bryan Rowley et al.       Highly Confidential   402, 403
PTX1745         5/18/2018 17:38     GOOG-DOJ-08470881     GOOG-DOJ-08470884              Email from Johnathan Bellack to Donald Harrison      Highly Confidential   402, 403
PTX1746         6/6/2018 18:31      GOOG-TEX-00040294     GOOG-TEX-00040332              Google presentation                                  Highly Confidential   402, 403
PTX1747         6/19/2018 15:20     GOOG-DOJ-11347849     GOOG-DOJ-11347849              Email from Payam Shodjai to David Goodman            Highly Confidential   402, 403
PTX1748         8/13/2018 11:21     FBDOJGOOG_01140379    FBDOJGOOG_01140379             Email from Elisabeth Diana to Monique Hall et al.    Confidential          402, 403, 802



                                                                                         Page 49 of 54
                                                          United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                        Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 53 of 57 PageID# 22003
Trial Exhibit
                       Date                 Beg Bates                 End Bates                                Description                         Confidentiality          Google Objection
  Number

PTX1749         5/13/2019 15:17     GOOG-AT-MDL-013301522 GOOG-AT-MDL-013301522          Email from Rita Ren to Santosh Cirupati                Highly Confidential   403
                                    ADOBE – CID 30473 –   ADOBE – CID 30473 –
PTX1750         6/8/2019 20:26      0000072943            0000072959                     Email from Adam Rose to Keith Eadie, with attachment   Confidential          402, 403, 802
PTX1751         8/21/2019 21:48     GOOG-DOJ-14223315     GOOG-DOJ-14223316              Email from Noam Wolf to Rob Hazan et al.               Highly Confidential   403, 403
PTX1752         9/5/2019 21:14      GOOG-DOJ-29729087     GOOG-DOJ-29729090              Google presentation                                    Confidential          402, 403

PTX1753         10/28/2019 16:18    GOOG-AT-MDL-008991752 GOOG-AT-MDL-008991754 Message from Guilio Minguzzi to Rahul Srinivasan                Confidential          402, 403

PTX1754         11/19/2019 14:29    GOOG-AT-MDL-007344449 GOOG-AT-MDL-007344455 Email from David Garcia to Peentoo Patel et al.                 Highly Confidential   402, 403
PTX1755         2/4/2020 22:01      GOOG-DOJ-11890293     GOOG-DOJ-11890326     Google presentation                                             Highly Confidential   402, 403

PTX1756         9/15/2020 20:13     GOOG-AT-MDL-001401514 GOOG-AT-MDL-001401516 Google document                                                 Highly Confidential   402, 403

PTX1757         2/4/2021 16:13      GOOG-AT-MDL-006037366 GOOG-AT-MDL-006037373 Google document                                                 Highly Confidential   402
                                    TTD_DOJ-GOOG23-
PTX1758         5/10/2021 0:00      0013630               TTD_DOJ-GOOG23-0013751 The Trade Desk document                                        Highly Confidential   402, 403, 802
                                    INTENTIONALLY
PTX1759                             OMITTED PTX
                                    FBDOJGOOG-INV-
PTX1760         9/17/2021           00000022              FBDOJGOOG-INV-00000022 Facebook Data Production                                       Highly Confidential   403, 403

PTX1761         1/9/2023 21:40      GOOG-AT-MDL-001064910 GOOG-AT-MDL-001064910 Google spreadsheet                                              Highly Confidential   402, 403
PTX1762         4/28/2023 10:13     FBDOJGOOG_01495007    FBDOJGOOG_01495016    Google Workplace webpage                                        Highly Confidential   403, 403, 802, 805
                                    CRITEO_GOOGLELIT_000 CRITEO_GOOGLELIT_0000
PTX1763         5/2/2023 0:00       0000761               000761                Criteo Data Production                                          Highly Confidential   402, 403
PTX1764         6/5/2023                                                        2023.06.05 Google Responses to Plaintiffs' Fourth RFPs          Highly Confidential   402, 403

PTX1765         6/8/2023 20:43      GOOG-AT-MDL-009831092 GOOG-AT-MDL-009831094 Google document                                                 Confidential          403, 805

PTX1766         6/8/2023 20:43      GOOG-AT-MDL-009831506 GOOG-AT-MDL-009831519 Google presentation                                             Confidential

PTX1767         6/8/2023 20:43      GOOG-AT-MDL-009832388 GOOG-AT-MDL-009832390 Google document                                                 Confidential          402, 403, 805


PTX1768         6/22/2023 1:28      GOOG-AT-MDL-011124130 GOOG-AT-MDL-011124651 Google presentation                                             Confidential          402, 403

PTX1769         6/22/2023 2:44      GOOG-AT-MDL-019430588 GOOG-AT-MDL-019430601 Google document                                                 Highly Confidential   402, 403
                                    INTENTIONALLY
PTX1770                             OMITTED PTX
                                    CRITEO_GOOGLELIT_000 CRITEO_GOOGLELIT_0000
PTX1771         8/25/2023 0:00      0015578               015578                Criteo Data Production                                          Highly Confidential   402, 403

                                                                                         2023.09.08 Verified Google's Amended Supplemental
PTX1772         9/8/2023                                                                 Response to Interrogatory 3 (HIGHLY CONFIDENTIAL)      Highly Confidential   402, 403
PTX1773         10/6/2023                                                                2023.10.06 Letter from D. Pearl to K. Garcia           Highly Confidential   402, 403
PTX1774         11/8/2023                                                                2023.11.08 Letter from E. Mahr to J Wood               Highly Confidential   402, 403
PTX1775         11/15/2023                                                               2023.11.15 Letter from E. Mahr to J. Wood              Highly Confidential   402, 403
PTX1776         12/8/2023                                                                2023.12.08 Letter from A. Mauser to M. Freeman         Highly Confidential   402, 403




                                                                                         Page 50 of 54
                                                           United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                         Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 54 of 57 PageID# 22004
Trial Exhibit
                       Date                 Beg Bates                  End Bates                                Description                     Confidentiality         Google Objection
  Number
                                                                                Google document titled “You Said What?! 10 Things to
PTX1777         Undated                                                         Ensure You Are Communicating with Care”                      Confidential          402, 403, 802
PTX1778         12/22/2023                                                      Curriculum Vitae of Professor Robin S. Lee, Ph.D.                                  402, 802
PTX1779         12/22/2023                                                      Curriculum Vitae of Gabriel Weintraub, Ph.D.                                       402, 802
PTX1780         12/22/2023                                                      Curriculum Vitae of Ramamoorthi Ravi, Ph.D.                                        402, 802
PTX1781         12/22/2023                                                      Curriculum Vitae of Rosa Abrantes-Metz, Ph.D.                                      402, 802
PTX1782         12/22/2023                                                      Curriculum Vitae of Timothy Simcoe, Ph.D.                                          402, 802
PTX1783         2/13/2024                                                       Curriculum Vitae of Adoria Lim                                                     402, 802
PTX1784         2/13/2024                                                       Curriculum Vitae of Kenneth C. Wilbur, Ph.D.                                       402, 802
PTX1785         2/13/2024                                                       Curriculum Vitae of Wayne D. Hoyer, Ph.D.                                          402, 802
PTX1786         Undated             NYT_TXAG_00000108     NYT_TXAG_00000115     New York Times presentation                                  Highly Confidential
                                                                                2023.04.27 Revised Google Responses to Plaintiffs' First
                                                                                Interrogatories - HIGHLY CONFIDENTIAL and
PTX1787         4/27/2023                                                       CONFIDENTIAL                                                 Highly Confidential   402, 403
                                                                                2023.09.01 Google's Responses to Plaintiffs' Fifth Set of
PTX1788         9/1/2023                                                        ROGs                                                         Highly Confidential   402, 403
PTX1789         6/27/2024 22:24                                                 Facebook.com webpage titled “Code of Conduct”                                      402, 403, 802, 901
PTX1790         2/14/2011 4:09      GOOG-TEX-00772670     GOOG-TEX-00772766     Email from Jonathan Bellack with attachment                  Confidential          402, 403
PTX1791         9/21/2008 18:14     GOOG-DOJ-01270484     GOOG-DOJ-01270490     Email from Ivan Ernest to Alan Eustace                       Highly Confidential   402, 403, 802, 805
                                                                                Message from Aparna Pappu to Sagnik Nandy et al., with
PTX1792         4/19/2018 15:39     GOOG-AT-MDL-012366403 GOOG-AT-MDL-012366425 attachment                                                   Confidential          402, 403, 802
                                    GOOG-AT-MDL-B-        GOOG-AT-MDL-B-
PTX1793         12/17/2018 9:01     004290134             004290137             Messages involving various Google employees                  Confidential          402, 403, 802

PTX1794         11/18/2020 0:00     GOOG-AT-MDL-009709520 GOOG-AT-MDL-009709521 Google document                                              Highly Confidential   402, 403

PTX1795         2/26/2021 0:00      GOOG-AT-MDL-009709508 GOOG-AT-MDL-009709509 Google document                                              Highly Confidential   402, 403

PTX1796         10/1/2021 0:00      GOOG-AT-MDL-009709522 GOOG-AT-MDL-009709523 Google document                                              Highly Confidential   402, 403

PTX1797         11/10/2021 18:15    GOOG-AT-MDL-010366478 GOOG-AT-MDL-010366478 Messages involving various Google employees                  Confidential          402, 403, 802

PTX1798         2/8/2022 16:08      GOOG-AT-MDL-008033073 GOOG-AT-MDL-008033076 Messages involving various Google employees                  Confidential          402, 403, 802

PTX1799         2/25/2022 0:00      GOOG-AT-MDL-009709506 GOOG-AT-MDL-009709507 Google document                                              Highly Confidential   402, 403

PTX1800         7/29/2022 22:49     GOOG-AT-MDL-002984931 GOOG-AT-MDL-002984965 Google presentation                                          Confidential          402, 403

PTX1801         2/24/2023 21:01     GOOG-AT-MDL-009480562 GOOG-AT-MDL-009480566 Message from Susan Blackburn to Dan Taylor et al.            Confidential          402, 403, 802

PTX1802         5/17/2023 0:00      GOOG-AT-MDL-009709518 GOOG-AT-MDL-009709519           Google document                                    Highly Confidential   402, 403
PTX1803         9/16/2008 23:01     GOOG-DOJ-29864619     GOOG-DOJ-29864620               Email from Matthew Drake to Bill Coughran et al.   Confidential          402, 403
PTX1804         11/21/2016 18:09    GOOG-DOJ-12713557     GOOG-DOJ-12713558               Message from Roberto Ruju to Chris LaSala          Highly Confidential   106, 402, 403
PTX1805         1/11/2016 18:24     GOOG-DOJ-14432746     GOOG-DOJ-14432772               Google presentation                                Highly Confidential   403

PTX1806         1/11/2019 17:24     GOOG-DOJ-AT-01680360      GOOG-DOJ-AT-01680369        Email from Rahul Srinivasan to Sam Temes et al.    Highly Confidential   402, 403
                                                                                          Message from J. Mark Hou to Tom Cunningham, with
PTX1807         2/28/2020 13:29     FBDOJ011922116            FBDOJ011922168              attachments                                        Confidential          402, 403, 802

PTX1808         6/2/2021 19:19      GOOG-DOJ-AT-02096186      GOOG-DOJ-AT-02096187        Alphabet, Inc. document                            Highly Confidential   402, 403, 805



                                                                                          Page 51 of 54
                                                          United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                        Google's Objections to Plaintiffs’ Trial Exhibit List
                                 Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 55 of 57 PageID# 22005
Trial Exhibit
                       Date                 Beg Bates                 End Bates                                 Description                             Confidentiality        Google Objection
  Number
                                                                                         Digiday.com article titled “‘Fundamentally, the SSP
                                                                                         business is not very attractive’: The fall out of ad tech’s
PTX1809         2/13/2023                                                                latest round of closures,” by Ronan Shields                                      802, 805, 901
                                                                                         2023.09.08 Verified Google's Response to ROGs 11-12, 14-
                                                                                         15, 17 & Supplemental Response to ROG 14
PTX1810         9/8/2023                                                                 (CONFIDENTIAL)                                              Confidential         402, 403
                                                                                         2023.11.08 Google's Corrected Response to Interrogatory
PTX1811         11/8/2023                                                                11                                                          Confidential         402, 403
PTX1812         2/15/2017 0:00      FBDOJGOOG_01166683       FBDOJGOOG_01166696          Facebook document                                           Confidential         402, 403, 701, 802
PTX1813         4/4/2017 0:00       FBDOJGOOG_01363434       FBDOJGOOG_01363434          Facebook document                                           Confidential         402, 403, 701, 802
                                    GOOG-AT-MDL-B-           GOOG-AT-MDL-B-              Email from Brad Bender to display-gcn-eng-
PTX1814         1/29/2009 17:36     004389742                004389788                   leads@google.com et al., with attachments                   Confidential         402, 403, 805
PTX1815         6/8/2016 6:06       AMZNDOJ0190670           AMZNDOJ0190671              Email from Matthew Battles to Miranda Chen et al.           Confidential         402, 403, 701, 802
                                                                                         Email from Miranda Chen to Tim Craycroft et al., with
PTX1816         6/20/2016 1:21      AMZNDOJ0106813           AMZNDOJ0106817              attachment                                                  Confidential         402, 403, 802
PTX1817         1/7/2018 15:01      AMZNDOJ0161089           AMZNDOJ0161090              Email from Tim Craycroft to Paul Kotas et al.               Confidential         402, 403, 802
                                    GOOG-AT-MDL-B-           GOOG-AT-MDL-B-
PTX1818         8/18/2020 17:54     004008622                004008624                   Message from Chris LaSala to Nash Islam                    Highly Confidential   402, 403

PTX1819         2/9/2023 15:30      GOOG-AT-MDL-007385867 GOOG-AT-MDL-007385868 Message from Google Employee to Aparna Pappu              Confidential                    402, 403, 802
                                                                                Email from Sharmilan Rayer to @NBC UNI Audience
PTX1820         10/19/2017 16:03    COM-00003942          COM-00003943          Studio et al.                                             Confidential                    402, 403, 802
                                                                                2019.04.24 X posts written by Stephanie Layser and James
PTX1821         4/24/2019                                                       Avery                                                                                     402, 403, 701, 802
                                                                                Mediavine.com article titled “What is Header Bidding?”
PTX1822         1/15/2018                                                       Eric Hochberger                                                                           402, 403, 802
                                                                                Mediavine.com article titled “Google First Price Auction:
PTX1823         9/11/2019                                                       What it Means For Publishers,” Eric Hochberger                                            402, 403, 802

                                                                                         Mediavine.com article titled “Google Ad Manager: New
PTX1824         7/25/2018                                                                Name, Same Great Mediavine Partnership,” by Steve Marsi
PTX1825         1/22/2013 3:04      GOOG-DOJ-14849643        GOOG-DOJ-14849644           Email from Scott Spencer to Jerome Grateau et al.       Highly Confidential      402, 403

PTX1826         5/31/2013 2:27      GOOG-AT-MDL-014515755 GOOG-AT-MDL-014515757 Email from Woojin Kim to Scott Spencer et al.                       Confidential          403, 403

PTX1827         12/2/2013 23:24     GOOG-AT-MDL-014082831 GOOG-AT-MDL-014082832          Email from Scott Spencer to Daniel Alegre et al.           Confidential          402, 403, 805
PTX1828         2/14/2014 20:16     GOOG-DOJ-15616116     GOOG-DOJ-15616117              Email from Eyal Manor to Scott Spencer et al.              Highly Confidential   403
PTX1829         3/4/2014 20:29      GOOG-DOJ-14257049     GOOG-DOJ-14257050              Message from Scott Spencer to Eyal Manor                   Highly Confidential   402, 403
PTX1830         5/9/2015 1:06       GOOG-DOJ-14271826     GOOG-DOJ-14271830              Email from Scott Spencer to Charlie Vestner et al.         Highly Confidential   402, 403
PTX1831         5/9/2017            FBDOJ012357635        FBDOJ012357646                 Facebook document                                          Confidential
PTX1832         Undated             CRI-00000278          CRI-00000285                   Criteo presentation                                        Confidential          402, 403, 802
                                                                                         Index Exchange press release titled “Index Exchange builds
                                                                                         'Exchange of the Future,' Scaling its Omnichannel
PTX1833         11/16/2021                                                               Capabilities for New Channels and Creative Formats”                              802, 805, 901
                                                                                         Index Exchange webpage titled “Ad Channels and Formats -
PTX1834         9/22/2023 10:36                                                          Index Exchange”
PTX1835         Undated             TWDC_GOOG_00055169       TWDC_GOOG_00055181          The Walt Disney Company document                           Highly Confidential
                                    INTENTIONALLY
PTX1836                             OMITTED PTX
PTX1837         10/11/2023                                                               2023.10.11 30(b)(6) Notice to Google                                             402, 403, 802



                                                                                         Page 52 of 54
                                                      United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                    Google's Objections to Plaintiffs’ Trial Exhibit List
                              Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 56 of 57 PageID# 22006
Trial Exhibit
                       Date            Beg Bates                  End Bates                               Description                          Confidentiality           Google Objection
  Number

                                                                                     2023.11.08 Google Response to Plaintiffs' October 11
PTX1838         11/8/2023                                                            Letter re Ingestion Site Issues - HIGHLY CONFIDENTIAL Highly Confidential      402, 403
                                                                                     2023.11.08 Letter from E. Mahr to J. Wood re Written
PTX1839         11/8/2023                                                            Response to 30(b)(6) Topics 25-26                     Highly Confidential      402, 403

                                                                                     2023.11.10 Google Response to Plaintiffs' October 11
PTX1840         11/10/2023                                                           Letter re Ingestion Site Issues - HIGHLY CONFIDENTIAL Highly Confidential      402, 403
                                                                                     2023.05.05 Letter from F. Rubinstein to K Herrmann
PTX1841         5/5/2023                                                             regarding Additional Documents                                                 402, 403
PTX1842         6/2/2023                                                             2023.06.02 Transmittal Letter re Google PROD262                                402, 403
PTX1843         7/23/2021                                                            2021.07.23 Letter to Google re Miscellaneous Items       Confidential          402, 403, 802, 805
                                                                                     2021.06.01 Letter to Google re Handwritten Notes, Mobile
PTX1844         6/1/2021                                                             Devices, and Chats                                       Confidential          402, 403, 802

                                                                                     2023.11.15 Letter from E. Mahr to J. Wood re
PTX1845         11/15/2023                                                           Supplemental Written Response to 30(b)(6) Topics 25-26 Highly Confidential     402, 403
                                                                                     2020.12.23 Letter to Google re Preservation and Production
PTX1846         12/23/2020                                                           of ESI                                                                         402, 403, 802
PTX1847         7/11/2023                                                            2023.07.11 J. Elmer Letter re Substantial Completion                           402, 403
PTX1848         3/31/2023                                                            2023.03.31 Google Search Production Cover Letter           Confidential        402, 403
PTX1849         6/12/2023                                                            2023.06.12 Google Search Production Transmittal Letter                         402, 403
                                 GOOGEDVA-SC-00002;
                                 GOOGEDVA-SC-00007;
                                 GOOGEDVA-SC-00008;
                                 GOOGEDVA-SC-00009;
                                 GOOGEDVA-SC-00010;
                                 GOOGEDVA-SC-00012;
                                 GOOGEDVA-SC-00013;
                                 GOOGEDVA-SC-00015;
                                 GOOGEDVA-SC-00016;
                                 GOOGEDVA-SC-00017;
                                 GOOGEDVA-SC-00018;
                                 GOOGEDVA-SC-00019;
                                 GOOGEDVA-SC-00020;
                                 GOOGEDVA-SC-00023;
                                 GOOGEDVA-SC-00024;
                                 GOOGEDVA-SC-00025;
                                 GOOGEDVA-SC-00028;
                                 GOOGEDVA-SC-00029;
                                 GOOGEDVA-SC-00031;
                                 GOOGEDVA-SC-00032;
                                 GOOGEDVA-SC-00033;
                                 GOOGEDVA-SC-00034;
                                 GOOGEDVA-SC-00035;
                                 GOOGEDVA-SC-00036;
                                 GOOGEDVA-SC-00037;                                                                                         Highly Confidential -
PTX1850                          GOOGEDVA-SC-00039;      N/A                         Google Source Code                                     Source Code             402, 403




                                                                                     Page 53 of 54
                                                  United States et al v. Google LLC, Case No. 1:23-cv-00108-LMB-JFA (E.D. Va.)
                                                                Google's Objections to Plaintiffs’ Trial Exhibit List
                              Case 1:23-cv-00108-LMB-JFA Document 918 Filed 07/19/24 Page 57 of 57 PageID# 22007
Trial Exhibit
                       Date           Beg Bates               End Bates                                 Description                             Confidentiality        Google Objection
  Number
                                                                                 Paparo, Ari, “The ad tech industry is waging a secret war on
                                                                                 Google,” BusinessInsider.com (Sep 21, 2015), available at
                                                                                 https://www.businessinsider.com/how-ad-tech-companies-
                                                                                 are-using-header-bidding-to-tackle-googles-dominance-
PTX1851         9/21/2015                                                        2015-9                                                                           402, 403, 701, 802
                                                                                 Sluis, Sarah, “The Rise Of ‘Header Bidding’ And The End
                                                                                 Of The Publisher Waterfall,” AdExchanger.com (June 18,
                                                                                 2015), available at
                                                                                 https://www.adexchanger.com/publishers/the-rise-of-header-
PTX1852         6/18/2015                                                        bidding-and-the-end-of-the-publisher-waterfall/                                  402, 403, 701, 802, 805




                                                                                 Page 54 of 54
